Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 1 of 109 Page ID #:153



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 10
                                 UNITED STATES DISTRICT COURT
 11
                               CENTRAL DISTRICT OF CALIFORNIA
 12

 13
      STM ATLANTIC N.V., a Dutch                    Case No. 2:18-cv-01269-JLS-JCG
 14   company; STM GROUP, INC., a
      Delaware corporation;
      EMIL YOUSSEFZADEH, an individual;             FIRST AMENDED COMPLAINT
 15                                                 FOR MONETARY AND OTHER
      and UMAR JAVED, an individual,
                                                    RELIEF FOR:
 16
                       Plaintiffs,
 17                                                 1)   CIVIL CONSPIRACY;
                 vs.
 18                                         2)           FRAUD;
      DONG YIN DEVELOPMENT
 19   (HOLDINGS) LIMITED, a Hong Kong       3)           CIVIL THEFT
      unlimited company; CHINA ORIENT                    (CAL. PEN. CODE § 496);
 20   ASSET MANAGEMENT
      (INTERNATIONAL) HOLDING               4)           VIOLATION OF RACKETEER
 21   LIMITED, a Hong Kong limited company;              INFLUENCED AND CORRUPT
      and LUDWIG CHANG, an individual,                   ORGANIZATIONS ACT
 22                                                      (18 U.S.C. §§ 1962(b), 1964(c));
                       Defendants.
 23                                                 5)   VIOLATION OF RACKETEER
                                                         INFLUENCED AND CORRUPT
 24                                                      ORGANIZATIONS ACT
                                                         (18 U.S.C. §§ 1962(c), 1964(c));
 25
                                                    6)   CONSPIRACY TO VIOLATE
 26                                                      RACKETEER INFLUENCED
                                                         AND CORRUPT
 27                                                      ORGANIZATIONS ACT
                                                         (18 U.S.C. §§ 1962(d), 1964(c));
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                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 2 of 109 Page ID #:154



  1
                                                7)   INTERFERENCE WITH
  2                                                  PROSPECTIVE ECONOMIC
                                                     ADVANTAGE;
  3
                                                8)   VIOLATION OF CALIFORNIA
  4                                                  UNFAIR COMPETITION LAW
                                                     (CAL. BUS. & PROF. CODE
  5                                                  § 17200);
  6                                             9)   UNJUST ENRICHMENT; and
  7                                             10) CONSTRUCTIVE TRUST.
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  9                                             DEMAND FOR JURY TRIAL

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                               FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 3 of 109 Page ID #:155



  1                                                 TABLE OF CONTENTS
  2
                                                                                                                                 PAGE

  3   I.         PRELIMINARY STATEMENT ..................................................................... 8
  4   II.        THE PARTIES ................................................................................................. 9
  5              A.       Plaintiffs. .................................................................................................. 9
  6
                 B.       Defendants.............................................................................................. 10
  7
                 C.       Principal Unnamed Co-Conspirators. .................................................... 11
  8

  9
      III.       JURISDICTION AND VENUE. ................................................................... 12

 10              A.       Subject Matter Jurisdiction. ................................................................... 12
 11              B.       Personal Jurisdiction. ............................................................................. 13
 12              C.       Venue. .................................................................................................... 15
 13
      IV.        FACTUAL ALLEGATIONS. ....................................................................... 15
 14
                 A.       The Satellite Project. .............................................................................. 15
 15

 16                       1.       STM Atlantic. ............................................................................... 15

 17                       2.       The Orbital Slot Licenses............................................................. 15
 18                       3.       The Satellite Project Concept and Business Plan. ...................... 17
 19
                 B.       Introduction to DONG YIN. .................................................................. 19
 20
                 C.       U.S. Export Control Laws. ..................................................................... 21
 21
                          1.       The International Traffic In Arms Regulations. .......................... 21
 22

 23                       2.       The Export Administration Regulations. ..................................... 22

 24              D.       Defendants Undermine Plaintiffs’ Deal with CCTG. ............................ 24
 25              E.       The COSEIG Joint Venture Agreement................................................. 25
 26
                 F.       The Bronzelink Joint Venture Agreement. ............................................ 32
 27
                 G.       The Amore Facility Agreement. ............................................................ 35
 28
                                                                        3
                                                 FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 4 of 109 Page ID #:156



  1                                    TABLE OF CONTENTS (CONT.)
  2
                                                                                                                        PAGE

  3              H.   The Series A Share Purchase Agreement. ............................................. 37
  4              I.   The Shareholders Agreement. ................................................................ 40
  5              J.   Plaintiffs Discover Material Inconsistencies Between the
  6                   SHA and the Amore Facility Agreement. .............................................. 42
  7              K.   The Officers and Directors of GIP-Cayman and
  8
                      GIP-USA. ............................................................................................... 45

  9              L.   The False Certification to SpaceX and GIP-Cayman’s
                      Export Control Obligations Under the Boeing Contract. ...................... 46
 10

 11
                 M.   The Employment Contracts. .................................................................. 48

 12              N.   DONG YIN’s Exercise of Control and Dominance Over
                      the Governance, Management and Operations of the
 13
                      Satellite Project. ..................................................................................... 49
 14
                 O.   Mr. Youssefzadeh and Mr. Javed Attempt,
 15                   Unsuccessfully, to Address Compliance and
 16                   Financing Issues with the GIP-Cayman Board. ..................................... 60

 17              P.   Mr. Youssefzadeh and Mr. Javed are
                      Constructively Discharged. .................................................................... 64
 18

 19              Q.   The Cover Up Continues........................................................................ 65

 20              R.   DONG YIN Alters and Falsifies the Official Minutes
                      from the GIP-Cayman Board of Directors Meetings. ............................ 67
 21

 22              S.   DONG YIN Attempts to Purchase Plaintiffs’ Silence. .......................... 69

 23              T.   Defendants’ Continuing Deception and Their
                      Violations of U.S. Export Control Laws. ............................................... 69
 24

 25              U.   Summary of Defendants’ Wrongful Conduct. ....................................... 69

 26              V.   Summary of Money and Property Lost and Stolen................................ 72
 27

 28
                                                                  4
                                            FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 5 of 109 Page ID #:157



  1                                   TABLE OF CONTENTS (CONT.)
  2
                                                                                                                   PAGE

  3   FIRST CAUSE OF ACTION
      (For Conspiracy to Defraud)
  4   (By Plaintiffs Against All Defendants)....................................................................... 72
  5
                 A.   Formation and Operation of the Conspiracy. ......................................... 72
  6
                 B.   Wrongful Acts in Furtherance of the Conspiracy. ................................. 73
  7

  8
                 C.   Resulting Damages................................................................................. 82

  9   SECOND CAUSE OF ACTION
      (For Fraud)
 10   (By Plaintiffs Against All Defendants)....................................................................... 82
 11
                 A.   Misrepresentations and False Promises. ................................................ 82
 12
                      As to U.S. Export Control Laws. ........................................................... 82
 13

 14                   As to DONG YIN’s Role in the Governance,
                      Management and Operations of GIP-Cayman. ...................................... 83
 15
                      As to COSEIG and its Relationship
 16
                      With DONG YIN and TechCap. ............................................................ 84
 17
                      As to Bronzelink and its Relationship With DONG YIN. ..................... 84
 18
                      As to Project Financing. ......................................................................... 85
 19

 20              B.   Concealment of Material Facts. ............................................................. 85

 21                   As to DONG YIN’s Relationships
                      With COSEIG and Bronzelink. .............................................................. 86
 22

 23                   As to DONG YIN’s Role in the Governance,
                      Management and Operations of GIP-Cayman. ...................................... 86
 24
                      As to The Facility Agreement. ............................................................... 87
 25

 26              C.   Resulting Damages................................................................................. 88

 27

 28
                                                                5
                                           FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 6 of 109 Page ID #:158



  1                                    TABLE OF CONTENTS (CONT.)
  2
                                                                                                                       PAGE

  3   THIRD CAUSE OF ACTION
      (For Violation of California Penal Code Section 496)
  4   (By Plaintiffs Against DONG YIN) ........................................................................... 88
  5
      FOURTH CAUSE OF ACTION
  6   (For Civil RICO in Violation of Title 18,
  7
      United States Code, Sections 1962(b) and 1964(c))
      (By Plaintiffs Against All Defendants)....................................................................... 89
  8
                 A.   The “Victim Enterprise.” ....................................................................... 90
  9
 10
                 B.   The Racketeering Acts. .......................................................................... 91

 11                   1.       Wire Fraud. .................................................................................. 91
 12                   2.       International Money Laundering................................................. 94
 13
                 C.   Injury to Business and Property. ............................................................ 95
 14
      FIFTH CAUSE OF ACTION
 15   (For Civil RICO Conspiracy in Violation of Title 18,
 16   United States Code, Sections 1962(d) and 1964(c))
      (By Plaintiffs Against All Defendants)....................................................................... 95
 17
      SIXTH CAUSE OF ACTION
 18
      (For Civil RICO in Violation of Title 18,
 19   United States Code, Sections 1962(c) and 1964(c))
      (By Plaintiffs Against All Defendants) ...................................................................... 96
 20
 21              A.   The Criminal Enterprise. ........................................................................ 96

 22              B.   The Racketeering Acts. .......................................................................... 97
 23              C.   Injury to Business and Property. ............................................................ 97
 24
      SEVENTH CAUSE OF ACTION
 25   (For Civil RICO Conspiracy in Violation of Title 18,
      United States Code, Sections 1962(d) and 1964(c))
 26
      (By Plaintiffs Against All Defendants)....................................................................... 97
 27

 28
                                                                  6
                                            FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 7 of 109 Page ID #:159



  1                                   TABLE OF CONTENTS (CONT.)
  2
                                                                                                             PAGE

  3   EIGHTH CAUSE OF ACTION
      (For Interference with Prospective Business Advantage)
  4   (By Plaintiffs Against DONG YIN) ........................................................................... 98
  5
      NINTH CAUSE OF ACTION
  6   (For Violation of California Unfair Competition Law,
  7
      California Business & Professions Code Section 17200)
      (By Plaintiffs Against All Defendants)..................................................................... 100
  8
      TENTH CAUSE OF ACTION
  9
      (For Unjust Enrichment)
 10   (By Plaintiffs Against DONG YIN) ......................................................................... 105
 11   ELEVENTH CAUSE OF ACTION
 12   (For Imposition of Constructive Trust)
      (By Plaintiffs Against DONG YIN) ......................................................................... 106
 13
      PRAYER FOR RELIEF ........................................................................................ 106
 14

 15   DEMAND FOR JURY TRIAL.............................................................................. 109

 16

 17

 18

 19

 20
 21

 22

 23

 24

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 26

 27

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                                          FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 8 of 109 Page ID #:160



  1              Plaintiffs STM Atlantic N.V. (“STM Atlantic”), STM Group, Inc.
  2   (“STM Group”), Emil Youssefzadeh and Umar Javed (collectively, “Plaintiffs”),
  3   complain against defendants Dong Yin Development (Holdings) Limited
  4   (“DONG YIN”), China Orient Asset Management (International) Holding Limited
  5   (“COAMI”) and Ludwig Chang (“CHANG”) (collectively, “Defendants”) as follows:
  6                              I.    PRELIMINARY STATEMENT.
  7              1.    Beginning in 2008, Plaintiffs undertook an ambitious project to develop,
  8   launch and operate a state-of-the art communications satellite that would provide
  9   High Speed Internet Access (“HSIA”) to under-served parts of Africa (the
 10   “Satellite Project” or the “Project”). They spent several years and millions of dollars
 11   of their own funds developing the Satellite Project.
 12              2.    In the guise of providing indirect debt financing for the Satellite Project,
 13   DONG YIN, through its agents and co-conspirators, obtained ownership and control
 14   of the Satellite Project from Plaintiffs by various dishonest means, including false and
 15   fraudulent pretenses, representations and promises and the concealment of material
 16   facts. With that ownership and control, DONG YIN and its agents obtained access to
 17   confidential and sensitive satellite and launch technology and data that was subject to
 18   U.S. export control laws.
 19              3.    Because DONG YIN is itself owned and controlled by the People’s
 20   Republic of China (“PRC”), and because the transfer of such technology and data to
 21   the PRC or its foreign agents is a violation of U.S. export control laws (and, if done
 22   willfully, a violation of federal criminal law), DONG YIN could not openly maintain
 23   its ownership and control of the Satellite Project. It therefore sought to conceal and
 24   disguise its true relationship to the Satellite Project by engaging in further acts of
 25   deception and by resisting and ignoring Mr. Youssefzadeh’s and Mr. Javed’s efforts to
 26   ensure that the Project was in compliance with U.S. laws and regulations prohibiting
 27   the transfer of satellite and launch technology and data to the PRC, which ultimately
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 9 of 109 Page ID #:161



  1   forced Mr. Youssefzadeh and Javed to resign their positions and cease their
  2   association with the Project.
  3              4.    Plaintiffs have suffered substantial losses of money and property as a
  4   result of Defendants’ fraud and theft as detailed below.
  5                                      II.    THE PARTIES.
  6   A.         Plaintiffs.
  7              5.    Plaintiff STM Atlantic is a company organized under the laws of the
  8   Netherlands, with its principal place of business located in El Segundo, California.
  9   Prior to April 2016, STM’s principal place of business was in Irvine, California.
 10              6.    Plaintiff STM Group is a Delaware corporation, with its principal place
 11   of business in El Segundo, California. STM Group is the parent corporation of
 12   plaintiff STM Atlantic.
 13              7.    Plaintiff Emil Youssefzadeh is an individual residing in Los Angeles
 14   County, California. Mr. Youssefzadeh is the founder of STM Group, and his family
 15   trust owns a majority interest in STM Group. He is also one of the founders of
 16   Global-IP Cayman (“GIP-Cayman”), which is discussed below.
 17              8.    Mr. Youssefzadeh holds master degrees in electrical engineering from
 18   Stanford University, with a focus on information theory and satellite communications.
 19              9.    Mr. Youssefzadeh is a pioneer in the satellite industry. From 1979 to
 20   1982, he worked as a satellite systems engineer for Hughes Aircraft, which is now
 21   Boeing Satellite Systems International, Inc. (“Boeing”). His responsibilities included
 22   research and development programs for advanced satellite communications payloads
 23   and system design of commercial satellite programs.
 24              10.   In 1982, Mr. Youssefzadeh founded STM Wireless, Inc.
 25   (“STM Wireless”), which was engaged in the manufacturing of satellite ground
 26   terminals. STM Wireless helped launch the first advanced digital cellular network in
 27   Malaysia. From 2003 to the present, he has been Chairman of STM Group, which
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                                                     9
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 10 of 109 Page ID #:162



  1   acquired the assets of STM Wireless and was engaged in the development of
  2   technology, products and services in the communications satellite sector.
  3              11.   Plaintiff Umar Javed is an individual residing in Orange County,
  4   California. He holds a master’s degree in business administration, and has over
  5   20 years of experience in management and business development in the technology
  6   and satellite industry.
  7              12.   From 1999 to 2002, Mr. Javed held various positions including
  8   commercial manager, sales and marketing director and vice president of sales at
  9   STM Wireless. From 2003 to the present, he has served as President of STM Group,
 10   leading the business as it made a number of mergers and acquisitions in Europe, the
 11   Americas, the Middle East and Latin America. While at STM Group, he headed the
 12   creation of start-up companies in Brazil and Spain, offering satellite-based solutions
 13   and services to the government, enterprise, mobility and maritime sectors.
 14              13.   In 2013, Mr. Youssefzadeh and Mr. Javed founded GIP-Cayman as a
 15   corporate entity to own and carry on the Satellite Project. GIP-Cayman is
 16   incorporated under the laws of the Grand Caymans, but its principal place of business
 17   is in El Segundo, California.
 18   B.         Defendants.
 19              14.   Defendant DONG YIN is a company organized under the laws of
 20   Hong Kong SAR, with its principal place of business in Hong Kong SAR.
 21              15.   DONG YIN is a subsidiary of China Orient Asset Management Company
 22   (“COAMC”), an agency and/or instrumentality of the PRC.
 23              16.   Defendant COAMI is a Hong Kong limited company, organized under
 24   the laws of Hong Kong SAR, and a subsidiary of DONG YIN. Its principal place of
 25   business is in Hong Kong SAR, but it maintains a U.S. presence and operates through
 26   an office located at 1114 Avenue of the Americas, Suite 3405, New York, New York
 27   10036.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 11 of 109 Page ID #:163



  1              17.   DONG YIN is the 100% owner of and controls Wise Leader Assets Ltd.
  2   (“Wise Leader”), a company formed in the British Virgin Islands. DONG YIN and
  3   Wise Leader each is a 50% owner of, and together control, defendant COAMI, as a
  4   result of which DONG YIN has 100% control over COAMI.
  5              18.   Plaintiffs are informed and believe, and based thereon allege, that at all
  6   relevant times, DONG YIN and COAMI were alter egos of each other in that there is
  7   and was a unity of interest and ownership between DONG YIN and COAMI such that
  8   the separateness of these corporations did not and does not really exist, and there
  9   would be an inequitable result if the acts of either corporation are treated as those of
 10   that corporation alone.
 11              19.   Defendant CHANG is, and at all relevant times was, the Executive
 12   Director and Co-President of COAMI. At all relevant times, CHANG was also a
 13   Director of Amore Resources Ltd. (“Amore”), which is discussed below. At all
 14   relevant times, CHANG operated from his executive office, located at 1114 Avenue of
 15   the Americas, Suite 3405, New York, New York 10036, which is the same address as
 16   COAMI.
 17   C.         Principal Unnamed Co-Conspirators.
 18              20.   Shiwen Fan (“Fan”) is, and at all relevant times was, a citizen of the
 19   PRC and an attorney practicing in Beijing, China. In addition, Fan is, and at all
 20   relevant times was, a member of the Boards of Directors of Bronzelink Holdings
 21   Limited (“Bronzelink”) and GIP-Cayman. Plaintiffs are informed and believe, and
 22   based thereon allege, that prior to his appointment to the GIP-Cayman Board of
 23   Directors, Fan did not have any experience directing, managing, or governing a
 24   company involved in the design, ownership, or operation of satellites or satellite
 25   technology. Fan is, and at all relevant times was, an agent of DONG YIN, acting
 26   within the scope of that agency and with the intent to benefit DONG YIN in whole or
 27   in part, and, in such capacity, disregarded or subordinated his duties to Bronzelink and
 28   GIP-Cayman.
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 12 of 109 Page ID #:164



  1              21.   Yuen-Cheung (Tony) Wong (“Wong”) is a relative of Xinyi Dong, who
  2   is a Director of DONG YIN and Amore and a resident of Hong Kong SAR. In
  3   addition, Wong is, and at all relevant times was, a member of the Boards of Directors
  4   of Bronzelink, GIP-Cayman and its subsidiary, Global-IP USA (“GIP-USA”). In or
  5   about April 2017, Wong was appointed Executive Director of GIP-Cayman. In or
  6   about July 2017, he was appointed Chairman of the Board of Directors of
  7   GIP-Cayman. Plaintiffs are informed and believe, and based thereon allege, that prior
  8   to his appointment to the GIP-Cayman Board of Directors, Wong did not have any
  9   experience directing, managing, or governing a company involved in the design,
 10   ownership and operation of satellites or satellite technology. Wong is, and at all
 11   relevant times was, an agent of DONG YIN, acting within the scope of that agency
 12   and with the intent to benefit DONG YIN in whole or in part, and in such capacity
 13   disregarded or subordinated his duties to Bronzelink, GIP-Cayman and GIP-USA.
 14              22.   Bonnie Shiyue Liu (“Liu”) is, and at all relevant times was, a member of
 15   the Boards of Directors of Bronzelink, GIP-Cayman and GIP-USA, and the controller
 16   of GIP-Cayman and GIP-USA. In or about July 2017, Liu was appointed Secretary of
 17   the Board of Directors of GIP-Cayman. Plaintiffs are informed and believe, and based
 18   thereon allege, that prior to her appointment to the GIP-Cayman Board of Directors,
 19   Liu did not have any experience directing, managing, or governing a company
 20   involved in the design, ownership and operation of satellites or satellite technology.
 21   Liu is, and at all relevant times was, an agent of DONG YIN, acting within the scope
 22   of that agency and with the intent to benefit DONG YIN in whole or in part, and, in
 23   such capacity, disregarded or subordinated her duties to Bronzelink, GIP-Cayman and
 24   GIP-USA.
 25                              III.   JURISDICTION AND VENUE.
 26   A.         Subject Matter Jurisdiction.
 27              23.   This Court has subject matter jurisdiction over this action pursuant to
 28   Title 28, United States Code, section 1331, in that it includes claims that arise under
                                                     12
                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 13 of 109 Page ID #:165



  1   the laws of the United States, and pursuant to Title 28, United States Code,
  2   section 1367, in that the claims arising under state law are so related to the claims
  3   arising under federal law that they form part of the same case or controversy under
  4   Article III of the United States Constitution.
  5   B.         Personal Jurisdiction.
  6              24.   This Court has personal jurisdiction over Defendants in this action
  7   pursuant to Federal Rule of Civil Procedure 4(k)(1)(A) and California Code of
  8   Civil Procedure section 410.10 in that: (a) Defendants, and each of them, have
  9   purposefully directed their activities and consummated transactions with residents of
 10   California and have purposefully availed themselves of the privilege of conducting
 11   activities in California, invoking the benefits and protections of its laws; (b) the claims
 12   against Defendants, and each of them, arise out of and relate to each Defendants’
 13   California-related activities; and (c) the exercise of jurisdiction over Defendants, and
 14   each of them, comports with fair play and substantial justice.
 15              25.   More specifically, this Court has personal jurisdiction over Defendants,
 16   and each of them because, among other things:
 17              (a)   Plaintiffs resided in California at all relevant times, and were located in
 18                    California when Defendants, and each of them, made some of the false
 19                    and fraudulent representations and promises and/or concealed material
 20                    facts from them in furtherance of the conspiracy and scheme to defraud
 21                    plaintiffs alleged herein;
 22              (b)   Defendants made false representations and promises to Plaintiffs in
 23                    California, as further described below;
 24              (c)   Some of the property that Defendants obtained by the theft described
 25                    herein, including Plaintiffs’ confidential business plan, was at all relevant
 26                    times located in California;
 27              (d)   The fraud and theft was accomplished in part through contracts that were
 28                    executed by Mr. Youssefzadeh and Mr. Javed while physically located in
                                                      13
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 14 of 109 Page ID #:166



  1                    California and based on false and fraudulent pretenses, representations
  2                    and promises made to, and the concealment of material facts from, them
  3                    while they were physically located in California;
  4              (e)   One of these contracts was also executed by Fan, acting as an agent of
  5                    DONG YIN, while physically located in California.
  6              (f)   The principal place of business of GIP-Cayman is El Segundo,
  7                    California;
  8              (g)   The principal place of business of GIP-USA is El Segundo, California;
  9              (h)   As the controller for GIP-Cayman and GIP-USA and an agent of
 10                    Dong Yin, Liu worked in the GIP-USA offices in El Segundo, California;
 11              (i)   Fan and Wong often traveled to and visited the GIP-USA offices in
 12                    El Segundo, California as agents of DONG YIN, and on these trips
 13                    furthered the conspiracy and scheme to defraud Plaintiffs and obtain and
 14                    maintain control and dominance over, and direct the governance,
 15                    management and operations of, GIP-Cayman and GIP-USA, as described
 16                    further below;
 17              (j)   Fan, Wong and Liu, acting as agents of DONG YIN, attended meetings
 18                    of the GIP-Cayman Board of Directors in California;
 19              (k)   In or about August 2016, GIP-Cayman entered into a contract with
 20                    Boeing to manufacture the satellite and provide other services for the
 21                    Satellite Project, which was executed and to be performed in California;
 22              (l)   In or about March 2017, GIP-Cayman entered into a contract with
 23                    Space Explorations Technology Corp. (“SpaceX”) to launch the satellite,
 24                    which was executed and to be performed in part in California;
 25              (m)   In or about June 2017, after Plaintiffs raised the issue of whether
 26                    Defendants and their co-conspirators were violating U.S. export control
 27                    laws, Wong travelled to El Segundo, California, told Plaintiffs that they
 28                    should not concern themselves with compliance with such laws, and
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                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 15 of 109 Page ID #:167



  1                    retaliated against Plaintiffs by informing them that they could be either
  2                    executives of GIP-Cayman or officers of GIP-Cayman, but could no
  3                    longer hold both positions; and
  4              (n)   In or about November 2017, two DONG YIN consultants travelled to
  5                    California and informed Plaintiffs that they were willing to pay them if
  6                    they stopped insisting on ensuring compliance with U.S. export control
  7                    laws and agreed to remain shareholders in GIP-Cayman.
  8   C.         Venue.
  9              26.   Venue for this matter properly lies within the Central District of
 10   California pursuant to Title 18, United States Code, section 1391(b)(2), in that a
 11   substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred
 12   in this district.
 13                               IV.     FACTUAL ALLEGATIONS.
 14   A.         The Satellite Project.
 15              1.    STM Atlantic.
 16              27.   STM Atlantic was founded by Mr. Youssefzadeh in 2003.
 17   STM Atlantic’s original business was to manufacture and sell very small aperture
 18   terminal (“VSAT”) equipment, which is a two-way ground station that transmits and
 19   receives data from satellites. STM Atlantic was successful in manufacturing and
 20   selling VSAT equipment.
 21              28.   In the mid- 2000s, STM Atlantic began to transition into the business of
 22   providing satellite services, creating the Satellite Project with the goal of designing,
 23   financing, fabricating, launching, operating and owning communications satellites that
 24   provided HSIA and other Broadband services to portions of Africa and elsewhere.
 25              2.    The Orbital Slot Licenses.
 26              29.   In or about August 2008, as an initial step in bringing the Satellite Project
 27   to fruition, STM Group, through its subsidiary STM Norway, made its first regulatory
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                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 16 of 109 Page ID #:168



  1   filing for Orbital Slots with the International Telecommunications Union (“ITU”) in
  2   Switzerland and the government of Norway.
  3              30.   The ITU is a specialized agency of the United Nations that coordinates
  4   the shared global use of the radio spectrum, promotes international cooperation in
  5   assigning satellite orbit positions, works to improve telecommunication infrastructure
  6   in the developing world, and assists in the development and coordination of
  7   worldwide technical standards.
  8              31.   A key function of the ITU is to assign and coordinate Orbital Slots for
  9   geosynchronous satellites. Geosynchronous satellites are satellites that have an orbital
 10   period that is the same as the Earth’s rotation period. As a result, they stay in the
 11   same place in the sky, relative to a position on the ground, which makes them useful
 12   for communications, television broadcasting and providing HSIA.
 13              32.   Any company or government that wants to place a satellite in
 14   geosynchronous orbit is required to obtain a license, known as an Orbital Slot License,
 15   from the ITU. Among other things, this requirement prevents satellites from
 16   interfering with each other.
 17              33.   In 2012, STM Group, through STM Norway, applied to the government
 18   of Norway for Orbital Slot Licenses. STM Group chose Norway for their filing
 19   because it had a strong presence in that country, employed qualified technical staff
 20   there, and intended to manage and control the satellite through its presence in Norway.
 21              34.   To obtain the desired Orbital Slot Licenses, STM Norway needed to pay
 22   filing fees to the ITU and to the government of Norway. STM Norway also needed to
 23   demonstrate that it had sufficient expertise in the satellite field to convince the
 24   government of Norway that it would be able to launch a satellite during the license
 25   period. Finally, STM Norway needed to demonstrate that its proposed satellite would
 26   not interfere with any existing satellites. Plaintiffs made the necessary payments and
 27   were able to satisfy each of these conditions.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 17 of 109 Page ID #:169



  1              35.   In or about June 2012, STM Norway obtained Orbital Slot Licenses for
  2   18W and 15.5W (the “STM Orbital Slots”). The STM Orbital Slots were extremely
  3   valuable because they were in a priority position relative to others for the expected
  4   time the proposed satellite could be Brought Into Use (“BIU”); had a good view
  5   towards the earth in relation to the target coverage area (sub-Saharan Africa); and
  6   could be coordinated with other adjacent satellites in frequency to be able to access
  7   the largest amount of frequency spectrum over the coverage area.
  8              36.   Orbital Slot Licenses are valid for a period of seven years. If they are not
  9   used during that time frame, they expire and have no value. The STM Project Orbital
 10   Slot Licenses expire in June 2019.
 11              37.   In 2013, STM Norway transferred its rights in the Orbital Slot Licenses
 12   to Dub Dub, a Norwegian Company that in 2015 became a wholly owned subsidiary
 13   of GIP-Cayman.
 14              3.    The Satellite Project Concept and Business Plan.
 15              38.   In or about 2009 and 2010, as part of the Satellite Project, STM Group
 16   and STM Atlantic further developed their business concept of providing
 17   communication satellite services to sub-Saharan Africa. Their goal was to design,
 18   fabricate and launch a satellite that would make them a dominant provider of
 19   Broadband services, including HSIA, in sub-Saharan Africa. Internet service in
 20   Africa is typically limited to the largest cities. But approximately 70% of Africa’s
 21   population does not live in the cities. Accordingly, Plaintiffs wanted to become the
 22   driver for providing, and bringing down costs for, Broadband services and HSIA in
 23   those unserved, or under-served, parts of Africa.
 24              39.   Plaintiffs planned to profit from the Satellite Project by leasing capacity
 25   on the satellite to governments and private HSIA providers. The Satellite Project was
 26   projected to earn approximately US$1.5 billion in profits over the life of the satellite.
 27              40.   STM Atlantic commissioned and paid for marketing studies, identifying
 28   their biggest competitors and attempting to ascertain potential customers for the
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 18 of 109 Page ID #:170



  1   Satellite Project. The target customers were governments, mobile network operators
  2   and Internet Service Providers.
  3              41.   In or about 2010, STM Atlantic started discussions with various
  4   companies, including Mitsubishi (in Japan), Space Systems Loral (in Palo Alto),
  5   Thales (in France) and Boeing (in El Segundo) to manufacture the satellite.
  6              42.   In or about 2010, STM Atlantic engaged a law firm in the District of
  7   Columbia (the “Washington Law Firm”), which had an attorney experienced with
  8   satellite-related export restrictions (the “Washington Attorney”) to provide advice
  9   regarding regulations and financing for the Satellite Project.
 10              43.   In or about February 2012, Plaintiffs completed their first business plan
 11   for the Satellite Project. The plan needed to, and did, address every component of the
 12   Project, including: (a) financing; (b) development; (c) manufacture; (d) delivery;
 13   (e) launch; (f) maintenance, control and operation; (g) satellite control facilities;
 14   (h) orbital locations; (i) ground system and gateways; and (j) required launch and
 15   in-orbit insurance. This was an extremely involved process that required significant
 16   time, money and expertise.
 17              44.   A key component of the business plan was the technical design of the
 18   satellite. Plaintiffs prepared the initial design for a state-of-the-art 7.7-ton
 19   solar-powered satellite, with maximum Broadband capacity and a 15-year anticipated
 20   lifespan. The design had to factor in the weight, power and performance of the
 21   satellite, and had to provide sufficient capacity in the specific markets and at
 22   geographic locations where the capacity would be needed. The design also had to
 23   consider the whereabouts of approximately a dozen gateways to the Internet cloud to
 24   be established in Europe in such a way that interference with the satellite could be
 25   minimized.
 26              45.   The satellite design work was begun at STM Group in or about 2011. It
 27   involved significant amounts of Mr. Youssefzadeh’s time and expertise, the
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 19 of 109 Page ID #:171



  1   participation of the STM Atlantic engineering staff, and the work of a satellite expert
  2   hired by STM Atlantic and supervised by Mr. Youssefzadeh.
  3              46.   In or about 2013, STM Atlantic sold its operating assets so it could focus
  4   exclusively on the Satellite Project. In or about April 2013, Plaintiffs incorporated
  5   GIP-Cayman under the laws of the Grand Caymans. GIP-Cayman became a
  6   subsidiary of STM Atlantic. Plaintiffs created GIP-Cayman to be the company that
  7   owned and operated the satellite.
  8              47.   In or about July 2012, Mr. Youssefzadeh and Mr. Javed recruited
  9   Bahram Pourmand (“Pourmand”) to become part of the Satellite Project. At that time,
 10   Pourmand was an executive with Hughes Communications, Inc. (“Hughes”), and was
 11   well-known in the satellite industry. At the time, Mr. Youssefzadeh and Mr. Javed
 12   believed that Pourmand could be instrumental in raising funds to further finance the
 13   Satellite Project. Accordingly, they offered him a 37% share of GIP-Cayman.
 14   Pourmand agreed, acquiring and holding his interest in GIP-Cayman through his
 15   company Steadyspace Limited (“Steadyspace”).
 16   B.         Introduction to DONG YIN.
 17              48.   Satellite projects typically require several hundred million dollars in
 18   financing to build, launch and operate the satellite. Plaintiffs sought to sell an equity
 19   interest in GIP-Cayman to obtain the first tranche of funding needed for the next steps
 20   in the Satellite Project.
 21              49.   In or about July 2015, Pourmand introduced Mr. Youssefzadeh and
 22   Mr. Javed to Hady Hartanto (“Hartanto”), who was introduced as a principal in a
 23   company called TechCap. Hartanto expressed immediate interest in the Satellite
 24   Project and assured Mr. Youssefzadeh and Mr. Javed that he and his company had
 25   valuable contacts in Asia that could help them obtain financing for the
 26   Satellite Project.
 27              50.   Based on Hartanto’s representations, Mr. Youssefzadeh and Mr. Javed
 28   offered him an ownership interest in GIP-Cayman, but only if he was able to secure
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 20 of 109 Page ID #:172



  1   $100 million dollars in financing for the Satellite Project and arrange for EXIM
  2   financing or an additional loan.
  3              51.   In or about July 2015, Hartanto and his partner, Ruifeng Lyu (“Lyu”),
  4   introduced Mr. Youssefzadeh, Mr. Javed and Pourmand to Zhiyuan Geng (“Geng”), a
  5   high ranking PRC official. Plaintiffs are informed and believe, and based thereon
  6   allege, that Geng was also a high level executive at DONG YIN.
  7              52.   Mr. Javed subsequently visited Beijing at the request of Pourmand, where
  8   he and Geng met with representatives of COAMC, which is 100% owned by the PRC.
  9   COAMC expressed an interest in the Satellite Project and the acquisition of an interest
 10   in GIP-Cayman.
 11              53.   On or about September 9, 2015, Pourmand met with Hartanto;
 12   Charles Lau (“Lau”) of TechCap; Yang Zeng, the Chairman of the DONG YIN Board
 13   of Directors; Din Yi Dong, DONG YIN’s Vice Managing Director; Terry Long, a
 14   DONG YIN executive; and CHANG, COAMI’s Executive Director and Co-President.
 15              54.   During that September 9, 2015 meeting, Hartanto pressured Pourmand to
 16   set up meetings with satellite manufacturers. Pourmand set up meetings for Hartanto
 17   and representatives of DONG YIN with Hughes and SSL.
 18              55.   Mr. Youssefzadeh, Mr. Javed and Pourmand provided a draft financing
 19   agreement to TechCap. On or about September 10, 2015, Lau sent a revised draft of
 20   that agreement back to Mr. Youssefzadeh, Mr. Javed and Pourmand, proposing to
 21   acquire 75% of GIP-Cayman in return for a $100 million investment.
 22              56.   On or about September 10, 2015, Pourmand responded to Hartanto’s
 23   email, rejecting the proposed terms.
 24              57.   The potential involvement in the Satellite Project of a company affiliated
 25   with the PRC raised important compliance issues under U.S. export control laws.
 26   Plaintiffs understood that the involvement of any PRC entity in the Satellite Project
 27   would be limited to indirect debt financing and require that proper firewalls be erected
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 21 of 109 Page ID #:173



  1   to ensure compliance with those laws, the violation of which could be punished
  2   criminally.
  3   C.         U.S. Export Control Laws.
  4              58.   To safeguard national security, a comprehensive series of federal
  5   regulations provide that certain confidential and sensitive technology and data
  6   involved in the construction and launch of satellites cannot be exported or provided to
  7   specified foreign countries, including the PRC. These regulations include the
  8   international Traffic in Arms Regulations (“ITAR”) and the Export Administration
  9   Regulations (“EAR”).
 10              1.    The International Traffic In Arms Regulations.
 11              59.   ITAR is a series of import/export regulations established under the
 12   U.S. Arms Export Control Act, Title 22, United States Code, section 2751, et seq.
 13              60.   ITAR provides that it is the policy of the U.S. to deny licenses and other
 14   approvals for exports and imports of defense articles and defense services, including
 15   satellite technology, to the PRC (the “PRC Proscription”). (Title 22, Code of Federal
 16   Regulations, section 126.1(d).)
 17              61.   The transfer of control of a satellite subject to ITAR to a “foreign person”
 18   is considered an “export” under ITAR. (Title 22, Code of Federal Regulations,
 19   section 120.17(c).)
 20              62.   ITAR defines “foreign person” to include natural persons who are not
 21   lawful permanent U.S. residents, foreign corporations and business associations, as
 22   well as any agency or subdivision of a foreign government. (Title 22, Code of
 23   Federal Regulations, section 120.16.)
 24              63.   ITAR further provides that the transfer of certain designated technical
 25   data to a foreign person is deemed to be an export to all countries in which the foreign
 26   person has held or holds citizenship or holds permanent residency. (Title 22, Code of
 27   Federal Regulations, sections 120.17 and 120.50.) The satellite and launch
 28   technology involved in the Satellite Project includes “technical data” subject to ITAR.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 22 of 109 Page ID #:174



  1              64.   Any person, including a corporation, that engages in the U.S. in the
  2   business of manufacturing or exporting, or temporarily importing, defense articles, or
  3   furnishing defense services, is required to register with the Directorate of Defense
  4   Trade Controls. If the intended registrant is foreign owned, or foreign controlled, the
  5   certification must include an explanation of such ownership or control, including the
  6   identities of the foreign person or persons who ultimately own or control the
  7   registrant. (Title 22, Code of Federal Regulations, section 122.2.)
  8              65.   Under ITAR, “foreign ownership” means that more than 50% of the
  9   outstanding voting securities of the company are owned by one or more foreign
 10   persons. (Title 22, Code of Federal Regulations, section 120.16.) “Foreign control”
 11   means one or more foreign persons have the authority or ability to establish or direct
 12   the general policies or day-to-day operations of the company. Foreign control is
 13   presumed to exist where a foreign person or persons own 25% or more of the
 14   outstanding voting securities of the company, unless one U.S. person controls an equal
 15   or larger percentage. (Title 22, Code of Federal Regulations, section 120.37.)
 16              66.   The penalties for violating ITAR are severe. Any person who knowingly
 17   violates any provision of the Arms Control Act could be sentenced to 20 years in
 18   federal prison and fined for each violation as much as $1,000,000. (Title 22,
 19   United States Code, section 2778; Title 22, Code of Federal Regulations, section
 20   127.3.) A violation of ITAR may also result in civil penalties and debarment from
 21   participating in any activities that are subject to ITAR. (Title 22, Code of
 22   Federal Regulations, sections 127.7 and 127.10.)
 23              2.    The Export Administration Regulations.
 24              67.   EAR is a set of regulations issued by the U.S. Department of
 25   Commerce’s Bureau of Industry and Security for the purpose of implementing the
 26   U.S. Export Administration Act of 1979, Title 50, United States Code, section 4601,
 27   et seq.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 23 of 109 Page ID #:175



  1              68.   The export control provisions of EAR are intended to further national
  2   security, foreign policy, nonproliferation of weapons of mass destruction, and other
  3   such interests of the U.S. EAR controls are designed, in part, to restrict access to
  4   items subject to EAR by countries or persons that might apply such items to uses
  5   inimical to U.S. interests. (Title 15, Code of Federal Regulations, section 730.6.)
  6              69.   Like ITAR, EAR contains a PRC Proscription, which prohibits certain
  7   technology from being exported to the PRC. Any license application seeking to
  8   export items or services to the PRC that may compromise national security is subject
  9   to a policy of denial. (Title 15, Code of Federal Regulations, section 742.4(b)(1)(iii).)
 10              70.   EAR provides that satellites cannot be exported to the PRC. (Title 15,
 11   Code of Federal Regulations, section 772.1.) The satellite and launch technology
 12   involved in the Satellite Project includes technology that falls within this proscription.
 13              71.   As with ITAR, violations of EAR carry significant criminal and civil
 14   penalties, including, for a willful violation of EAR, imprisonment for up to ten years.
 15   (Title 50, United States Code, section 4610.)
 16              72.   Depending upon the facts of the particular case, conduct that constitutes a
 17   violation of ITAR or EAR also often involves a violation of another federal criminal
 18   law, such as Title 18, United States Code, sections 371 (criminal conspiracy), 1001
 19   (false statements to a federal agency), 1341 (mail fraud), 1343 (wire fraud) and 1956
 20   and 1957 (money laundering).
 21              73.   Three recent cases demonstrate the potentially serious consequences of
 22   violating the export control laws. In U.S. v. Zuccarelli, U.S. District Court for the
 23   Eastern District of Texas, Case No. 4:17-cr-00117-ALM-KPJ, a Texas man was
 24   sentenced to 46 months in prison, a $50,000 fine and three years of supervised release
 25   for violating U.S. export control laws by conspiring to illegally export radiation
 26   hardened integrated circuits to Russia and China for use in their space programs.
 27   In U.S. v. Xu, U.S. District Court for the Southern District of New York,
 28   Case No. 7:16-cr-00010-KMK, a Chinese national was sentenced to five years in
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 24 of 109 Page ID #:176



  1   prison, pursuant to a plea agreement, for stealing proprietary source code from his
  2   former employer with the intent of benefitting the PRC. And in U.S. v. Shih, U.S.
  3   District Court for the Central District of California, Case No. 2:18-cr-00050-JAK, two
  4   Southern California men were arrested in January 2018, and charged with, among
  5   other things, conspiring to cause a U.S. company to make special high-speed
  6   computer chips that were then exported to a Chinese company, in violation of the
  7   export control laws.
  8              74.   Because of the importance of ensuring compliance with ITAR and EAR,
  9   companies that deal in satellite and launch technologies may require customers
 10   seeking access to that technology to certify that they are not owned or controlled,
 11   directly or indirectly, by countries such as the PRC. Based on their understanding of
 12   ITAR, EAR and the PRC Proscription, Plaintiffs determined that they should not
 13   pursue any business relationship in which COAMC would obtain an equity interest in
 14   GIP-Cayman.
 15   D.         Defendants Undermine Plaintiffs’ Deal with CCTG.
 16              75.   As of September 2015, Plaintiffs had come to believe that Hartanto and
 17   Lyu had misrepresented their ability to provide and/or raise financing for the Satellite
 18   Project. While they had initially represented themselves as businessmen and
 19   investors, it became clear that they were just middlemen looking to connect Plaintiffs
 20   with potential funding sources in the PRC. As a result, Plaintiffs began to seriously
 21   question Hartanto and Lyu’s ability to actually structure a viable financing transaction,
 22   and decided that they did not want to have any further business involvement with
 23   TechCap. Accordingly, in or about August 2015, Plaintiffs entered into direct
 24   negotiations with another potential financing source, Huaxun Shenzhen/CCT Group
 25   (“CCTG”).
 26              76.   The negotiations with CCTG gained momentum in or about
 27   September 2015, and, on or about September 12, 2015, Mr. Youssefzadeh and
 28   Mr. Javed signed a Memorandum of Understanding (“MOU”) with CCTG.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 25 of 109 Page ID #:177



  1              77.   Pursuant to the terms of the MOU, CCTG assumed responsibility for
  2   securing equity and debt financing for the Satellite Project in return for 63% of the
  3   shares in GIP-Cayman.
  4              78.   On September 17, 2015, Pourmand sent an email to Mr. Youssefzadeh
  5   and Mr. Javed, referring to the CCTG deal as “a dream,” and indicating that he was no
  6   longer interested in working with Hartanto.
  7              79.   On or about September 19, 2015, Lau sent an email to Pourmand,
  8   Mr. Youssefzadeh and Mr. Javed, copying Hartanto, stating that “[w]e have come this
  9   far and really hate to see this project go.” Lau then proposed certain steps to preserve
 10   TechCap’s participation in the project, including producing a letter from COAMC
 11   confirming its “in-principle approval for the $200m loan.”
 12              80.   In or about late September 2016, CCTG’s representative informed
 13   Mr. Youssefzadeh and Mr. Javed that CCTG had to withdraw from the deal. The
 14   representative indicated that he had been pressured by Hartanto and Lyu, as well as
 15   persons representing COAMC and DONG YIN, to withdraw.
 16   E.         The COSEIG Joint Venture Agreement.
 17              81.   On or about October 5, 2015, Mr. Youssefzadeh received an email from
 18   Ivan Chow, who introduced himself as “the sole representative of Mr. Geng Zhiyuan
 19   and Yang Zeng of Dong Yin Development (Holdings) Limited regarding the business
 20   dealings related to the [sic] Global IP.”
 21              82.   On or about October 5, 2015, in response to an email from
 22   Mr. Youssefzadeh, Ivan Chow falsely represented that neither he nor his company,
 23   COSEIG, had any affiliation with TechCap or its associates. In fact, TechCap was
 24   still involved in the transaction, and had been promised a 12% interest in COSEIG for
 25   its role in the anticipated transaction.
 26              83.   On or about October 14, 2015, Ivan Chow sent an email to Mr. Javed,
 27   enclosing a letter from his company’s lawyer, falsely certifying that COSEIG’s
 28   shareholders and management did not have any connection with TechCap, and that
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 26 of 109 Page ID #:178



  1   COSEIG did not have any existing agreement or business dealings with TechCap.
  2   However, as stated above, TechCap was still involved in the transaction, and had been
  3   promised a 12% interest in COSEIG for its role in the anticipated transaction.
  4              84.   On or about October 15, 2015, Mr. Javed sent an email to Ivan Chow,
  5   asking for additional information regarding COSEIG, as well as information regarding
  6   Fan, a PRC national, and his involvement in any deal with COSEIG. (Mr. Javed had
  7   initially met Fan when he was first introduced to COAMC in or about July 2015).
  8              85.   Ivan Chow responded to Mr. Javed’s email, representing that:
  9   (a) COSEIG was a Special-Purpose Vehicle for investment; (b) COSEIG would fully
 10   disclose its registry documents (registration certificate, Memorandum and Articles of
 11   Association, directors, shareholders and beneficiaries) once both parties were ready to
 12   pursue a deal; (c) DONG YIN was COSEIG’s financial partner; (d) Fan was
 13   DONG YIN’s lawyer; and (e) Ivan Chow’s role was to identify, evaluate and
 14   negotiate with potential companies to invest $200 million in funds on deposit in a
 15   Hong Kong bank.
 16              86.   In October 2015, Ivan Chow travelled to California to meet with
 17   Mr. Youssefzadeh and Mr. Javed. In the course of arranging this meeting, both
 18   Ivan Chow and Fan informed Mr. Youssefzadeh and Mr. Javed that they were
 19   representatives of DONG YIN.
 20              87.   During that October 2015 visit, Ivan Chow met with Mr. Youssefzadeh
 21   and Mr. Javed in Newport Beach, California. In that meeting, Mr. Youssefzadeh
 22   asked for assurances that DONG YIN did not own or control COSEIG, and
 23   Ivan Chow provided those assurances. In fact, COSEIG was under the control,
 24   dominance and direction of DONG YIN.
 25              88.   Ivan Chow further represented to Mr. Youssefzadeh and Mr. Javed that
 26   COSEIG was solely owned by Pok Kit Chow, a wealthy Hong Kong businessman and
 27   investor who intended to borrow money from DONG YIN to invest in GIP-Cayman,
 28   and that COSEIG was completely independent of PRC influence and control. In fact,
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 27 of 109 Page ID #:179



  1   these representations were false and misleading. Among other things, Ivan Chow did
  2   not disclose that Pok Kit Chow was his brother and that Pok Kit Chow had recently
  3   obtained ownership of COSEIG when Hoi Ying (Charles) Yiu (“Yiu”) transferred the
  4   ownership of all 50,000 shares of COSEIG stock, at $1 per share, to him in or about
  5   August 2015.
  6              89.   During a meeting in Irvine, California, on or about December 3, 2015,
  7   Ivan Chow represented to Mr. Youssefzadeh and Mr. Javed that COSEIG was a
  8   special purpose investment company with no desire or intent to become engaged in
  9   the operation of GIP-Cayman. In fact, COSEIG was under the control, dominance
 10   and direction of DONG YIN and DONG YIN planned and intended to use COSEIG
 11   as a vehicle in order to control, dominate and direct the governance, management and
 12   operations of GIP-Cayman.
 13              90.   On or about December 3 and 4, 2015, Mr. Youssefzadeh and Mr. Javed
 14   attended meetings at STM Atlantic’s offices in Irvine, California. Those meetings
 15   were also attended by Fan, Ivan Chow, Pourmand and Amir Irani (“Irani”),
 16   Pourmand’s stepson. The purpose of those meetings was to finalize the terms of a
 17   Joint Venture Agreement between COSEIG, Plaintiffs, Pourmand and Steadyspace
 18   (the “COSEIG JVA”).
 19              91.   During these meetings, Fan asked if there would be any compliance
 20   issues under U.S. export control laws given that COSEIG intended to borrow money
 21   from DONG YIN. Mr. Youssefzadeh and Mr. Javed told Fan that DONG YIN’s
 22   involvement as a lender would not create a compliance problem as long as:
 23   (a) DONG YIN’s role was limited to providing debt financing; (b) COSEIG was truly
 24   independent; and (c) the GIP-Cayman Board of Directors would be independent and
 25   free of any PRC influence. Fan expressly represented and promised
 26   Mr. Youssefzadeh and Mr. Javed that a structure that complied with the U.S. export
 27   control laws was being put into place.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 28 of 109 Page ID #:180



  1              92.   In fact, the representations that Fan made to Plaintiffs were false and
  2   misleading. DONG YIN’s role was not limited to providing debt financing; rather,
  3   DONG YIN planned and intended that it would dominate and control the
  4   GIP-Cayman Board of Directors on behalf of the PRC, to obtain access to confidential
  5   and sensitive satellite and launch technology and data. Furthermore, at all relevant
  6   times, COSEIG was controlled by DONG YIN and DONG YIN had merely arranged
  7   for Pot Kit Chow to be the nominal owner of COSEIG, for purposes of concealing and
  8   disguising its plan to obtain ownership and control of the Satellite Project.
  9              93.   On or about December 4, 2016, Fan signed the COSEIG JVA on behalf
 10   of COSEIG. The COSEIG JVA was executed in Irvine, California. Plaintiffs STM
 11   Atlantic, Mr. Youssefzadeh and Mr. Javed all signed the COSEIG JVA in reliance on
 12   the false representations and promises that COSEIG was, and would remain, an
 13   independent company and that it was not under DONG YIN’s control.
 14              94.   The COSEIG JVA provided that, subject to certain “due diligence
 15   conditions and other conditions for Completion,” COSEIG would make a $175
 16   million dollar equity investment in GIP-Cayman in return for 30,000,000 newly issued
 17   shares in GIP-Cayman, which would give COSEIG a 75% ownership interest in
 18   GIP-Cayman. The COSEIG JVA further provided that COSEIG would have the right
 19   to appoint six directors to the nine-member GIP-Cayman Board of Directors.
 20              95.   The relationship between COSEIG and Plaintiffs was characterized as a
 21   joint venture because COSEIG did not intend to passively allow Plaintiffs to manage
 22   GIP-Cayman and rely upon them to make the Satellite Project successful. Rather,
 23   COSEIG demanded a role in the governance, management and operations of
 24   GIP-Cayman.
 25              96.   Subsequent to entering into the COSEIG JVA, Mr. Youssefzadeh and
 26   Mr. Javed asked the Washington Attorney to review that Agreement to determine if it
 27   provided sufficient safeguards to ensure compliance with the export control laws
 28   considering that DONG YIN was the lender that would be providing the financing.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 29 of 109 Page ID #:181



  1              97.   After reviewing the COSEIG JVA, the Washington Attorney told
  2   Mr. Youssefzadeh and Mr. Javed that he could help ensure compliance with the export
  3   control laws, and suggested that the Washington Law Firm represent DONG YIN to
  4   make sure that DONG YIN knew and complied with the limits on its participation as a
  5   lender to COSEIG. Plaintiffs agreed with this approach, and trusted the Washington
  6   Attorney to ensure that DONG YIN’s role in the transaction was appropriately
  7   limited. In fact, rather than assisting Plaintiffs in making sure that COSEIG would be
  8   an effective firewall between DONG YIN and GIP-Cayman, the Washington Attorney
  9   actively assisted DONG YIN in its effort to obtain dominance and control over the
 10   Satellite Project by aiding and abetting DONG YIN’s deception of Plaintiffs.
 11              98.   In or about early December 2015, Plaintiffs learned that Hartanto and
 12   Lyu owned a 12% share in COSEIG. Plaintiffs are informed and believe, and based
 13   thereon allege, that Hartanto and Lyu were given this interest in COSEIG as a
 14   “finder’s fee” for introducing Plaintiffs to DONG YIN, as part of the conspiracy and
 15   scheme to defraud.
 16              99.   In or about early December 2015, Hartanto sent a text message to
 17   Pourmand expressing concern that COSEIG did not intend to honor its deal with
 18   TechCap. Pourmand shared that text message with Plaintiffs.
 19              100. On or about December 11, 2015, Mr. Javed sent an email to Pourmand,
 20   copying Mr. Youssefzadeh. In that email, Mr. Javed confirmed that he and
 21   Mr. Youssefzadeh had told Ivan Chow that while they have no objections to Hartanto
 22   and Lyu owning a 12% interest in COSEIG, they were adamant in insisting that
 23   Hartanto and Lyu could not have any involvement in the GIP-Cayman’s business
 24   operations.
 25              101. On or about December 12, 2015, Mr. Javed forwarded his
 26   correspondence with Pourmand, including Hartanto’s text message, to Ivan Chow.
 27   Ivan Chow responded that same day, indicating that he had “no intention nor the
 28   authority to change the 12% status.”
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      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 30 of 109 Page ID #:182



  1              102. After they entered into the COSEIG JVA, COSEIG proposed conducting
  2   due diligence jointly with DONG YIN. That due diligence took place in Dubai on or
  3   about January 11 and 12, 2016. Mr. Youssefzadeh and Mr. Javed arranged for
  4   COSEIG and DONG YIN to meet with a potential customer. The attendees at these
  5   meetings were CHANG; Fan; Yang Zeng, Chairman of the DONG YIN Board;
  6   Xinyi Dong, Vice Managing Director of DONG YIN; Zhanyu David Zhang, a
  7   DONG YIN executive; Terry Long, also a DONG YIN executive; Zhaohui Sui, from
  8   DONG YIN; Senlin Liang, from DONG YIN; Ivan Chow, from COSEIG; and
  9   Mr. Javed.
 10              103. During the January 11 and 12, 2016 due diligence meetings in Dubai,
 11   CHANG, Fan, Ivan Chow, CHANG, Yang Zeng, David Zhang and Xinyi Dong
 12   repeatedly represented and promised to Mr. Javed that COSEIG was independent from
 13   DONG YIN and that DONG YIN was only a lender. In fact, these representations and
 14   promises were false and misleading because, at all relevant times, COSEIG was
 15   controlled by DONG YIN and it was always DONG YIN’s intent and plan to own and
 16   control the Satellite Project.
 17              104. On or about January 28, 2016, Ivan Chow emailed Mr. Youssefzadeh,
 18   Mr. Javed and Pourmand, on behalf of Fan, that COSEIG’s $250 million financial
 19   proposal had been formally approved by DONG YIN, creating the false and
 20   misleading impression that DONG YIN was only a lender and that COSEIG and
 21   DONG YIN were independent, unrelated entities when, in reality, DONG YIN was
 22   more than a lender, and COSEIG was under the control of DONG YIN.
 23              105. On or about January 31, 2016, Ivan Chow informed Mr. Youssefzadeh
 24   and Mr. Javed that to have a “smooth EXIM bank loan process,” they would need to
 25   split the COSEIG JVA into two separate agreements: a Share Purchase Agreement
 26   and a Shareholders Agreement.
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      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 31 of 109 Page ID #:183



  1              106. In or about early February 2016, Ivan Chow suddenly disappeared from
  2   the transaction. Mr. Youssefzadeh and Mr. Javed attempted to locate him, but they
  3   were told by Fan to cease their efforts.
  4              107. On or about February 7, 2016, Mr. Youssefzadeh and Mr. Javed attended
  5   a meeting in Washington, D.C. The meeting was also attended by Fan; Henry Fan, a
  6   paid advisor to DONG YIN and Fan; the Washington Attorney; and others. At that
  7   meeting, Plaintiffs were told that COSEIG was being replaced in the joint venture by a
  8   different entity, later identified as Bronzelink.
  9              108. The Washington Attorney explained that the change from COSEIG to
 10   Bronzelink was being made at DONG YIN’s insistence. At that time, Fan
 11   misrepresented to Plaintiffs that Bronzelink, like COSEIG, was owned by wealthy
 12   Hong Kong investors who had no affiliation to DONG YIN. In fact, however:
 13   (a) Yiu, the prior owner of COSEIG, was also the purportedly “wealthy” owner of
 14   Bronzelink; (b) Bronzelink’s Board of Directors was selected by DONG YIN;
 15   (c) DONG YIN’s true role in the Satellite Project was more than that of a lender; and
 16   (d) DONG YIN’s intent and plan was to gain control and dominance over
 17   GIP-Cayman and the Satellite Project and to use that control and dominance to obtain
 18   access to confidential and sensitive satellite and launch technology and data subject to
 19   ITAR, EAR and the PRC Proscription.
 20              109. On or about February 11, 2016, Fan emailed Plaintiffs a “bridge”
 21   document identifying terms of the then-existing COSEIG – GIP-Cayman Agreement
 22   that had to be revised and eventually separated into an investment agreement and a
 23   shareholder agreement with the new, yet to be identified, Hong Kong entity
 24   (“NewCo”). The “bridge” document included terms allowing COSEIG/NewCo to
 25   have the right to appoint a majority of the directors to GIP-Cayman’s Board, and
 26   provided that this right attached to the terms of the stock in GIP-Cayman that
 27   COSEIG/NewCo was to receive, such that if DONG YIN foreclosed on the shares, it
 28   would have the right to control the Board.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 32 of 109 Page ID #:184



  1              110. On or about February 16, 2016, during an in-person meeting at the
  2   offices of Bronzelink’s Washington attorneys, CHANG orally represented and
  3   promised, falsely, to Mr. Youssefzadeh (participating telephonically from California),
  4   Mr. Javed and Pourmand that: (a) after the closing, DONG YIN would have no
  5   control of GIP-Cayman; and (b) DONG YIN had no intention of controlling or
  6   seeking to influence GIP-Cayman and was relying on Mr. Youssefzadeh and
  7   Mr. Javed to run the business after the closing.
  8              111. On or about February 18, 2016, Yiu, as sole director of Bronzelink,
  9   issued an authorization that “Mr. Fan Shiwen be [the] authorized representative to
 10   sign the agreement related to equity investment into GLOBAL-IP CAYMAN.”
 11              112. On or about February 21, 2016, the Washington Attorney, as counsel for
 12   DONG YIN, emailed Mr. Youssefzadeh, Mr. Javed, Fan and others, noting that, as a
 13   general matter, the parties needed to be mindful of any direct or indirect PRC control
 14   or influence of GIP-Cayman, via Board Members or otherwise.
 15              113. On or about February 23, 2016, during a meeting at the offices of
 16   Bronzelink’s Washington attorneys, Fan and Henry Fan, acting as agents of
 17   DONG YIN, and their attorneys falsely represented to Plaintiffs that Bronzelink was
 18   an independent, stand-alone entity with no affiliation to DONG YIN.
 19   F.         The Bronzelink Joint Venture Agreement.
 20              114. On or about February 25, 2016, the COSEIG JVA was terminated. It was
 21   replaced by the Bronzelink Joint Venture Agreement (“Bronzelink JVA”), dated
 22   February 25, 2016, which was virtually the same as the COSEIG JVA, except for the
 23   name change. Bronzelink, like COSEIG, did not intend to passively allow Plaintiffs
 24   to manage GIP-Cayman and rely upon them to make the Satellite Project successful,
 25   but instead demanded a role in the governance, management and operations of
 26   GIP-Cayman.
 27              115. Prior to entering into the Bronzelink JVA, Mr. Youssefzadeh and
 28   Mr. Javed were falsely assured and promised, by DONG YIN’s agents and
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 33 of 109 Page ID #:185



  1   representatives on multiple occasions, that Bronzelink was fully independent of
  2   DONG YIN, including as follows:
  3              (a)   Between in or about late January and early February 2016, DONG YIN’s
  4                    Washington Attorney telephoned Mr. Javed in California and represented
  5                    that COSEIG would be swapped out in the Joint Venture Agreement for
  6                    another company, which was yet to be identified, because COSEIG’s
  7                    name was too similar to COAMC. In this and other telephone
  8                    conversations during this time period, the Washington Attorney, as
  9                    counsel for DONG YIN, falsely promised Plaintiffs that DONG YIN
 10                    would not be permitted to gain control or come to dominate the
 11                    governance, management, or operations of GIP-Cayman.
 12              (b)   On or about February 16, 2016, during a meeting in Washington, D.C.,
 13                    CHANG falsely represented and promised to Mr. Youssefzadeh,
 14                    Mr. Javed and Pourmand that after the closing DONG YIN had no
 15                    intention to assert, and would not assert, control over GIP-Cayman or the
 16                    Satellite Project. Fan was present when this statement was made and did
 17                    not disagree with it.
 18              116. As a result of these falsehoods and half-truths, Plaintiffs believed that
 19   Bronzelink was an independent, stand-alone entity that would not be under
 20   DONG YIN’s control and dominance. In fact, however, Bronzelink, like COSEIG,
 21   was merely a front company that DONG YIN was using to further its plan and efforts
 22   to gain control and dominance over GIP-Cayman and the Satellite Project, and to use
 23   that control and dominance to obtain access to confidential and sensitive satellite and
 24   launch technology and data.
 25              117. The Bronzelink JVA recognized that the “Business” of GIP-Cayman was
 26   “[a]cquiring, launching and operating the Satellite or any other satellite(s) to provide
 27   connectivity services in any part of the African continent or elsewhere.” (Bronzelink
 28   JVA, p. 3.)
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 34 of 109 Page ID #:186



  1              118. Paragraph 3.7 (vii) of the Bronzelink JVA provided that Pourmand would
  2   be the first CEO of GIP-Cayman pursuant to an employment agreement.
  3              119. Paragraph 3.6 provides that GIP-Cayman “would be responsible for
  4   securing loans from export credit agencies and others of up to US$475 million.”
  5              120. In Paragraph 4.4, Bronzelink represented that it was an independent
  6   entity that “has the power to execute, perform its obligations under and enter into all
  7   transactions contemplated by this Agreement,” and that “the execution and
  8   performance of this Agreement . . . do not violate . . . any agreement or instrument to
  9   which it is subject.”
 10              121. Paragraph 8 gave Bronzelink the right to appoint six members to the
 11   nine-member GIP-Cayman Board of Directors, thus giving Bronzelink control over
 12   the governance of GIP-Cayman.
 13              122. In addition, a February 25, 2016 Amendment to the Bronzelink JVA set
 14   forth a procedure which assured that the Common Directors [Mr. Youssefzadeh,
 15   Mr. Javed and Pourmand] would maintain the right to select the CEO of GIP-Cayman.
 16              123. Paragraph 6.1 of the Amendment states that, “[t]he Common Holders
 17   shall be entitled to nominate a person to be the initial Chief Executive Officer (CEO).”
 18              124. Paragraph 6.2 of the Amendment states that, “[i]n the event the CEO is
 19   removed prior to the date five (5) years after the closing of the Equity Investment, any
 20   replacement or successor CEO shall be subject to the approval of at least one
 21   (1) Common Director (other than the initial CEO).”
 22              125. In or about February and March 2016, Mr. Youssefzadeh and Mr. Javed
 23   were told by Fan, while acting as an agent of DONG YIN, and the Washington
 24   Attorney, as counsel for DONG YIN, that the Bronzelink JVA was essentially a
 25   “placeholder” agreement that would eventually be superseded by a Share Purchase
 26   Agreement (“SPA”) and a Shareholders Agreement (“SHA”).
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 35 of 109 Page ID #:187



  1   G.         The Amore Facility Agreement.
  2              126. Amore was incorporated in the British Virgin Islands on
  3   January 11, 2016.
  4              127. At all relevant times, Amore was controlled by DONG YIN. As of
  5   March 10, 2016, Amore’s Board of Directors was comprised of at least two high level
  6   DONG YIN executives, including Yang Zeng, Chairman of the DONG YIN Board,
  7   and Xinyi Dong. CHANG and Guoxing Zhong, who were both directors of COAMI,
  8   were also members of the Amore Board of Directors.
  9              128. Unbeknownst to Plaintiffs, on or about March 15, 2016, Bronzelink
 10   entered into a secret Facility Agreement with Amore (the “Facility Agreement”).
 11   Xinyi Dong of DONG YIN signed on behalf of Amore.
 12              129. The Facility Agreement gave Amore control over Bronzelink. But
 13   because Amore was at all times controlled by DONG YIN, the Facility Agreement
 14   also gave DONG YIN control over Bronzelink, and, by extension, GIP-Cayman, once
 15   Bronzelink acquired its majority ownership interest in GIP-Cayman. The result of
 16   these relationships and transactions was to secretly eliminate the firewall between
 17   DONG YIN, the purported lender, and the PRC, on the one hand, and GIP-Cayman
 18   and the Satellite Project, on the other hand.
 19              130. Part 3 of Schedule 2 to the Facility Agreement provides that Amore has
 20   the right to approve the appointment of four members to the five-member Bronzelink
 21   Board of Directors, all of whom would then be appointed as GIP-Cayman Board
 22   members.
 23              131. Paragraph 3.1(a)(ii) of the Facility Agreement provides that Bronzelink
 24   shall use the funds it borrows from Amore for “investing in the preferred equity of
 25   [GIP-Cayman] on terms satisfactory to [Amore].”
 26              132. In Paragraph 14.3 of the Facility Agreement, Bronzelink represents that
 27   the “entry into and performance by it of, and the transactions contemplated by [the
 28   Facility Agreement],” do not and will not conflict with “any law or regulation
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 36 of 109 Page ID #:188



  1   applicable to it” or “any agreement or instrument binding upon it.” (Emphasis
  2   added.)
  3              133. On or about March 15, 2016, the Washington Attorney emailed
  4   Mr. Youssefzadeh and Mr. Javed, stating that his law firm was DONG YIN’s counsel
  5   and could not act for Bronzelink, adding to the false and misleading impression that
  6   DONG YIN and Bronzelink were independent entities. The Washington Attorney
  7   also confirmed that his partner in the firm’s Hong Kong office coordinated the Facility
  8   Agreement between Amore and Bronzelink, that it had been signed and that funding
  9   was “imminent.” These representations were false and misleading in that they
 10   concealed and failed to disclose: (a) that terms of the Facility Agreement were in
 11   conflict with the pending Agreement between Bronzelink and Plaintiffs; and (b) that
 12   DONG YIN and Bronzelink were not independently owned and controlled entities
 13   that dealt with each other at arms’ length, but rather Bronzelink was a fraudulent
 14   device for DONG YIN to gain ownership and control of GIP-Cayman and the Satellite
 15   Project.
 16              134. On or about April 5, 2016, the Washington Attorney, as counsel for
 17   DONG YIN, provided his comments to a draft of the SPA by email, representing that
 18   he had intended to align the conditions precedent in the SPA with the terms of the
 19   Facility Agreement between DONG YIN and Bronzelink. These representations were
 20   misleading in that other material terms of the SPA were contrary to, undermined by,
 21   or otherwise subject to the terms of the Facility Agreement.
 22              135. On or about April 5, 2016, David Zhang of DONG YIN forwarded, by
 23   email, a copy of a letter from DONG YIN to Bronzelink, stating that DONG YIN,
 24   acting through Amore, had provided debt financing to Bronzelink. The letter further
 25   stated that the proceeds of the loan were being used by Bronzelink to make a
 26   $175 million investment in GIP-Cayman, in accordance with the SPA and the
 27   Bronzelink JVA, dated February 25, 2016. The letter and the cover email were false
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                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 37 of 109 Page ID #:189



  1   and misleading in that neither disclosed that Bronzelink was controlled and dominated
  2   by DONG YIN, and not an independent entity.
  3              136. On or about April 23, 2016, the Washington Attorney, as counsel for
  4   DONG YIN, emailed various parties, including Mr. Youssefzadeh, Mr. Javed and
  5   Bronzelink’s attorney, noting that DONG YIN agreed that a provision in the draft
  6   SPA that allowed Bronzelink to appoint individuals to senior management positions
  7   was “an issue of undue influence by the lender.” In the email, he referred
  8   Bronzelink’s attorney to the revised Facility Agreement between Amore and
  9   Bronzelink, which had been withheld from Plaintiffs. The Washington Attorney also
 10   failed to disclose to Mr. Youssefzadeh and Mr. Javed that under the Facility
 11   Agreement, Bronzelink had agreed that Amore had the power to approve the
 12   appointment of four directors to the Bronzelink Board of Directors and that those
 13   same directors had to be appointed to the GIP-Cayman Board of Directors.
 14              137. On or about April 27, 2016, Calvin Tang (“Tang”) emailed documents to
 15   Mr. Javed relating to Amore, including the Certificate of Incorporation and the
 16   Certificate of Incumbency, noting that they were from DONG YIN with instructions
 17   that the documents were only for opening a HSBC bank account for GIP-Cayman, and
 18   that without written consent, GIP-Cayman was not to furnish any other lending
 19   institution with any documents or information about Amore.
 20              138. On or about April 27 or 28, 2016, the Washington Attorney, as counsel
 21   for DONG YIN, and David Zhang of DONG YIN verbally represented to Plaintiffs
 22   that Amore was a wholly owned subsidiary of DONG YIN.
 23   H.         The Series A Share Purchase Agreement.
 24              139. On or about May 11, 2016, Bronzelink and Plaintiffs, as well as other
 25   interested parties, signed the SPA, the SHA and the First Amendment to the SHA (the
 26   “SHA Amendment”). Mr. Youssefzadeh signed all of these documents in his home in
 27   California. Fan signed the SPA, the SHA and the Amendment on behalf of
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 38 of 109 Page ID #:190



  1   Bronzelink. (Neither DONG YIN, Amore, nor COAMI are signatories to the SPA,
  2   the SHA, or the SHA Amendment.)
  3              140. To induce Plaintiffs to enter into the SPA, DONG YIN’s agents and
  4   representatives continued to falsely represent and promise to Plaintiffs that
  5   DONG YIN would have no control over GIP-Cayman or the Satellite Project, and that
  6   Bronzelink was a fully independent, stand-alone entity, thus ensuring compliance with
  7   the U.S. export control laws. For example:
  8              (a)   On or about February 23, 2016, during a meeting in Washington, D.C.,
  9                    Fan, acting as an agent of DONG YIN, falsely represented to
 10                    Mr. Youssefzadeh, Mr. Javed, Pourmand and Irani that Bronzelink was
 11                    an independent, stand-alone entity with no affiliation to DONG YIN.
 12              (b)   On or about May 11, 2016, the day after the signing of the SPA, during a
 13                    dinner in Hong Kong organized by Bronzelink, Yang Zeng of
 14                    DONG YIN falsely confirmed that DONG YIN was merely a lender, and
 15                    that it would have no control or influence over GIP-Cayman or the
 16                    Satellite Project.
 17              141. As a result of these false representations and promises, Plaintiffs
 18   continued to believe that DONG YIN was merely a lender and that Bronzelink was an
 19   independent company that would not be subject to DONG YIN’s control or influence.
 20              142. Pursuant to the SPA, GIP-Cayman agreed to issue and sell to Bronzelink
 21   an aggregate of 30,000,000 newly issued Series A convertible preferred shares (the
 22   “Series A Preferred Shares”). These Series A Preferred Shares represented a 75%
 23   ownership interest in GIP-Cayman. At the same time, the SPA reduced Plaintiffs’
 24   controlling ownership interest in GIP-Cayman from 63% to a minority interest of
 25   15.75%. Plaintiffs understood, based on the false representations and promises made
 26   to them by DONG YIN’s agents, that GIP-Cayman would be under the control of an
 27   independent Board and managed by a CEO approved by Plaintiffs, without any
 28   control or influence by DONG YIN or its representatives. In fact, not only was the
                                                     38
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 39 of 109 Page ID #:191



  1   Board controlled and dominated by DONG YIN, but it ultimately did not allow
  2   Plaintiffs to have any say in the governance of GIP-Cayman.
  3              143. Bronzelink had agreed to purchase the Series A Preferred Shares for a
  4   lump sum payment of US$175,000,000, paid to GIP-Cayman (the “Equity
  5   Investment”). Additionally, Bronzelink agreed to provide a $25 million line of credit
  6   to GIP-Cayman. As a result of these transactions, and the false and fraudulent
  7   pretenses, representations and promises described above, Plaintiffs gave up their
  8   controlling ownership interest in the Satellite Project without receiving any
  9   remuneration under the SPA.
 10              144. In addition, as a condition to the closing between Bronzelink and
 11   GIP-Cayman, Plaintiffs were required to provide Bronzelink with confidential,
 12   proprietary and valuable documents, information and data that had been created as
 13   part of the Satellite Project, including:
 14              (a)   A signed Letter of Intent (“LOI”) for entering into a Satellite
 15                    Manufacture Agreement between GIP-Cayman and a reputable satellite
 16                    manufacturer (such as SSL-Loral, Boeing, or Airbus), along with a draft
 17                    agreement;
 18              (b)   A signed insurance rate-locking instrument issued by a reputable
 19                    insurance broker to GIP-Cayman;
 20              (c)   The “High Throughput Ka-Band Satellite Project for Africa Demand and
 21                    Supply Analysis and Outline Project for Africa Demand and Supply
 22                    Analysis and Outline Project Assessment,” conducted by COMSYS of
 23                    the United Kingdom;
 24              (d)   A “Milestones of Progress” document setting forth in detail planning
 25                    schedules, payment schedules, timetables, milestones and documents for
 26                    the development, fabrication and launch of the satellite;
 27              (e)   GIP-Cayman’s confidential marketing plan for the Pre-Launch Market
 28                    Development;
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 40 of 109 Page ID #:192



  1              (f)   A comfort letter from the satellite manufacturer that it will support an
  2                    application for a loan from EXIM Bank; and
  3              (g)   Written confirmation from Norwegian counsel for GIP-Cayman, in form
  4                    and substance reasonably satisfactory to Bronzelink and its lenders,
  5                    confirming that the ownership of Dub Dub had been properly transferred
  6                    to GIP-Cayman, and that the transfer did not invalidate, or in any way
  7                    otherwise adversely affect, Dub Dub’s rights to the Orbital Slots and
  8                    associated radio-frequency use licenses.
  9              145. As a further condition to the closing, STM Group was required to assign
 10   the valuable Global-IP trademark to GIP-Cayman.
 11              146. All of these deliverables were of tremendous value, representing years of
 12   work and millions of dollars of investment by Plaintiffs. They were all provided to
 13   Bronzelink or GIP-Cayman prior to the closing.
 14              147. At all relevant times, Plaintiffs maintained their share certificates in
 15   GIP-Cayman and the confidential and proprietary documents, information and data
 16   that they provided to Bronzelink in Los Angeles County, California.
 17   I.         The Shareholders Agreement.
 18              148. On or about June 2, 2016, during a Skype call amongst Fan, Wong, Yiu,
 19   Tang and Mr. Javed, Fan, acting as an agent of DONG YIN, began requesting
 20   additional materials that were not deliverables under the SHA. Fan indicated that
 21   these materials were requested by DONG YIN. Mr. Javed objected because
 22   DONG YIN was only the lender and had no right to, or any need for, any of these
 23   materials. Fan, acting as an agent of DONG YIN, later telephoned Mr. Javed to
 24   convince him to proceed with the closing, again falsely representing and promising
 25   that DONG YIN and Bronzelink were, and would remain, two completely distinct and
 26   unrelated entities, and that after the closing DONG YIN would not have any control
 27   over or say in the governance, management, or operations of GIP-Cayman. Further,
 28   Fan falsely assured Mr. Javed that after the closing, Bronzelink would have an
                                                      40
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 41 of 109 Page ID #:193



  1   independent Board of Directors, which would make all decisions free of
  2   DONG YIN’s influence.
  3              149. On or about June 3, 2016, Bronzelink and Plaintiffs finalized and
  4   executed the closing documents for the SHA. Mr. Youssefzadeh executed the closing
  5   documents in California.
  6              150. Under the SHA, Bronzelink was not supposed to be a mere passive
  7   investor in GIP-Cayman; rather, it had a role in the governance, management and
  8   operations of GIP-Cayman. For example:
  9              (a)   The SHA provided that Bronzelink would control the GIP-Cayman
 10                    Board of Directors. Paragraph 3.2 of the SHA provided that the
 11                    GIP-Cayman Board of Directors shall have nine members. Paragraph 3.3
 12                    provided that Bronzelink is entitled to appoint six members to the
 13                    GIP-Cayman Board (the “Bronzelink Directors”), and that Plaintiffs and
 14                    Pourmand are entitled to appoint three members (the “Common
 15                    Directors”).
 16              (b)   Paragraph 3.5 provided that Bronzelink has the right to designate the
 17                    Chairman of the GIP-Cayman Board of Directors.
 18              (c)   Paragraph 3.12 provided that Plaintiffs have the right to select the CEO
 19                    of GIP-Cayman, but that Bronzelink had the right to select the Chief
 20                    Financial Officer.
 21              (d)   Paragraph 6 provided that GIP-Cayman is responsible for securing
 22                    Export Credit Agency (“ECA”) or other non-recourse or limited-recourse
 23                    project financing in an amount anticipated to be up to US$475,000,000.
 24              (e)   Paragraph 8 placed significant restrictions on the ability of Plaintiffs to
 25                    transfer their shares in GIP-Cayman.
 26              151. Accordingly, in entering into the SHA, Plaintiffs gave up the majority of
 27   their ownership interest in GIP-Cayman and their control of the Satellite Project,
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                                                      41
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 42 of 109 Page ID #:194



  1   based on false and fraudulent pretenses, representations and promises and the
  2   concealment of material information.
  3              152. Moreover, after the SHA was signed, DONG YIN continued to conceal
  4   and disguise its ownership and control of GIP-Cayman and the Satellite Project. For
  5   example, soon after the closing, in early June 2016, Mr. Youssefzadeh drafted a press
  6   release to announce the Bronzelink deal. On June 7, 2016, Wong rejected the idea of
  7   issuing a press release at that time. In an email, he stated that he did not want to
  8   jeopardize the $25 million line of credit from Amore and, “therefore for the moment
  9   being, we should corporate [sic] and listen to the opinion from relevant party in order
 10   to facilitate more smooth business corporation [sic] going forward.” Wong’s
 11   professed concern that Bronzelink needed to appease Amore was pretextual; his actual
 12   concern was to keep the true extent of DONG YIN’s ownership and control of Amore
 13   and Bronzelink hidden.
 14   J.         Plaintiffs Discover Material Inconsistencies Between the SHA and the
 15              Amore Facility Agreement.
 16              153. In discussions with DONG YIN’s agents, including Fan, Henry Fan and
 17   the Washington Attorney, about various issues related to the SHA, Plaintiffs
 18   repeatedly asked to see the Amore Facility Agreement. Those requests were
 19   consistently denied without explanation.
 20              154. In mid-2017, after resigning from their employment at GIP, Plaintiffs by
 21   happenstance found and were able to review an electronic copy of the Facility
 22   Agreement.
 23              155. As a result of that review, Mr. Youssefzadeh and Mr. Javed discovered
 24   that the Facility Agreement contained provisions that gave Amore control of
 25   Bronzelink and GIP-Cayman, which meant that, in reality, DONG YIN was, all along,
 26   in control of Bronzelink and GIP-Cayman. Moreover, some of the other provisions in
 27   the Facility Agreement were in direct conflict with the terms of the SHA, precluding
 28   Bronzelink from meeting its obligations under the SHA.
                                                    42
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 43 of 109 Page ID #:195



  1              156. Based on this review, Plaintiffs realized that, despite their promise to
  2   limit DONG YIN’s role to that of a lender, the Washington Attorney and the
  3   Washington Law Firm had actually conspired with DONG YIN and agents for
  4   DONG YIN to obtain ownership and control of the Satellite Project. In particular:
  5              (a)   Under the Facility Agreement, Amore has the power to approve the
  6                    appointment of four directors to the Bronzelink Board of Directors, and
  7                    those same four directors had to be appointed to the GIP-Cayman Board
  8                    of Directors. Given that Amore was controlled and dominated by
  9                    DONG YIN, this provision effectively gave DONG YIN control over
 10                    GIP-Cayman.
 11              (b)   The Facility Agreement requires Bronzelink to provide Amore with free
 12                    access at all reasonable times to the GIP-Cayman premises, assets, books,
 13                    accounts, records and senior management. The SHA does not provide
 14                    for such access. Especially given DONG YIN’s control and dominance
 15                    over Amore, and its affiliation with the PRC, Plaintiffs would never have
 16                    agreed to or allowed such access.
 17              (c)   The Facility Agreement provides that Amore must approve all
 18                    GIP-Cayman contracts in excess of $1,000,000. There is no such
 19                    restriction in the SHA. Furthermore, that restriction is inconsistent with
 20                    the understanding between Bronzelink and Plaintiffs that GIP-Cayman
 21                    would be a stand-alone company governed by an independent board of
 22                    directors.
 23              (d)   The Facility Agreement requires GIP-Cayman to allow Amore to engage
 24                    a financial advisor, technical consultant, marketing consultant and tax
 25                    expert for GIP-Cayman, at GIP-Cayman’s expense. The SHA has no
 26                    such provision. Moreover, especially given DONG YIN’s control and
 27                    dominance over Amore, Plaintiffs would never have agreed to or allowed
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                                                      43
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 44 of 109 Page ID #:196



  1                    Amore to have such involvement in and influence over the policies,
  2                    direction and operations of GIP-Cayman.
  3              (e)   Under the Facility Agreement, Bronzelink was required to use reasonable
  4                    efforts to prevent GIP-Cayman from entering into any joint venture.
  5                    There is no such restriction in the SHA, nor would Plaintiffs have agreed
  6                    to or allowed such a restriction. In fact, this secret restriction directly
  7                    impacted GIP-Cayman’s ability to enter into a proposed joint venture
  8                    with a technology company that Mr. Youssefzadeh and Mr. Javed had
  9                    determined was a fundamental element of the Satellite Project’s business
 10                    plan. When, on or about June 12, 2017, Mr. Youssefzadeh sent a detailed
 11                    memorandum to the GIP-Cayman Board of Directors outlining the
 12                    proposed joint venture and asking for permission to proceed, the Board
 13                    did not respond. Plaintiffs are informed and believe, and based thereon
 14                    allege, that the Board failed to act because, under the Facility Agreement,
 15                    Bronzelink could not permit GIP-Cayman to enter into any such joint
 16                    venture.
 17              (f)   Under the Facility Agreement, Bronzelink gave Amore a charge over the
 18                    GIP-Cayman shares owned by Bronzelink. This provision conflicts with
 19                    the SHA, which allows GIP-Cayman to demand that Bronzelink provide
 20                    its shares in GIP-Cayman to an ECA, or alternative lender, as additional
 21                    collateral.
 22              (g)   Under the Facility Agreement, GIP-Cayman is precluded from creating a
 23                    stock option pool. The SHA, however, allows GIP-Cayman to create
 24                    such a pool for its key employees, which was important if GIP-Cayman
 25                    was to attract personnel with the skills, expertise and experience needed
 26                    to work on the Satellite Project.
 27              (h)   Under the Facility Agreement, GIP-Cayman could only raise additional
 28                    funds through ECA financing. But neither the Bronzelink JVA nor the
                                                       44
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 45 of 109 Page ID #:197



  1                    SHA contain any such limitation. To the contrary, both of those
  2                    agreements allow GIP-Cayman to raise funds from either an ECA or an
  3                    alternative lending source. Plaintiffs are informed and believe, and based
  4                    thereon allege, that this secret restriction in the Facility Agreement was
  5                    one reason that the GIP-Cayman Board refused to consider the Citigroup
  6                    debt financing proposal (discussed below), because approving that
  7                    proposal would have placed Bronzelink in breach of its agreement with
  8                    Amore.
  9   K.         The Officers and Directors of GIP-Cayman and GIP-USA.
 10              157. In accordance with an oral agreement between Plaintiffs and Bronzelink,
 11   three of the six directors Bronzelink appointed to the GIP-Cayman Board were to be
 12   independent (i.e., not have any other affiliation with Bronzelink) and would be
 13   satellite industry professionals.
 14              158. On or about May 31, 2016, Plaintiffs were informed that Bronzelink’s
 15   nominations of its GIP-Cayman Series-A directors consisted of: (a) Fan; (b) Wong;
 16   (c) Liu; (d) Guanhong (Jason) Luo (“Luo”); (e) Julian Zhongliang Zhao (“Zhao”); and
 17   (f) Wang Zheng (“Zheng”).
 18              159. Mr. Javed requested a call with the Washington Attorney to ask if these
 19   nominees were independent of, and unaffiliated with, the PRC, and sent a text listing
 20   the names of the Bronzelink directors to the Washington Attorney. During a
 21   telephone conference on or about May 31, 2016, the Washington Attorney, as counsel
 22   for DONG YIN, represented to Mr. Javed that: (a) four of the Bronzelink-nominated
 23   directors—Liu, Zheng, Luo and Zhao—were completely independent and unaffiliated
 24   with DONG YIN; and (b) since there would be four independent
 25   Bronzelink-appointed directors and three Common directors, GIP-Cayman would
 26   have solid protection from PRC control and influence. The Washington Attorney
 27   further represented to Mr. Javed that, although Wong worked for Bronzelink, he was
 28   not affiliated with DONG YIN.
                                                      45
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 46 of 109 Page ID #:198



  1              160. If fact, at all relevant times: (a) Fan, Wong and Liu were agents of
  2   DONG YIN, and were acting within the course and scope of their agency and for the
  3   sole or primary benefit of DONG YIN; (b) Wong and Liu routinely acted at Fan’s
  4   direction and did his bidding; (c) neither Wong nor Liu exercised any meaningful
  5   independence in making decisions as members of the GIP-Cayman Board of Directors
  6   or with respect to the governance, management and operations of GIP-Cayman and
  7   GIP-USA; and (d) as Wong would later reveal to Mr. Javed, he was related to
  8   Xinyi Dong, a director of Amore and a high-level executive of DONG YIN.
  9              161. On or about June 21, 2016, the first GIP-Cayman Board of Directors
 10   meeting was held in Hong Kong. The Board appointed Luo as the Chairman of the
 11   Board. Pourmand was appointed CEO of GIP-Cayman.
 12              162. In fact, prior to the Board meeting, Pourmand had secretly negotiated his
 13   compensation as the CEO of GIP-Cayman with Fan, acting as an agent of
 14   DONG YIN, and received a very favorable contract to ensure his loyalty to Fan and
 15   ultimately DONG YIN. Fan negotiated Pourmand’s contract without Plaintiffs’
 16   involvement or approval even though (a) the SHA provides that Plaintiffs and
 17   Pourmand would collectively nominate the CEO; and (b) the CEO’s compensation
 18   should have been approved by the GIP-Cayman Board of Directors and/or the
 19   GIP-Cayman Compensation Committee, of which Mr. Youssefzadeh was a member.
 20   L.         The False Certification to SpaceX and GIP-Cayman’s Export Control
 21              Obligations Under the Boeing Contract.
 22              163. On or about August 5, 2016, in reliance on the false representations and
 23   promises described above, Mr. Javed falsely certified to SpaceX that GIP-Cayman
 24   was not “owned or controlled, or acting on behalf of, directly or indirectly, any
 25   individuals or entities domiciled, headquartered, incorporated, residing in or otherwise
 26   affiliated with [the PRC or other specified countries].”
 27              164. In or about August 2016, GIP-Cayman formed GIP-USA as a wholly
 28   owned subsidiary. At all relevant times, the GIP-Cayman Board of Directors
                                                     46
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 47 of 109 Page ID #:199



  1   controlled the direction and governance of GIP-USA, which meant that DONG YIN,
  2   through Amore, Bronzelink and GIP-Cayman, controlled GIP-USA.
  3              165. After GIP-USA was formed, Wong and Liu, along with Mr. Javed,
  4   became members of the GIP-USA Board of Directors. Because the GIP-USA Board
  5   of Directors consisted of only three members, at all relevant times, DONG YIN,
  6   through Wong and Liu, possessed and was able to exercise control over the GIP-USA
  7   board.
  8              166. In or about August 28, 2016, GIP-Cayman entered into a contract with
  9   Boeing to design, develop, manufacture, test and transport the satellite to the launch
 10   site, and to provide launch support and other services for the Satellite Project. The
 11   contract specifically provided that:
 12              (a)   “The Contract Deliverable Data, Satellite, and any other hardware
 13                    (‘Products’) furnished under this Contract are subject the U.S.
 14                    International Traffic in Arms Regulations (the ‘ITAR’) or the U.S.
 15                    Export Administration Regulations (the ‘EAR’).”
 16              (b)   “The Products furnished under this Contract are subject to the ITAR or
 17                    the EAR and will be authorized by the United States Government for
 18                    export only to Customer in North Atlantic Treaty Organization or major
 19                    non-North Atlantic Treaty Organization ally countries, as recognized at
 20                    the time by the USG, or to the Designated Launch Site for launch into
 21                    space. Customer represents and warrants that the ultimate end use of the
 22                    Products is for commercial purposes. The Products may not be resold,
 23                    diverted, transferred, trans-shipped or otherwise disposed of in any other
 24                    country or in any other manner, either in their original form or after being
 25                    incorporated through an intermediate process into other end items,
 26                    without the prior written approval of the United States Government,
 27                    which approvals are the sole responsibility of Customer. Additionally,
 28                    transferring registration, control or ownership to any other person or
                                                     47
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 48 of 109 Page ID #:200



  1                    business entity of the Products furnished under this Contract is
  2                    considered an export and as such also requires prior written approval
  3                    from the United States Government, which approvals are the sole
  4                    responsibility of Customer.”
  5              167. Plaintiffs are informed and believe, and based thereon allege, that if
  6   Defendants had disclosed to Boeing and SpaceX the true relationship between
  7   DONG YIN and the PRC, on the one hand, and GIP-Cayman, GIP-USA and the
  8   Satellite Project, on the other hand, Boeing and SpaceX would never have entered into
  9   contracts with GIP-Cayman to build and launch the satellite, and would never have
 10   given GIP-Cayman and GIP-USA access to satellite and launch technology and data
 11   subject to ITAR, EAR and the PRC Proscription.
 12   M.         The Employment Contracts.
 13              168. In or about September 2016, Pourmand’s employment agreement was
 14   modified. Although he retained the title of CEO, he was stripped of the authority and
 15   responsibilities of the CEO. At that time, Mr. Youssefzadeh orally agreed to act as the
 16   de facto CEO of GIP-Cayman and GIP-USA, and assumed the duties, responsibilities
 17   and authority of CEO of both companies.
 18              169. Effective October 1, 2016, Mr. Youssefzadeh entered into parallel written
 19   employment agreements with GIP-Cayman and GIP-USA.
 20              170. Mr. Youssefzadeh’s employment agreement with GIP-USA provided that
 21   he was to perform the duties of GIP-USA’s Chief Technical Officer and Chairman of
 22   the Management Committee. Mr. Youssefzadeh was required to report to the
 23   GIP-USA and GIP-Cayman Boards of Directors. The employment agreement
 24   provided that Mr. Youssefzadeh would render his services at GIP-USA’s offices in
 25   El Segundo, California.
 26              171. Mr. Youssefzadeh’s employment agreement with GIP-Cayman contained
 27   similar provisions, and also named him as the Chief Technical Officer and Chairman
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                                                      48
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 49 of 109 Page ID #:201



  1   of the Management Committee, reporting to the GIP-Cayman and GIP-USA Boards
  2   of Directors.
  3              172. Effective October 1, 2016, Mr. Javed entered into written employment
  4   agreements with GIP-Cayman and GIP-USA.
  5              173. Mr. Javed’s employment agreement with GIP-USA provided that he was
  6   to perform the duties of GIP-USA’s President and Chief Operating Officer. Mr. Javed
  7   was required to report to the GIP-USA and GIP-Cayman Boards of Directors. The
  8   employment agreement provided that Mr. Javed would render his services at
  9   GIP-USA’s offices in El Segundo, California.
 10              174. Mr. Javed’s employment agreement with GIP-Cayman contained similar
 11   provisions and also named him as GIP-Cayman’s President and Chief Operating
 12   Officer, reporting to the GIP-Cayman and GIP-USA Boards of Directors.
 13   N.         DONG YIN’s Exercise of Control and Dominance Over the Governance,
 14              Management and Operations of the Satellite Project.
 15              175. Prior to the execution of the SPA and SHA, and even before appointment
 16   of the GIP-Cayman Board of Directors, DONG YIN, through its agents and
 17   co-conspirators, began to assert control and dominance over the governance,
 18   management and operations of the Satellite Project.
 19              176. On multiple occasions, including April 15, 18, 27, 29 and May 3, 2016,
 20   CHANG, Yiu, Fan and Wong, acting as agents of DONG YIN, each separately
 21   emailed Mr. Youssefzadeh and Mr. Javed to request a detailed operating plan,
 22   including the schedule of tasks, critical paths, timing, personnel needed and
 23   milestones for the Satellite Project.
 24              177. On or about April 15, 2016, both Tang and Henry Fan emailed Mr. Javed
 25   expressing DONG YIN’s concern about the control of and signing authority for any
 26   bank account opened by GIP-Cayman. Tang emailed that Terry Long preferred to
 27   have Bronzelink handle the communications and exchange of documentation with
 28   DBS Bank, Ltd. (“DBS”) to open the DBS off-shore account.
                                                    49
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 50 of 109 Page ID #:202



  1              178. Also on or about April 15, 2016, CHANG emailed Mr. Javed requesting
  2   GIP-Cayman’s detailed operating plan, including schedule of tasks, critical paths,
  3   timing and personnel needed, indicating that Amore was unwilling to grant
  4   authorization for Bronzelink to disburse funds without knowing more about the
  5   specific uses, milestones and conditions.
  6              179. During a telephone call on or about April 23, 2016, Bronzelink notified
  7   Mr. Youssefzadeh and Mr. Javed that Fan would lead the Bronzelink team, Wong
  8   would coordinate all Bronzelink related matters, Yiu would be the contact for
  9   Bronzelink’s business decisions and Tang would be the contact for the parties’ legal
 10   team. Soon after the call, Wong emailed Mr. Javed, indicating that Fan had appointed
 11   Wong as signatory to the GIP-Cayman HSBC bank account, even though he had no
 12   such executive powers or authority.
 13              180. On or about April 27, 2016, Fan, acting as an agent of DONG YIN,
 14   emailed Mr. Youssefzadeh and Mr. Javed, asking that they travel to Hong Kong to
 15   meet the following week, and requesting a detailed work plan (including milestones,
 16   timeframe and staff arrangements), detailed budget plan and a detailed operation plan
 17   for GIP-Cayman.
 18              181. On or about April 27, 2016, CHANG had a telephone conversation with
 19   Mr. Youssefzadeh, who was in Orange County, California, and Mr. Javed, who was in
 20   Los Angeles, California, stating that DONG YIN wished to hire management
 21   consultants that CHANG knew to assist in the operation of GIP-Cayman.
 22              182. On or about April 29, 2016, Wong, acting as an agent of DONG YIN,
 23   emailed Pourmand and copied Mr. Youssefzadeh and Mr. Javed, indicating that Fan
 24   expected to receive the documents and information he had demanded, relating to the
 25   work, budget and operational plans, by May 4, 2016, prior to Mr. Youssefzadeh’s and
 26   Mr. Javed’s visit to Hong Kong.
 27              183. On or about May 3, 2016, Tang, acting as an agent of DONG YIN, again
 28   emailed Pourmand, requesting that the GIP-Cayman team bring the work, budget and
                                                    50
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 51 of 109 Page ID #:203



  1   operational plans with them to Hong Kong, so that they could be discussed during
  2   meetings scheduled for May 9 and 10, 2016.
  3              184. On or about July 8, 2016, Tang, acting as an agent of DONG YIN,
  4   prepared and circulated drafts of charts showing GIP-Cayman’s organizational
  5   structure delineating the duties and responsibilities of GIP-Cayman executives and its
  6   Board. The proposed charts required GIP-Cayman executives to seek approval from
  7   the GIP-Cayman Board of Directors for decisions and activities that are typically
  8   within the exclusive purview of a company’s executives, including: (a) issuance of
  9   press releases, company publications and public statements that do not involve
 10   financial matters; (b) entering into equipment leases; (c) maintenance of general
 11   ledger and operating expenditures; (d) contact with regulators and other governmental
 12   authorities; (e) hiring and termination of staff; (f) computer access; (g) authorizing
 13   sales and marketing at operational levels; (h) authorizing domestic and international
 14   travel for staff; and (i) authorizing communications with the company’s bankers and
 15   signing checks on behalf of the company.
 16              185. On or about July 15, 2016, Fan, acting as an agent of DONG YIN,
 17   travelled to Washington, D.C. to meet with Mr. Youssefzadeh, Mr. Javed and
 18   Pourmand, in advance of holding a GIP-Cayman Board meeting in Washington, D.C.
 19   Fan wanted to inspect and approve offices that Pourmand had located in Maryland and
 20   formalize Liu’s position inside GIP-Cayman as Controller, which are typically matters
 21   handled by the company’s executives and not an individual director.
 22              186. At the July 18, 2016 GIP-Cayman Board meeting, which was held in
 23   Washington, D.C., Mr. Youssefzadeh presented the status of negotiations with Boeing
 24   and SSL and recommended that the company sign an LOI with Boeing, which was
 25   approved by the Board.
 26              187. At the same Board meeting, it was agreed that after execution of the
 27   Boeing LOI, $10 million would be transferred from GIP-Cayman’s DBS Bank
 28   Hong Kong account for capital expenditures. Despite this Board decision, Wong,
                                                    51
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 52 of 109 Page ID #:204



  1   acting as an agent of DONG YIN, took control of the transaction, emailed
  2   GIP-Cayman and instructed that the $10 million payment instead be made from
  3   GIP-Cayman’s HSBC account in the U.S.
  4              188. On or about July 29, 2016, after the Boeing LOI was finalized and
  5   reviewed by the Washington Attorney, Mr. Youssefzadeh requested authorization
  6   from Luo, the Chairman of the GIP-Cayman Board of Directors, to execute the
  7   Boeing LOI. In response, Luo emailed that “[he] would like Mr. Fan/DONG YIN to
  8   review/agreed [sic][the Letter of Intent] before we move on.”
  9              189. On or about August 22, 2016, Tang, acting as an agent of DONG YIN,
 10   sent Mr. Javed a list of candidates for the GIP-Cayman CFO and company Secretary
 11   positions, requesting that he video conference with those candidates in advance of
 12   Fan’s arrival in California, so that when Fan arrived, they could discuss the suitability
 13   of each candidate.
 14              190. Concerned with Fan’s encroachment into the company’s operations, on
 15   or about August 24, 2016, Mr. Javed insisted that they follow the Washington
 16   Attorney’s guidelines to ensure full compliance with the export control laws.
 17              191. Fan, Yiu and Wong, acting as agents of DONG YIN, came to
 18   Los Angeles on or about August 23, 2016, to meet with Mr. Youssefzadeh, Mr. Javed
 19   and Pourmand individually, followed by a group meeting. During these meetings, Fan
 20   and Wong, acting as agents of DONG YIN, made several statements revealing that
 21   they were acting at DONG YIN’s behest and on its behalf in matters relating to the
 22   Satellite Project. For example:
 23              (a)   Even though the GIP-Cayman Board had authorized Mr. Youssefzadeh to
 24                    proceed with finalizing a definitive agreement with Boeing, Wong told
 25                    Mr. Javed that he was reluctant to release the formal authorization to do
 26                    so because of pressure from Fan, who was waiting for the final “go
 27                    ahead” from DONG YIN.
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                                                     52
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 53 of 109 Page ID #:205



  1              (b)   When Mr. Javed warned Fan that GIP-Cayman was on the verge of
  2                    missing a deadline with Boeing, Fan refused to take any action, saying
  3                    that he did not have permission from DONG YIN to act.
  4              (c)   At every opportunity, Fan, acting as an agent of DONG YIN, sought to
  5                    interject himself into the day-to-day operations of GIP-Cayman and
  6                    GIP-USA, which was inappropriate for an individual director with no
  7                    executive position within the company. Among other things, Fan and his
  8                    team wanted to read each and every document that was being negotiated
  9                    between GIP-Cayman and Boeing, and demanded to know every detail of
 10                    the commercial and technical negotiations and updates.
 11              192. On or about September 20, 2016, Wong emailed Mr. Youssefzadeh,
 12   Mr. Javed and Pourmand with an agenda for the third GIP-Cayman Board meeting,
 13   which was to be held in Hong Kong. Wong requested the following updates:
 14   (a) Pourmand – CEO update; (b) Mr. Javed – business & market plan update; and
 15   (c) Mr. Youssefzadeh – technical update.
 16              193. On or about October 14, 2016, Wong emailed Mr. Youssefzadeh,
 17   Mr. Javed and Pourmand concerning his and Fan’s plans to visit Los Angeles,
 18   California on October 18, 2016, requesting a meeting to discuss the following:
 19   (a) the relationship and strategic partnership with Boeing; (b) ECA debt financing;
 20   (c) sales and marketing; (d) the roles and duties of GIP-Cayman’s management team;
 21   (e) the GIP-Cayman business plan; and (f) hiring staff.
 22              194. Fan and Wong, acting as agents of DONG YIN, visited the GIP-Cayman
 23   offices in El Segundo, California, on or about October 18, 19 and 20, 2016. The
 24   purpose of that visit was to discuss the six matters listed above, even though those
 25   matters were within the purview of GIP-Cayman’s executive officers and not
 26   individual members of the GIP-Cayman Board of Directors.
 27              195. During the months that followed, Mr. Youssefzadeh and Mr. Javed
 28   observed that Fan controlled the GIP-Cayman Board of Directors, and that Wong, Liu
                                                    53
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 54 of 109 Page ID #:206



  1   and others routinely acted at his direction and did his bidding, without regard for their
  2   duties and responsibilities to GIP-Cayman. For example:
  3              (a)   On or about October 26, 2016, Wong, acting as an agent of DONG YIN,
  4                    emailed Mr. Javed, attaching a revised GIP-Cayman financial model,
  5                    requesting his input before he sent it to Fan. Wong also requested the
  6                    names of the top 10 to15 African countries that were most likely to
  7                    purchase satellite capacity from GIP-Cayman.
  8              (b)   On or about October 26 and 27, 2016, Wong, acting as an agent of
  9                    DONG YIN, and Mr. Javed exchanged drafts of the GIP-Cayman internal
 10                    organization chart by email, which was subject to review and finalization
 11                    by Fan.
 12              (c)   On or about November 1, 2016, Fan, acting as an agent of DONG YIN,
 13                    requested that Helen Zhao, a Financial Advisor at Wells Fargo Advisors,
 14                    open an investment account for GIP-Cayman for cash management
 15                    purposes. When Zhao asked for clarification, Liu responded that they
 16                    needed to seek clarification from Fan.
 17              (d)   On or about November 5, 2016, Wong, acting as an agent of
 18                    DONG YIN, emailed Mr. Javed to request his input on the GIP-Cayman
 19                    financial model, stating that he wanted to present the financial model to
 20                    Fan for his final review.
 21              (e)   On or about November 17, 2016, Fan, acting as an agent of DONG YIN,
 22                    emailed Mr. Youssefzadeh, Mr. Javed and Pourmand requesting an
 23                    update on the meeting in South Africa, and the status of marketing
 24                    attempts in Ethiopia.
 25              (f)   On or about November 18, 2016, Tang, acting as an agent of
 26                    DONG YIN, emailed Mr. Javed, requesting technical details for
 27                    Multi-Beam Architecture, Beam Size, Broadcasting, Design Process,
 28                    Capacity Allocation and coverage map.
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 55 of 109 Page ID #:207



  1              (g)   On or about November 18, 2016, Fan, acting as an agent of DONG YIN,
  2                    emailed Mr. Javed, suggesting creation of a price management
  3                    department responsible for pricing mechanism implementation, control
  4                    and incentives.
  5              (h)   On or about December 20, 2016, Mr. Youssefzadeh provided Wong with
  6                    an update about negotiations with SpaceX and Arianespace as potential
  7                    launch service providers. Wong thereafter replied by email that he would
  8                    “inform Mr. Fan [of] the same.”
  9              (i)   On or about December 21, 2016, Peter Lui, GIP-Cayman’s CFO,
 10                    forwarded to Bonnie Lui email exchanges between Mr. Youssefzadeh
 11                    and Arianespace relating to launch services. Ms. Liu, acting as an agent
 12                    of DONG YIN, requested that Peter Lui copy “Tony & Co” on any
 13                    correspondence between GIP-Cayman and Arianespace.
 14              196. These actions, requests and approvals are normally within the purview of
 15   a company’s executive officers, and are not matters directed by individual board
 16   members, much less a representative of a lender.
 17              197. On or about November 18, 2016, Tang, acting as an agent of
 18   DONG YIN, sent an email to Mr. Javed requesting confidential and sensitive technical
 19   information regarding the Satellite Project that was subject to ITAR, EAR and the
 20   PRC Proscription. Mr. Javed responded on November 19, 2016, refusing to provide
 21   the requested technical data. In his email, Mr. Javed stated as follows:
 22
                 Your questions below has raised a red flag and made Emil quite
 23              concerned. He has shared his concerns with Bahram and I and as such
 24
                 you will not receive any reply from him.

 25              As you are well aware, we all are operating based on the understanding
 26              that Bronzelink is an investor in Global-IP and other than its investment
                 interest it has no intentions to extract technical information which may
 27              violate Global-IP’s [export laws] compliance obligations.
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                                         FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 56 of 109 Page ID #:208



  1
                 Your questions below for sure has crossed the line. Please confirm to us
                 urgently that NO information from Global-IP is being shared with anyone
  2              outside Bronzelink and Bronzelink is not using the information for any
  3
                 purpose other than monitoring the company’s general progress. Also, in
                 the future, please refrain from inquiring about information which goes
  4              beyond what Global-IP can share publicly.
  5
                 198. On or about November 20, 2016, Tang responded, falsely assuring
  6
      Plaintiffs that the information he had requested was intended to be “used internally for
  7
      monitoring the general progress of the company.” Plaintiffs are informed and believe,
  8
      and based thereon allege, that, in fact, Defendants did not request this information to
  9
      monitor the progress of GIP-Cayman, but in an attempt to obtain confidential and
 10
      sensitive technical information in violation of the U.S. export control laws and in
 11
      furtherance of their plan and efforts to control, dominate and direct the governance,
 12
      management and operations of GIP-Cayman.
 13
                 199. In or about November 2016, GIP-Cayman and GIP-USA hired
 14
      Chris Chen (“Chen”) as their General Counsel. Prior to hiring Chen, Fan and Wong,
 15
      acting as agents of DONG YIN, had mandated that while the General Counsel would
 16
      report to Mr. Javed, he had to be fluent in Chinese (so that they could freely interact
 17
      with him). After Mr. Javed referred Chen as a qualified candidate, unbeknownst to
 18
      Mr. Javed, Wong flew Chen to Hong Kong for interviews with DONG YIN before
 19
      allowing the Board to consider and approve his hiring.
 20
                 200. On or about December 8, 2016, the GIP-Cayman Board of Directors held
 21
      a meeting at the company’s office in El Segundo, California. At that meeting, Wong,
 22
      acting as an agent of DONG YIN, requested a two-week delay before any Board
 23
      resolutions were approved. Plaintiffs are informed and believe, and based thereon
 24
      allege, that the reason Wong requested this delay was to have time to first present the
 25
      resolutions to DONG YIN for its approval, before any contemplated Board actions.
 26
                 201. The Board approved the selection of SpaceX as the launch service
 27
      provider at the December 8, 2016 GIP-Cayman Board meeting. The formal approval
 28
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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 57 of 109 Page ID #:209



  1   of the SpaceX contract, however, was delayed for three months by Fan and Wong.
  2   Plaintiffs are informed and believe, and based thereon allege, that Fan and Wong,
  3   acting as agents of DONG YIN, delayed Board approval of the SpaceX contract
  4   because they first needed to obtain DONG YIN’s approval of the contract. As a
  5   result, the SpaceX contract was not signed until on or about March 7, 2017.
  6              202. At the December 2016 GIP-Cayman Board of Directors meeting, Wong
  7   proposed that Board members be compensated. Mr. Youssefzadeh objected, stating
  8   that this was typically an issue that should be addressed by the Board’s Compensation
  9   Committee. Although Wong had no authority to decide the issue, he overruled
 10   Mr. Youssefzadeh and stated that compensation was subject to previous agreements
 11   between Bronzelink and those directors and directed that it be paid accordingly.
 12              203. On or about January 9, 2017, Luo inquired regarding when GIP-Cayman
 13   would pay Board members their fees for 2016. Wong responded that, “[w]e are
 14   currently arranging for the payment for the outstanding directors’ fee in 2016.” Wong
 15   also emailed Mr. Javed informing him that Luo’s director fees for GIP-Cayman were
 16   $35,000 per quarter (or $140,000 annually).
 17              204. After reviewing Wong’s email, Mr. Youssefzadeh researched the
 18   standard compensation for board members in similarly situated companies. He
 19   determined that the proposed compensation for Luo—$140,000 annually—was far in
 20   excess of the industry standard.
 21              205. On or about January 18, 2017, Mr. Youssefzadeh emailed Wong to
 22   suggest that non-executive, non-investor directors each receive $2,500 per meeting,
 23   while the Chairman would receive $5,000, with these directors also receiving
 24   GIP-Cayman stock options. Wong replied that the remuneration package to
 25   non-investor directors had been the subject of lengthy negotiations and discussions as
 26   part of “[Bronzelink’s] appointment process.” Prior to this disclosure, Plaintiffs were
 27   not aware that Bronzelink had separately negotiated the compensation of GIP-Cayman
 28   Board members.
                                                  57
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 58 of 109 Page ID #:210



  1              206. Plaintiffs are informed and believe, and based thereon allege, that
  2   Bronzelink, acting at DONG YIN’s direction, made secret deals with the GIP-Cayman
  3   Directors, agreeing to dramatically overpay Luo in an attempt to ensure his allegiance
  4   to DONG YIN, rather than to GIP-Cayman, and that Wong was acting as an agent of
  5   DONG YIN when he insisted on the $140,000 in annual payments to Luo.
  6              207. On or about February 1, 2017, Fan and Wong, acting as agents of
  7   DONG YIN, travelled again to California, visiting the GIP-Cayman offices in
  8   El Segundo, California. During that visit:
  9              (a)   Fan told Mr. Youssefzadeh that he was under pressure from DONG YIN
 10                    for GIP-Cayman to obtain more orbital slots.
 11              (b)   Fan insisted that he participate in GIP-Cayman’s planning and strategy
 12                    discussions and determinations and advised that he intended to take an
 13                    active role in sales and marketing.
 14              (c)   Fan and Wong sought to become deeply involved in budgeting and daily
 15                    operational matters.
 16              (d)   Fan asked to meet privately with senior staff.
 17              (e)   Fan and Wong insisted on meeting privately with Liu.
 18              208. In response to Fan’s overreaching and inappropriate insinuation into
 19   GIP-Cayman’s daily affairs during his visit, on February 7, 2017, Mr. Youssefzadeh
 20   and Mr. Javed each tendered 60-days’ notice of their resignation as executives of
 21   GIP-Cayman.
 22              209. On or about February 25, 2017, Wong and Yiu, acting as agents of
 23   DONG YIN, visited the GIP-Cayman and GIP-USA offices in El Segundo, California,
 24   on very short notice. Upon arrival, Wong met with Mr. Youssefzadeh and Mr. Javed
 25   and hand-delivered two letters from Fan to them. One of them was a letter from Fan
 26   stating, “I still believe the position I have taken to select you to be in charge for the
 27   project is the right decision, and I will be the same as always to support and trust
 28
                                                     58
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 59 of 109 Page ID #:211



  1   you.” In response to these letters, and believing that Fan was prepared to change his
  2   behavior, Mr. Youssefzadeh and Mr. Javed subsequently withdrew their resignations.
  3              210. On the same day, Wong and Yiu, acting as agents of DONG YIN,
  4   informed Mr. Youssefzadeh and Mr. Javed that they had instructions from Fan and
  5   DONG YIN to terminate GIP-Cayman’s then CFO, Peter Lui. Mr. Youssefzadeh and
  6   Mr. Javed explained that only the GIP-Cayman Board could terminate Lui. In
  7   response, Wong insisted on calling an immediate telephonic board meeting. Because,
  8   however, a board meeting could not be called on less than five days’ notice, he was
  9   unsuccessful.
 10              211. Adamant that Lui must be fired immediately, Wong, acting as an agent of
 11   DONG YIN, informed Mr. Youssefzadeh and Mr. Javed that he and Fan would delay
 12   authorization for the SpaceX contract unless Lui was terminated. Eventually, the two
 13   sides reached an accord: (a) they would delay Lui’s termination for five days, and then
 14   agree to terminate Lui by unanimous written consent; and (b) the Board would hold a
 15   telephonic meeting on March 3, 2017, at which they would address approval of the
 16   SpaceX contract.
 17              212. On or about March 1, 2017, the GIP-Cayman Board terminated Lui as
 18   CFO by unanimous written consent. Because GIP-Cayman never appointed a
 19   replacement CFO, Wong was left with full control over all GIP-Cayman bank
 20   accounts.
 21              213. On or about March 3, 2017, the GIP-Cayman Board held a telephonic
 22   board meeting, at which it reviewed and approved the proposed SpaceX contract.
 23              214. On or about March 7, 2017, GIP-Cayman entered into a contract with
 24   SpaceX to provide launch services for the satellite. The SpaceX contract provided
 25   that, “[p]rovision of all items and information identified in this [Statement of Work]
 26   by SpaceX to any non-US parties (including Customer and/or Customer’s Related
 27   Third Parties, if applicable) is subject to US export control restrictions imposed by
 28   regulatory authorities including the U.S. Department of State. Customer shall be
                                                   59
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 60 of 109 Page ID #:212



  1   responsible for any U.S. Customs or other export/import compliance with respect to
  2   the Payload and any Customer provided hardware . . . .”
  3              215. The term, “Related Third Parties” is defined in the SpaceX contract to
  4   include GIP-Cayman’s “directors, officers, employees and agents,” as well as “any
  5   entity or person with any financial, property or other material interest” in the satellite.
  6              216. On or about April 21, 2017, Wong purported to assume the position of
  7   “Executive Director” of GIP-Cayman, with authority to act on behalf of the
  8   GIP-Cayman Board of Directors, even though the corporate governance documents
  9   did not recognize any such position. Plaintiffs are informed and believe, and based
 10   thereon allege, that Wong and Fan, acting as agents of DONG YIN, agreed that Wong
 11   would become the Executive Director of GIP-Cayman and, with the support of the
 12   other Bronzelink-appointed directors, installed Wong as the Executive Director in
 13   furtherance of DONG YIN’s plan and effort to control, dominate and direct the
 14   governance, management and operations of GIP-Cayman and GIP-USA.
 15   O.         Mr. Youssefzadeh and Mr. Javed Attempt, Unsuccessfully, to Address
 16              Compliance and Financing Issues with the GIP-Cayman Board.
 17              217. In or about March and April 2017, Mr. Youssefzadeh and Mr. Javed had
 18   multiple discussions with Luo, expressing their concerns that GIP-Cayman was not
 19   being properly governed by its Board and that Fan, Wong, Liu and others were
 20   violating, and conspiring to violate, U.S. export control laws.
 21              218. In or about April 2017, Luo agreed to Mr. Youssefzadeh’s request to
 22   intervene and instructed Chen to direct the Washington Law Firm to prepare a
 23   memorandum analyzing certain issues under the export control laws.
 24              219. On or about April 25, 2017, the Washington Attorney ─ who had been
 25   counsel to DONG YIN but had switched to GIP-Cayman ─ prepared a memorandum
 26   for the GIP-Cayman Board of Directors, of which Mr. Youssefzadeh and Mr. Javed
 27   were members, analyzing the export control laws. On April 27, 2017, Chen submitted
 28   the memorandum to the GIP-Cayman Board of Directors.
                                                    60
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 61 of 109 Page ID #:213



  1              220. On or about May 16, 2017, Mr. Youssefzadeh obtained a proposal for
  2   debt financing from Citigroup. This was a major achievement as debt financing was
  3   necessary for GIP-Cayman and GIP-USA to survive as going concerns, given the high
  4   cost of building, launching and operating the satellite.
  5              221. On or about May 24, 2017, Mr. Youssefzadeh noticed a meeting of the
  6   GIP-Cayman Board of Directors for June 1, 2017, to discuss two items: (a) the issue
  7   of whether GIP-Cayman’s corporate governance was in compliance with U.S. export
  8   control laws and, if not, what corrective action to take; and (b) the proposal to engage
  9   Citigroup to obtain debt financing. The board meeting was noticed as a telephonic
 10   meeting, with Mr. Youssefzadeh, Mr. Javed, Chen and Liu participating from their
 11   residences or offices in Southern California.
 12              222. The board meeting did not occur, however. Fan, Wong and Liu, acting
 13   as agents of DONG YIN, together with other Board members under their control,
 14   refused to participate in the meeting, as a result of which there was no quorum for the
 15   Board to take action. Immediately, Luo resigned his position as the Chairman of the
 16   GIP-Cayman Board of Directors. Shortly thereafter, Julian Zhao also resigned from
 17   the GIP-Cayman Board of Directors.
 18              223. Wong told Mr. Javed that Fan and DONG YIN fired Luo and Zhao
 19   because they were not pleased with them. The formal justification given for their
 20   removal was that all of the Bronzelink-appointed directors to the GIP-Cayman Board
 21   of Directors had one year terms that ended on June 1, 2017. This was the first time
 22   that Mr. Youssefzadeh and Mr. Javed learned that all of the Bronzelink-appointed
 23   directors to the GIP-Cayman Board were under formal contract to Bronzelink.
 24              224. On or about June 2, 2017, Mr. Youssefzadeh instructed Chen to
 25   independently investigate and assess the issues and conclusions reported in the
 26   April 25, 2017 memorandum from the Washington Attorney.
 27              225. Also on June 2, 2017, Mr. Youssefzadeh re-noticed a meeting of the
 28   GIP-Cayman Board of Directors for June 8, 2017, to discuss the two agenda items
                                                   61
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 62 of 109 Page ID #:214



  1   listed above. As before, the Board meeting was noticed as a telephonic meeting, with
  2   Mr. Youssefzadeh, Mr. Javed, Chen and Liu participating from their residences or
  3   offices in Southern California. But Fan and Wong, acting as agents of DONG YIN,
  4   and the other Board members under their control, again refused to participate in the
  5   board meeting, again denying a quorum.
  6              226. On or about June 5, 2017, Wong and Tang, acting as agents of
  7   DONG YIN, met with Mr. Youssefzadeh and Mr. Javed at the GIP offices in
  8   El Segundo, California. During this meeting, Wong, acting as an agent of
  9   DONG YIN, stated that he was in charge of GIP-Cayman and had the authority to
 10   make decisions about the governance, direction and management of the company.
 11   Additionally, Wong instructed Mr. Youssefzadeh and Mr. Javed that there were no
 12   issues involving the GIP-Cayman’s compliance with the export control laws and that
 13   they should not concern themselves with such issues. Neither Wong nor Tang,
 14   however, offered any explanation or basis for why there were no compliance issues,
 15   which, as they well knew, was not the case.
 16              227. Mr. Youssefzadeh and Mr. Javed told Wong and Tang that they believed
 17   there were serious compliance issues and that the GIP-Cayman Board of Directors
 18   needed to address them immediately. Wong, acting as an agent of DONG YIN, told
 19   Plaintiffs that they could either be directors or executives of GIP-Cayman, but could
 20   no longer hold both positions. Plaintiffs are informed and believe, and based thereon
 21   allege, that Wong and Tang were sent to this meeting by Fan, in his capacity as an
 22   agent of DONG YIN, and that Wong told Plaintiffs that they could not remain as both
 23   directors and executives at Fan’s direction.
 24              228. The resignations of Luo and Zhao created two open positions on the
 25   GIP-Cayman Board of Directors. On or about June 13, 2017, the open positions were
 26   filled with two new members: (a) Henry Fan, who had previously worked as an
 27   outside consultant for Fan and/or DONG YIN; and (b) Hai Ming Zhang, who had
 28   previously been a paid advisor to Bronzelink. These appointments further cemented
                                                   62
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 63 of 109 Page ID #:215



  1   DONG YIN’s control and dominance over the governance, management and
  2   operations of GIP-Cayman, GIP-USA and the Satellite Project.
  3              229. On or about June 14, 2017, Fan held a telephone call via Skype with
  4   Mr. Youssefzadeh and Mr. Javed, who participated in the call from Washington, D.C.
  5   During the telephone conference, Fan, acting as an agent of DONG YIN, declared that
  6   there were no export control law compliance issues. Fan did not offer any explanation
  7   or basis for this statement, which, as he well knew, was not the case. In response,
  8   Mr. Youssefzadeh and Mr. Javed stated their disagreement with Fan’s assertion,
  9   reiterating that it was apparent that there were serious compliance issues. Fan, acting
 10   as an agent of DONG YIN, also reiterated Wong’s prior demand that
 11   Mr. Youssefzadeh and Mr. Javed resign as either directors or executives of
 12   GIP-Cayman, and could no longer hold both positions.
 13              230. On or about June 14, 2017, Chen provided Mr. Youssefzadeh with a
 14   memorandum setting forth his conclusions based on his independent investigation and
 15   legal review of the issues raised and addressed in the Washington Attorney’s
 16   April 25, 2017 memorandum. Chen’s conclusions were reported to the GIP-Cayman
 17   Board of Directors.
 18              231. On or about June 14, 2014, Mr. Youssefzadeh once again noticed a
 19   meeting of the GIP-Cayman Board of Directors to discuss the same two agenda items
 20   he had attempted to raise previously: compliance with the export control laws and the
 21   proposal to engage Citigroup to obtain debt financing. This time, he noticed the
 22   meeting for June 22, 2017, and invited the Washington Attorney to attend the meeting
 23   telephonically. The Board meeting was noticed as a telephonic meeting. Wong also
 24   separately noticed a telephonic meeting for the same date, but did not distribute a
 25   competing, or any, agenda.
 26              232. Mr. Youssefzadeh and Mr. Javed asked that all Board members call on
 27   the company’s conference bridge. Fan and Wong, acting as agents of DONG YIN,
 28   and the other directors under their control, failed to call in on the company conference
                                                    63
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 64 of 109 Page ID #:216



  1   bridge, and while Liu called into the meeting, she quickly disconnected. As a result,
  2   Mr. Youssefzadeh, Mr. Javed and Chen were forced to declare that there was no
  3   quorum and cancel the meeting.
  4              233. Immediately thereafter, Wong, acting as an agent of DONG YIN,
  5   released his previously concealed Board meeting agenda and noticed a GIP-Cayman
  6   Board meeting for June 29, 2017 in Hong Kong. His agenda included: (a) appointing
  7   himself as Chairman of the GIP-Cayman Board; (b) accepting the resignations of
  8   Mr. Youssefzadeh and Mr. Javed (who did not have resignation offers outstanding);
  9   (c) the removal of Chen as the Board Secretary; and (d) the reappointment of
 10   Pourmand as the GIP-Cayman CEO. Wong transmitted this agenda directly and
 11   through Chen to Mr. Youssefzadeh’s and Mr. Javed’s offices in El Segundo,
 12   California.
 13   P.         Mr. Youssefzadeh and Mr. Javed are Constructively Discharged.
 14              234. On or about June 26, 2017, Mr. Youssefzadeh resigned his positions as
 15   Chief Technical Officer and Chairman of the Management Committees of
 16   GIP-Cayman and GIP-USA. That same day, Mr. Javed resigned his positions as
 17   President and Chief Operating Officer of GIP-Cayman and GIP-USA. Their
 18   resignations were effective August 25, 2017.
 19              235. Both Mr. Youssefzadeh and Mr. Javed had no alternative but to resign
 20   from these positions, or else risk becoming accomplices to Defendants’ violation of
 21   the U.S. export control laws.
 22              236. In his resignation letter, Mr. Youssefzadeh stated his belief that
 23   GIP-Cayman “cannot demonstrate compliance with the export control rules of the
 24   United States.” He also noted that he had communicated this problem to the
 25   GIP-Cayman Board of Directors, but that, instead of addressing it, the Board had
 26   “stonewalled” in an attempt to cover-up its wrongdoing and silence him, Mr. Javed
 27   and Chen.
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                                                      64
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 65 of 109 Page ID #:217



  1              237. In his resignation letter, Mr. Javed similarly expressed concern with the
  2   Board’s refusal to address export control law compliance issues. He further stated
  3   that, “Wong has taken full control of the Company and has paralyzed the management
  4   structure and its authority,” and is “apparently under the control of PRC person[s] and
  5   PRC related parties.”
  6              238. Neither Fan, Wong, Liu, nor anyone else, denied the statements made by
  7   Mr. Youssefzadeh and Mr. Javed in their resignation letters.
  8              239. Chen resigned as General Counsel, Senior Vice President and Secretary
  9   of GIP-Cayman and GIP-USA on the same day that Mr. Youssefzadeh and Mr. Javed
 10   submitted their resignations, June 26, 2017. Chen’s resignation became effective
 11   July 25, 2017.
 12   Q.         The Cover Up Continues.
 13              240. On or about July 10, 2017, Wong assembled the GIP-Cayman Board of
 14   Directors in Hong Kong and, acting as an agent of DONG YIN, nominated himself as
 15   Chairman of the Board. Before Wong put his nomination to a vote, Mr. Youssefzadeh
 16   asked for Wong’s qualifications, other than being a relative of a DONG YIN
 17   executive. No answer was forthcoming. Over the objections of Mr. Youssefzadeh
 18   and Mr. Javed, the Bronzelink-appointed directors voted to appoint Wong as
 19   Chairman of the Board.
 20              241. The Board then considered the re-appointment of Pourmand as
 21   GIP-Cayman CEO. Mr. Youssefzadeh objected on the grounds that, pursuant to the
 22   SHA, Plaintiffs controlled the decision of who should be appointed CEO. In
 23   response, Fan instructed Wong to adjourn the meeting, to be reconvened on
 24   July 17, 2017.
 25              242. Plaintiffs are informed and believe, and based thereon allege, that Wong
 26   and Fan, acting as agents of DONG YIN, agreed that Wong would become the
 27   Chairman of the Board of GIP-Cayman and Pourmand the CEO and, with the support
 28   of the other Bronzelink-appointed directors, installed Wong and Pourmand in those
                                                     65
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 66 of 109 Page ID #:218



  1   positions. Plaintiffs are further informed and believe, and based thereon allege, that
  2   these actions were in furtherance of DONG YIN’s plan and efforts to control,
  3   dominate and direct the governance, management and operations of GIP-Cayman and
  4   GIP-USA.
  5              243. On or about July 15, 2017, Mr. Youssefzadeh and Mr. Javed emailed
  6   Wong a detailed list of questions regarding the relationships between DONG YIN and
  7   Bronzelink and its shareholders and officers, for purposes of determining whether
  8   GIP-Cayman and GIP-USA were in compliance with ITAR and EAR.
  9              244. On or about July 16, 2017, Wong, acting as an agent of DONG YIN,
 10   responded to the July 15, 2017 email, indicating that the questions posed by
 11   Mr. Youssefzadeh and Mr. Javed were “the very same type of questions
 12   [Bronzelink‘s] ITAR lawyer is addressing in his detailed review of Bronzelink,” and
 13   that “the most proper way forward is for our ITAR lawyer to respond on these points
 14   to your ITAR lawyer.” In fact, Plaintiffs never received the promised response,
 15   notwithstanding multiple inquiries.
 16              245. On or about July 17, 2017, Fan and Wong, acting as agents of
 17   DONG YIN, put Pourmand’s appointment as CEO to a vote. The GIP-Cayman Board
 18   approved him over the objections of Mr. Youssefzadeh and Mr. Javed, who then
 19   exercised their right to dismiss Pourmand as a Board member.
 20              246. In response to a letter from Boeing requesting GIP-Cayman’s
 21   certification of compliance with ITAR and EAR, on or about July 20, 2017, Pourmand
 22   sent a letter to Boeing, falsely stating that “GIP is fully committed to compliance with
 23   the Export Administration Regulations (‘EAR’) and the International Traffic in Arms
 24   Regulations (‘ITAR’).”
 25              247. With the appointments of Wong as Chairman of the GIP-Cayman Board,
 26   Pourmand as CEO and Henry Fan and Hai Ming Zhang as directors, DONG YIN
 27   cemented its control and dominance over the governance, management and operations
 28   of GIP-Cayman, GIP-USA and the Satellite Project.
                                                   66
                                     FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 67 of 109 Page ID #:219



  1              248. On or about July 25, 2017, Wong sent an email to Mr. Javed, further
  2   responding to Mr. Youssefzadeh’s and Mr. Javed’s July 15, 2017 email. Wong,
  3   acting as an agent of DONG YIN, indicated that the matters raised in that email were
  4   currently being reviewed in detail by counsel, specializing in export control laws, that
  5   Bronzelink had retained (“Bronzelink’s Compliance Counsel”). Wong stated that “we
  6   expect that the answers to [the questions in the July 15, 2017 email] and the nature
  7   and extent of any changes or improvements that may be required or suggested will be
  8   determined by the Company upon receipt of [the Washington Attorney’s and
  9   Bronzelink’s Compliance Counsel’s] reports which are to be provided by
 10   August 11, 2017.”
 11              249. Wong’s statement proved to be yet another false promise. The
 12   GIP-Cayman Board never received any reports prepared by the Washington Law Firm
 13   or Bronzelink’s Compliance Counsel concerning any of the issues raised in the
 14   July 15, 2017 email.
 15   R.         DONG YIN Alters and Falsifies the Official Minutes from the
 16              GIP-Cayman Board of Directors Meetings.
 17              250. To further conceal its total control and dominance over GIP-Cayman,
 18   DONG YIN, through Wong and Liu, acting as agents of DONG YIN, systematically
 19   altered and falsified GIP-Cayman corporate records, including board minutes.
 20   For example:
 21              (a)   On or about January 20, 2017, Wong, acting as an agent of DONG YIN,
 22                    emailed alterations to the minutes of the December 8, 2016 GIP-Cayman
 23                    Board of Directors meeting to Mr. Javed, removing references to
 24                    discussions regarding technical satellite program updates, and to Fan’s
 25                    role in leading discussions concerning ECA financing, the GIP-Cayman
 26                    business plan and sales and marketing. Plaintiffs are informed and
 27                    believe, and based thereon allege, that Wong sought to doctor these
 28                    corporate records to hide evidence of DONG YIN’s control of
                                                     67
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 68 of 109 Page ID #:220



  1                    GIP-Cayman and to avoid any questions about whether the export control
  2                    laws were violated when DONG YIN and its agents received technical
  3                    information and data concerning the Satellite Project.
  4              (b)   On or about April 20 and 21, 2017, a GIP-Cayman Board meeting was
  5                    held in Hong Kong, during which Wong was purportedly appointed
  6                    “Executive Director” for the specific purpose of facilitating
  7                    communications between the GIP-Cayman Management Committee and
  8                    the Board of Directors concerning various operational and management
  9                    matters. It was noted in the draft minutes that Wong was not an officer
 10                    of GIP-Cayman, and that the title did not bestow any additional authority
 11                    on Wong. These limitations, however, were not reflected in the final
 12                    version of the minutes prepared by Liu, acting as an agent of
 13                    DONG YIN, and adopted by the Board after July 2017.
 14              (c)   The final version of the minutes of the April 2017 Board meeting was
 15                    altered by Liu. Acting as an agent of DONG YIN, she falsely stated that
 16                    Wong had been authorized to require Chen, as the Board Secretary, to
 17                    submit draft minutes to Wong for his modifications and “comment” prior
 18                    to circulation to the other Board members, including Mr. Youssefzadeh
 19                    and Mr. Javed.
 20              (d)   During the July 7, 2017 GIP-Cayman Board meeting, Pourmand was
 21                    appointed GIP-Cayman CEO by the Bronzelink-controlled GIP-Cayman
 22                    Board, in disregard of Plaintiff’s veto rights. In his closing statements,
 23                    Pourmand denied that GIP-Cayman had any compliance issues, stating
 24                    that it was “Bronzelink’s God given right” to do as it pleased. These
 25                    remarks were omitted from the formal minutes that Liu prepared.
 26              251. On or about September 13, 2017, the GIP-Cayman Board of Directors
 27   approved the minutes of their April and July 2017 Board meetings that had been
 28   altered and falsified as described above.
                                                      68
                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 69 of 109 Page ID #:221



  1   S.         DONG YIN Attempts to Purchase Plaintiffs’ Silence.
  2              252. At Wong’s request, Plaintiffs met two DONG YIN consultants,
  3   Michael Altwein and Pin Fen Miao, on or about November 16, 2017 at the GIP-USA
  4   offices in El Segundo, California. The consultants informed Mr. Youssefzadeh and
  5   Mr. Javed that DONG YIN wanted them to remain involved in GIP-Cayman and
  6   would reward them if they did not pursue the export control law compliance issues.
  7   Mr. Altwein specifically asked Mr. Youssefzadeh and Mr. Javed: “What does it take
  8   to entice you to keep you in the company if you both are willing to back off and stop
  9   further pursuit and insistence on compliance?” Mr. Youssefzadeh and Mr. Javed
 10   declined this offer and terminated the meeting.
 11   T.         Defendants’ Continuing Deception and Their Violations of
 12              U.S. Export Control Laws.
 13              253. Defendants have continued to conceal and disguise DONG YIN’s
 14   ownership and control of the Satellite Project and its access to confidential and
 15   sensitive satellite and launch technology and data that is subject to U.S. export control
 16   laws to the present day.
 17              254. Plaintiffs are informed and believe, and based thereon allege, that
 18   Defendants, and each of them, have willfully and knowingly violated ITAR and EAR,
 19   in violation of Title 22, United States Code, section 2778 and Title 50, United States
 20   Code, section 4610. Plaintiffs are also informed and believe, and based thereon
 21   allege, that Defendants, and each of them, conspired and agreed with each other, and
 22   with others known and unknown to Plaintiffs, to violate the export control laws, in
 23   violation of Title 18, United States Code, section 371.
 24   U.         Summary of Defendants’ Wrongful Conduct.
 25              255. As described in this First Amended Complaint (“FAC”), Defendants
 26   DONG YIN, COAMI and CHANG, acting through their agents and employees,
 27   succeeded in their plan for DONG YIN to seize control and dominance over the
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                                                     69
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 70 of 109 Page ID #:222



  1   Satellite Project from Plaintiffs through the following false, fraudulent and dishonest
  2   means:
  3              (a)   Falsely representing to Plaintiffs that COSEIG was an independent
  4                    company and not under DONG YIN’s control;
  5              (b)   Falsely representing to Plaintiffs that Bronzelink was an independent
  6                    company and not under DONG YIN’s control;
  7              (c)   Falsely denying to Plaintiffs that TechCap held an interest in the
  8                    anticipated transaction between COSEIG and Plaintiffs;
  9              (d)   Misrepresenting to and concealing from Plaintiffs that Wong, Liu and
 10                    others were agents of DONG YIN, acting under Fan’s control;
 11              (e)   Controlling and directing the Board of Directors of GIP-Cayman;
 12              (f)   Controlling and directing the Board of Directors of GIP-USA;
 13              (g)   Secretly negotiating a contract with Pourmand to be compensated far
 14                    above industry standards as the CEO of GIP-Cayman;
 15              (h)   Appointing Liu as the Controller for GIP-Cayman and GIP-USA;
 16              (i)   Giving the GIP-Cayman Board of Directors, which was under Fan’s
 17                    control, the ability to control decisions that should have been made by
 18                    GIP-Cayman executives, such as Mr. Youssefzadeh and Mr. Javed, rather
 19                    than directors;
 20              (j)   Having Fan and Wong, acting as agents of DONG YIN, make decisions
 21                    independently of the GIP-Cayman Board of Directors as if they ran the
 22                    company;
 23              (k)   Appointing Wong the Executive Director and then the Chairman of the
 24                    GIP-Cayman Board;
 25              (l)   Retaliating against Mr. Youssefzadeh, Mr. Javed and Chen for
 26                    questioning whether GIP-Cayman and GIP-USA were under the control
 27                    of the PRC;
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                                                     70
                                         FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 71 of 109 Page ID #:223



  1              (m)   Retaliating against Mr. Youssefzadeh, Mr. Javed and Chen for warning
  2                    that GIP-Cayman and GIP-USA were not in compliance with ITAR,
  3                    EAR and the PRC Proscription;
  4              (n)   Having secret contracts with Bronzelink-appointed directors;
  5              (o)   Bypassing the GIP-Cayman Compensation Committee to compensate the
  6                    Bronzelink-appointed Directors at far above industry standards;
  7              (p)   Buying Luo’s loyalty by dramatically overpaying him for acting as the
  8                    Chairman of the GIP-Cayman Board;
  9              (q)   After Luo and Zhao resigned, replacing them with new directors who
 10                    were advisors or consultants to DONG YIN and Bronzelink;
 11              (r)   Refusing to convene board meetings to discuss GIP-Cayman’s corporate
 12                    governance and export control law compliance issues;
 13              (s)   Forcing the resignations of Mr. Youssefzadeh, Mr. Javed and Chen;
 14              (t)   Reappointing Pourmand as GIP-Cayman CEO over Plaintiffs’ objections,
 15                    despite their veto of the appointment and notwithstanding his
 16                    demonstrated incompetence in that position;
 17              (u)   Altering and falsifying the minutes from GIP-Cayman board meetings to
 18                    hide Defendants’ malfeasance;
 19              (v)   Concealing and disguising DONG YIN’S role as more than a lender and
 20                    its plan and efforts to obtain ownership and control of the Satellite
 21                    Project;
 22              (w)   Willfully and knowingly violating ITAR, EAR and the PRC Proscription;
 23                    and
 24              (x)   Conspiring and agreeing with each other and others known and unknown
 25                    to Plaintiff, to violate U.S. export control laws.
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                                                      71
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 72 of 109 Page ID #:224



  1   V.         Summary of Money and Property Lost and Stolen.
  2              256. Defendants’ wrongful conduct caused Plaintiffs to suffer losses of their
  3   money and to their property, including, without limitation:
  4              (a)   Control of the Satellite Project that they had spent years developing;
  5              (b)   A 75% ownership interest in GIP-Cayman, the parent corporation of
  6                    GIP-USA and Dub Dub (including 47.25% of GIP-Cayman that had been
  7                    previously owned by Plaintiffs);
  8              (c)   The benefits of the contracts they had negotiated with Boeing and
  9                    SpaceX;
 10              (d)   The benefits of the insurance terms that they had negotiated;
 11              (e)   Confidential and proprietary reports, studies, designs, analyses and other
 12                    documents and information that Plaintiffs prepared, or had prepared, at
 13                    their expense, including
 14                    i.     Plaintiffs’ design of the 7.7 ton state of the art satellite;
 15                    ii.    Plaintiffs’ confidential business plan; and
 16                    iii.   Plaintiffs’ confidential marketing studies.
 17              (f)   Plaintiffs’ intellectual property, including the Global-IP trademark; and
 18              (g)   The opportunity for Plaintiffs to obtain a share of the projected
 19                    US$1.5 billion or more in anticipated profits from the Satellite Project
 20                    when completed and the satellite is operational.
 21                                    FIRST CAUSE OF ACTION
 22                                    (For Conspiracy to Defraud)
 23                               (By Plaintiffs Against All Defendants)
 24              257. Plaintiffs repeat and reallege paragraphs 1 through 256 of this FAC as if
 25   fully alleged herein.
 26   A.         Formation and Operation of the Conspiracy.
 27              258. Beginning in or about December 2015, and continuing until the present,
 28   DONG YIN, CHANG and COAMI, together with COSEIG, Amore, Bronzelink,
                                                        72
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 73 of 109 Page ID #:225



  1   TechCap, the Washington Law Firm, the Washington Attorney and others known and
  2   unknown to Plaintiffs, and each of them, conspired and agreed to:
  3              (a)   Make misrepresentations regarding important facts, as described further
  4                    throughout this FAC, knowing that the representations were false or
  5                    misleading and intending that Plaintiffs would rely upon them;
  6              (b)   Make false promises regarding important matters, as described further
  7                    throughout this FAC, with no intention of performing those promises and
  8                    intending that Plaintiffs would rely upon them;
  9              (c)   Conceal and withhold from Plaintiffs important facts that they had a duty
 10                    to disclose, as described further throughout this FAC, knowingly and
 11                    with the intent to deceive Plaintiffs; and
 12              (d)   Obtain ownership and control of Plaintiffs’ property comprising the
 13                    Satellite Project by theft, including theft by trick and theft by false
 14                    pretenses, as described further throughout this FAC.
 15              259. Plaintiffs acted reasonably in relying upon the false and misleading
 16   representations, false promises and undisclosed facts in, among other things,
 17   relinquishing ownership and control of the Satellite Project, including 75% of their
 18   ownership interest in GIP-Cayman, and the property comprising that Project,
 19   including confidential and sensitive reports, studies, analyses, designs, data,
 20   intellectual property, contracts, rights, title and interests, as described throughout this
 21   FAC.
 22   B.         Wrongful Acts in Furtherance of the Conspiracy.
 23              260. On or about the dates indicated below, DONG YIN, CHANG and
 24   COAMI, together with COSEIG, Amore, Bronzelink, the Washington Law Firm, the
 25   Washington Attorney and others known and unknown to Plaintiffs, and each of them,
 26   committed, caused and aided and abetted the following acts, among others, in
 27   furtherance of and to accomplish the objectives of the conspiracy:
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                                                       73
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 74 of 109 Page ID #:226



  1              Act No. 1: On October 5, 2015, Ivan Chow sent an email to Mr. Youssefzadeh
  2   falsely representing that neither he nor his company, COSEIG, had any affiliation with
  3   TechCap and its associates.
  4              Act No. 2: On or about October 14, 2015, Ivan Chow sent an email to
  5   Mr. Javed enclosing a letter from his company’s lawyer, falsely certifying that
  6   COSEIG’s shareholders and management did not have any connection with TechCap,
  7   and that COSEIG did not have any existing agreement or business exchanges with
  8   TechCap.
  9              Act No. 3: In or about October 2015, Ivan Chow falsely represented to
 10   Mr. Youssefzadeh and Mr. Javed that DONG YIN did not own or control COSEIG.
 11              Act No. 4: On or about December 3, 2015, Ivan Chow falsely represented to
 12   Mr. Youssefzadeh and Mr. Javed that COSEIG had no desire or intention of becoming
 13   involved in GIP-Cayman operations.
 14              Act No. 5: On or about December 4, 2015, in reliance on the false and
 15   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
 16   signed the COSEIG JVA on behalf of STM Atlantic.
 17              Act No. 6: On or about December 4, 2015, in reliance on the false and
 18   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
 19   signed the COSEIG JVA on behalf of himself.
 20              Act No. 7: On or about December 4, 2015, in reliance on the false and
 21   fraudulent representations and promises of DONG YIN’s agents, Mr. Javed signed the
 22   COSEIG JVA on behalf of himself.
 23              Act No. 8: On or about December 16, 2015, Ivan Chow emailed Mr. Javed,
 24   falsely representing that COSEIG’s sole shareholder and director was Pok Kit Chow,
 25   when, in fact, Pok Kit Chow was merely the nominal owner of COSEIG and acting on
 26   behalf of DONG YIN.
 27              Act No. 9: On or about January 28, 2016, Ivan Chow emailed
 28   Mr. Youssefzadeh, Mr. Javed and Pourmand, on behalf of Fan, that COSEIG’s
                                                    74
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 75 of 109 Page ID #:227



  1   $250 million financial proposal had been formally approved by DONG YIN, creating
  2   the false and misleading impression that COSEIG and DONG YIN were independent,
  3   unrelated entities, when, in fact, COSEIG was controlled and dominated by
  4   DONG YIN.
  5              Act No. 10: Between in or about late January and early February 2016, the
  6   Washington Attorney told Mr. Javed that COSEIG would be swapped out in the JVA
  7   for another, yet to be identified company, and falsely promising that DONG YIN
  8   would have no control or influence over GIP-Cayman.
  9              Act No. 11: On or about February 16, 2016, CHANG falsely represented to
 10   Mr. Youssefzadeh, Mr. Javed and Pourmand that after the closing: (a) DONG YIN
 11   would have no control over GIP-Cayman; (b) it had no intention of controlling or
 12   seeking to influence GIP-Cayman; and (c) it was relying on Mr. Youssefzadeh and
 13   Mr. Javed to run the business.
 14              Act No. 12: On or about February 21, 2016, the Washington Attorney emailed
 15   Mr. Youssefzadeh, Mr. Javed, Fan and others, noting that, as a general matter, the
 16   parties needed to be mindful of any direct or indirect PRC influence or control over
 17   GIP-Cayman, via board members or otherwise, while concealing and failing to
 18   disclose that the Washington Law Firm was negotiating a confidential
 19   Facility Agreement between Amore and Bronzelink that would give the PRC control
 20   over GIP-Cayman’s Board of Directors.
 21              Act No. 13: On or about February 23, 2016, Fan, Henry Fan and their attorneys
 22   disclosed for the first time the identity of the new company, Bronzelink, to
 23   Mr. Youssefzadeh, Mr. Javed and others, falsely representing that Bronzelink was an
 24   independent, stand-alone entity with no affiliation to DONG YIN.
 25              Act No. 14: On or about February 25, 2016, in reliance on the false and
 26   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
 27   signed the Bronzelink JVA on behalf of STM Atlantic.
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                                                    75
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 76 of 109 Page ID #:228



  1              Act No. 15: On or about February 25, 2016, in reliance on the false and
  2   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
  3   signed the Bronzelink JVA on behalf of himself.
  4              Act No. 16: On or about February 25, 2016, in reliance on the false and
  5   fraudulent representations and promises of DONG YIN’s agents, Mr. Javed signed the
  6   Bronzelink JVA on behalf of himself.
  7              Act No. 17: On or about March 9, 2016, Amore appointed four individuals to
  8   its Board of Directors, all of whom were closely affiliated with DONG YIN or
  9   COAMI, in furtherance of its plan and efforts to gain and exercise control and
 10   dominance over the governance, management and operation of GIP-Cayman.
 11              Act No. 18: On or about March 15, 2016, Amore and Bronzelink executed the
 12   Facility Agreement, but did not disclose its terms to Plaintiffs.
 13              Act No. 19: On or about March 15, 2016, the Washington Attorney emailed
 14   Mr. Youssefzadeh and Mr. Javed: (a) stating that his law firm was DONG YIN’s
 15   counsel and thus could not represent Bronzelink, creating the false and misleading
 16   impression that DONG YIN and Bronzelink were independent, stand-alone
 17   companies; and (b) confirmed that the Facility Agreement had been signed, but
 18   concealed and failed to disclose that material terms of the Facility Agreement were in
 19   conflict with the intended Bronzelink SHA.
 20              Act No. 20: On or about March 28, 2016, the Washington Attorney responded
 21   to a request for written confirmation that DONG YIN was providing financing to
 22   Bronzelink, stating, “[g]iven our stated concerns regarding the role of DY as a lender,
 23   and the need to attenuate PRC interests in both BL and GIP, having a letter from DY
 24   or its counsel ‘on the record’ does not serve the interests of any of the parties to this
 25   transaction.”
 26              Act No. 21: On or about April 5, 2016, the Washington Attorney provided his
 27   comments to the SPA, representing that he had intended to align the conditions
 28   precedent set forth in the SPA with the terms of the Facility Agreement, but failing to
                                                    76
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 77 of 109 Page ID #:229



  1   disclose that other material terms of the SPA were contrary to, inconsistent with, or
  2   undermined by the Facility Agreement.
  3              Act No. 22: On or about April 5, 2016, both David Zhang of DONG YIN and
  4   the Washington Attorney stated that DONG YIN understood that any PRC control or
  5   influence, directly or indirectly, would be in violation of U.S. laws, falsely
  6   representing and promising that DONG YIN had no intention or plan of exerting
  7   control over GIP-Cayman.
  8              Act No. 23: On or about May 11, 2016, Bronzelink executed the SPA, the SHA
  9   and the First Amendment to the SHA. To conceal DONG YIN’s intention and plan to
 10   gain and exercise control and dominance over the Satellite Project, neither
 11   DONG YIN, Amore, nor COAMI were signatories to the SPA, the SHA, or the SHA
 12   Amendment.
 13              Act No. 24: On or about May 11, 2016, in reliance on the false and fraudulent
 14   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 15   SPA, the SHA and the SHA Amendment on behalf of STM Atlantic.
 16              Act No. 25: On or about May 11, 2016, in reliance on the false and fraudulent
 17   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 18   SPA, the SHA and the SHA Amendment on behalf of himself.
 19              Act No. 26: On or about May 11, 2016, in reliance on the false and fraudulent
 20   representations and promises of DONG YIN’s agents, Mr. Javed signed the SPA, the
 21   SHA and the SHA Amendment on behalf of himself.
 22              Act No. 27: On or about May 11, 2016, Yang Zeng of DONG YIN falsely
 23   represented to Mr. Javed that DONG YIN was merely a lender to Bronzelink, and
 24   that, after the closing, DONG YIN would not have any control over or seek to
 25   influence GIP-Cayman governance, direction, management, or operations.
 26              Act No. 28: On or about May 31, 2016, the Washington Attorney falsely
 27   represented to Mr. Javed that: (a) four of the Bronzelink-appointed directors—Liu,
 28   Zheng, Luo and Zhao—were completely independent of and had no affiliation to
                                                    77
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 78 of 109 Page ID #:230



  1   DONG YIN; (b) since there would be four independent Bronzelink-appointed
  2   directors and three Common directors, GIP-Cayman would have solid protection from
  3   PRC control and influence; and (c) although Wong worked for Bronzelink, he was not
  4   affiliated with DONG YIN.
  5              Act No. 29: On or about June 2, 2016, Fan (a) falsely represented and promised
  6   to Mr. Javed that DONG YIN and Bronzelink were completely different entities and
  7   were not related; (b) falsely represented and promised that after the closing,
  8   DONG YIN would not have control over or any say in GIP-Cayman’s direction and
  9   operations; and (c) falsely represented and promised Mr. Javed that, after the closing,
 10   Bronzelink would have an independent Board of Directors that would make all of the
 11   decisions free of DONG YIN’s influence.
 12              Act No. 30: On or about June 3, 2016, in reliance on the false and fraudulent
 13   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 14   closing documents for the SHA on behalf of STM Atlantic.
 15              Act No. 31: On or about June 3, 2016, in reliance on the false and fraudulent
 16   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 17   closing documents for the SHA on behalf of himself.
 18              Act No. 32: On or about June 3, 2016, in reliance on the false and fraudulent
 19   representations and promises of DONG YIN’s agents, Mr. Javed signed the closing
 20   documents for the SHA on behalf of himself.
 21              Act No. 33: On or about June 3, 2016, Bronzelink caused HSBC Bank to
 22   execute a wire transfer of $25 million from Hong Kong to GIP-Cayman’s HSBC
 23   account in California.
 24              Act No. 34: On or about July 29, 2016, after the Boeing LOI was finalized,
 25   Luo, as the Chairman of the GIP-Cayman Board, deferred the decision to execute the
 26   LOI, stating in an email that “[he] would like Mr. Fan/DONG YIN to review/agreed
 27   [sic][the Letter of Intent] before we move on.”
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                                                     78
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 79 of 109 Page ID #:231



  1              Act No. 35: On or about November 18, 2016, Tang emailed Mr. Javed
  2   requesting confidential and sensitive technical information about the Satellite Project.
  3              Act No. 36: On or about November 20, 2016, Tang falsely assured Plaintiffs
  4   that the sensitive technical information he had requested was intended to be “used
  5   internally for monitoring the general progress of the company.”
  6              Act No. 37: Beginning in or about January 2017, to buy Luo’s loyalty, he was
  7   paid $140,000 annually for serving as a GIP-Cayman director.
  8              Act No. 38: On or about January 20, 2017, Wong emailed alterations to the
  9   minutes of the December 8, 2016 GIP-Cayman Board of Directors meeting to
 10   Mr. Javed, removing references to a discussion concerning technical satellite program
 11   updates and to Fan having led the discussions about ECA financing, the GIP-Cayman
 12   business plan, and sales and marketing.
 13              Act No. 39: On or about April 27, 2017, Wong telephoned Mr. Javed to
 14   express his displeasure at not having been given an opportunity to preview and
 15   comment on the April 25, 2017 memorandum on export control laws prepared by the
 16   Washington Law Firm, prior to its distribution to the GIP-Cayman Board of Directors.
 17              Act No. 40: In preparing the final version of the minutes of the April 2017
 18   GIP-Cayman Board meeting, Liu altered them to falsely state that Wong had been
 19   authorized to require Chen, as the Board Secretary, to submit draft minutes to Wong
 20   for his modifications and “comment” prior to circulation to the other Board members.
 21              Act No. 41: On or about May 24, 2017, Mr. Youssefzadeh noticed a special
 22   meeting of the GIP-Cayman Board of Directors, but Wong responded that all of the
 23   Bronzelink-appointed directors were unavailable.
 24              Act No. 42: On or about May 25, 2017, Fan sent an email to Mr. Javed, falsely
 25   denying that Wong was his proxy.
 26              Act No. 43: On or about May 30, 2017, Fan sent an email to Mr. Javed,
 27   copying the other members of the GIP-Cayman Board of Directors, in which he
 28   denied Mr. Javed’s allegation that governance of the Board was extremely defective.
                                                     79
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 80 of 109 Page ID #:232



  1              Act No. 44: On or about June 2, 2017, Wong again thwarted
  2   Mr. Youssefzadeh’s efforts to call a special meeting of the GIP-Cayman Board of
  3   Directors to discuss the company’s lack of compliance with U.S. export control laws.
  4              Act No. 45: On or about June 5, 2017, Wong and Tang, as agents of
  5   DONG YIN, met with Mr. Youssefzadeh and Mr. Javed, at which time Wong falsely
  6   stated there were no issues concerning GIP-Cayman’s compliance with the export
  7   control laws and that Mr. Youssefzadeh and Mr. Javed should not concern themselves
  8   with such issues.
  9              Act No. 46: During the aforementioned June 5, 2017 meeting, Wong, as an
 10   agent of DONG YIN, told Mr. Youssefzadeh and Mr. Javed that they could be
 11   directors or executives of GIP-Cayman, but that they could no longer hold both
 12   positions.
 13              Act No. 47: On or about June 13, 2017, Bronzelink selected two directors to
 14   fill the vacancies on the GIP-Cayman Board of Directors, both of whom had
 15   allegiances to and took their direction from DONG YIN.
 16              Act No. 48: On or about June 14, 2017, Fan held a telephone call via Skype
 17   with Mr. Youssefzadeh and Mr. Javed during which he falsely stated that there were
 18   no export control law compliance issues.
 19              Act No. 49: During the aforementioned June 14, 2017 telephone call, Fan
 20   informed Mr. Youssefzadeh and Mr. Javed that they had to resign as either directors
 21   or executives, and could not continue to hold both positions.
 22              Act No. 50: On or about June 20, 2017, Wong sent an email to Mr. Javed,
 23   copying Mr. Youssefzadeh and others, falsely denying that his role and actions as a
 24   GIP-Cayman director were subject to PRC influence.
 25              Act No. 51: On or about June 22, 2017, Fan, Wong and other GIP-Cayman
 26   directors under their control refused to participate in a Board of Directors meeting that
 27   Mr. Youssefzadeh had noticed to discuss, among other things, compliance with
 28   U.S. export control laws.
                                                    80
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 81 of 109 Page ID #:233



  1              Act No. 52: On or about July 10, 2017, at a GIP-Cayman Board meeting,
  2   Wong was appointed Chairman of the Board over the objections of Mr. Youssefzadeh
  3   and Mr. Javed, with all six of the Bronzelink-appointed directors voting in favor of
  4   Wong’s appointment.
  5              Act No. 53: During the aforementioned July 10, 2017 Board meeting,
  6   Pourmand was appointed the CEO of GIP-Cayman, over the objection and veto of
  7   Mr. Youssefzadeh and Mr. Javed, with all six of the Bronzelink-appointed directors
  8   voting in favor of Pourmand’s appointment.
  9              Act No. 54: On or about July 16, 2017, Wong responded to a July 15, 2017
 10   email from Mr. Javed, altogether ignoring questions raised by Mr. Javed relating to
 11   DONG YIN’s control over GIP-Cayman.
 12              Act No. 55: On or about July 18, 2017, at a GIP-Cayman Board of Directors
 13   meeting called by the Bronzelink-appointed directors, Wong indicated that since the
 14   issue of compliance with U.S. export control laws was not on the agenda, it would not
 15   be discussed.
 16              Act No. 56: In preparing the minutes of the July 18, 2017 GIP-Cayman Board
 17   meeting, Liu omitted all reference to discussions concerning compliance with U.S.
 18   export control laws or questions about DONG YIN’s affiliation with Bronzelink.
 19              Act No. 57: On July 20, 2017, Pourmand sent a letter to Boeing, falsely stating
 20   that, “GIP is fully committed to compliance with the Export Administration
 21   Regulations (‘EAR’) and the International Traffic in Arms Regulations (‘ITAR’).”
 22              Act No. 58: On or about September 4, 2017, Liu distributed the minutes that
 23   she had prepared of the July 18, 2017 GIP-Cayman Board meeting, which were
 24   falsified to omit any mention of the Board’s refusal to discuss export control law
 25   compliance issues beyond Pourmand’s denial that there were any such issues.
 26              Act No. 59: On or about September 13, 2017, the Bronzelink-appointed
 27   directors approved and adopted the altered and falsified minutes of the April and
 28   July 2017 GIP-Cayman Board meetings.
                                                     81
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 82 of 109 Page ID #:234



  1   C.         Resulting Damages.
  2              261. As a direct and proximate result of the conspiracy to defraud, Plaintiffs
  3   were damaged in an amount to be determined at trial.
  4              262. In engaging into the conspiracy to defraud Plaintiffs, Defendants acted
  5   fraudulently, oppressively, maliciously and with a willful and conscious disregard of
  6   Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and punitive
  7   damages pursuant to California Civil Code section 3294.
  8                                 SECOND CAUSE OF ACTION
  9                                               (For Fraud)
 10                              (By Plaintiffs Against All Defendants)
 11              263. Plaintiffs repeat and reallege paragraphs 1 through 262 of this FAC as if
 12   fully alleged herein.
 13   A.         Misrepresentations and False Promises.
 14              264. Beginning in or about July 2015, and continuing until the present,
 15   Defendants, and each of them, made and caused others to make the following
 16   misrepresentations and false promises, among others, to Plaintiffs, knowing that they
 17   were false and misleading and with the intention that Plaintiffs would rely upon them:
 18                                 [As to U.S. Export Control Laws.]
 19              (a)   That DONG YIN intended to comply with the U.S. export control laws,
 20                    when, in fact, DONG YIN always intended and planned to obtain
 21                    confidential and sensitive satellite and launch technology and data in
 22                    violation of those laws;
 23              (b)    That DONG YIN intended to comply with the U.S. export control laws,
 24                    when, in fact, DONG YIN was conspiring with the other Defendants,
 25                    together with others, to violate those laws;
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                                                       82
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 83 of 109 Page ID #:235



  1                           [As to DONG YIN’s Role in the Governance,
  2                          Management and Operations of GIP-Cayman.]
  3              (c)   That DONG YIN did not intend to exercise control and influence over
  4                    GIP-Cayman, when, in fact, DONG YIN always intended and planned to
  5                    control, dominate and direct the governance, management and operations
  6                    of GIP-Cayman;
  7              (d)   That DONG YIN did not intend to have any direct dealings with
  8                    GIP-Cayman, when, in fact, DONG YIN always intended and planned to
  9                    place its agents on the GIP-Cayman Board of Directors to gain control,
 10                    dominate and direct the governance, management and operations of
 11                    GIP-Cayman;
 12              (e)   That DONG YIN was relying on Mr. Youssefzadeh and Mr. Javed to run
 13                    GIP-Cayman after the closing, when, in fact, it always intended and
 14                    planned that its agents would control, dominate and direct the
 15                    governance, management and operations of GIP-Cayman;
 16              (f)   That four of the Bronzelink-appointed members of the GIP-Cayman
 17                    Board of Directors would be independent of DONG YIN, when, in fact,
 18                    there were never four independent Bronzelink-appointed Board members
 19                    and Defendants never intended the Bronzelink-appointed Board members
 20                    to be independent of DONG YIN;
 21              (g)   That Bronzelink-appointed directors Wong, Liu and Zheng were
 22                    independent of and unaffiliated with DONG YIN, when, in fact, each of
 23                    them was an agent of DONG YIN;
 24              (h)   That the GIP-Cayman Board of Directors would not be under the
 25                    influence and control of the PRC, when, in fact, the PRC, through
 26                    DONG YIN, Amore and Bronzelink, intended and planned to control,
 27                    dominate and direct the GIP-Cayman Board of Directors;
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                                                     83
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 84 of 109 Page ID #:236



  1                                [As to COSEIG and its Relationship
  2                                 With DONG YIN and TechCap.]
  3              (i)   That DONG YIN did not own or control COSEIG, when, in fact,
  4                    COSEIG was under the control, dominance and direction of DONG YIN;
  5              (j)   That COSEIG was an independent company 100% owned by
  6                    Pok Kit Chow, when, in fact, Pot Kit Chow was merely a nominal owner
  7                    acting on behalf of DONG YIN;
  8              (k)   That Pot Kit Chow was a wealthy businessman and investor from
  9                    Hong Kong, when, in fact, he was neither wealthy nor a bona fide
 10                    investor;
 11              (l)   That DONG YIN’s only role in the transaction between Plaintiffs and
 12                    COSEIG would be as a lender to COSEIG, when, in fact, COSEIG was
 13                    under the control, dominance and direction of DONG YIN;
 14              (m)   That COSEIG did not have any affiliation, agreements, or business
 15                    dealings with TechCap and its associates, when, in fact, TechCap had
 16                    been promised a 12% interest in COSEIG for its role in that transaction;
 17                                     [As to Bronzelink and its
 18                                  Relationship With DONG YIN.]
 19              (n)   That Bronzelink was an independent, stand-alone entity that did not have
 20                    any affiliation with DONG YIN, when, in fact, it was under the control,
 21                    dominance and direction of DONG YIN;
 22              (o)   That Bronzelink would have an independent Board of Directors that
 23                    would make all decisions free of DONG YIN’s control and influence,
 24                    when, in fact, the Bronzelink Board consisted of agents of DONG YIN
 25                    and was always under the control of and took direction from
 26                    DONG YIN;
 27              (p)   That Bronzelink’s execution and performance of its obligations under the
 28                    SHA would “not violate . . . any agreement or instrument to which it is
                                                     84
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 85 of 109 Page ID #:237



  1                    subject,” when, in fact, the execution and performance of its obligations
  2                    under the SHA violated the terms of the Facility Agreement;
  3              (q)   That Bronzelink was an independent entity that had “the power to
  4                    execute [and] perform its obligations under and enter into all transactions
  5                    contemplated by [the SHA],” when, in fact, under the Facility Agreement
  6                    Bronzelink could not perform all of its obligations and enter into all of
  7                    the transactions contemplated by the SHA;
  8              (r)   That upon demand Bronzelink would provide its shares in GIP-Cayman
  9                    as collateral to support a financing arrangement with an ECA or another
 10                    lender, when, in fact, Bronzelink could not provide its shares in
 11                    GIP-Cayman as collateral because it had already given Amore a charge
 12                    over them; and
 13                                      [As to Project Financing.]
 14              (s)   That GIP-Cayman would have the ability to secure additional financing
 15                    from a lender other than an ECA, when, in fact, under the Facility
 16                    Agreement, Bronzelink had agreed that GIP-Cayman could only raise
 17                    additional funds through financing provided by an ECA.
 18              265. All of the above representations and promises, and each of them, were
 19   important because they would have influenced a reasonable person’s judgment or
 20   conduct, and Defendants knew that they were likely to influence Plaintiffs’ judgment
 21   and conduct.
 22              266. Plaintiffs, and each of them, would have acted differently if they had
 23   known that these representations and promises were false.
 24   B.         Concealment of Material Facts.
 25              267. At all relevant times, Defendants, and each of them, owed Plaintiffs a
 26   duty of disclosure by virtue of the existence of one or more of the following
 27   circumstances:
 28              (a)   To the extent Defendants made any disclosures to Plaintiffs, they
                                                      85
                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 86 of 109 Page ID #:238



  1                    disclosed only some facts, but intentionally withheld or caused others to
  2                    withhold other facts, making the disclosures misleading;
  3              (b)   Defendants intentionally failed, or caused others to fail, to disclose
  4                    important facts that were known to them, and which Plaintiffs could not
  5                    have discovered on their own; and
  6              (c)   Defendants actively concealed and caused others to conceal important
  7                    facts from Plaintiffs or acted to prevent them from discovering such facts.
  8              268. Beginning in or about July 2015, Defendants, and each of them,
  9   intentionally concealed, withheld and failed to disclose, and caused others to conceal,
 10   withhold and fail to disclose, the following facts, with the intent to deceive Plaintiffs:
 11                                  [As to DONG YIN’s Relationships
 12                                   With COSEIG and Bronzelink.]
 13              (a)   At all relevant times, DONG YIN exercised control and dominance over
 14                    COSEIG;
 15              (b)   At all relevant times, Pot Kit Chow was merely the nominal owner of
 16                    COSEIG acting on behalf of DONG YIN;
 17              (c)   At all relevant times, DONG YIN exercised control and dominance over
 18                    Bronzelink;
 19                           [As to DONG YIN’s Role in the Governance,
 20                          Management and Operations of GIP-Cayman.]
 21              (d)   DONG YIN never intended merely to provide debt financing to COSEIG
 22                    or Bronzelink, but at all relevant times intended and planned to acquire
 23                    and exercise control over the governance, management and operations of
 24                    GIP-Cayman through its dominance and control of COSEIG and
 25                    Bronzelink;
 26              (e)   Fan was appointed to the GIP-Cayman Board of Directors for the
 27                    purpose of enabling DONG YIN to control, dominate and direct the
 28                    governance, management and operations of GIP-Cayman;
                                                      86
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 87 of 109 Page ID #:239



  1              (f)   At all relevant times, Wong, Liu and Zheng were agents of DONG YIN
  2                    acting under Fan’s control and direction;
  3                                  [As to The Facility Agreement.]
  4              (g)   The Facility Agreement between Bronzelink and Amore gave Amore the
  5                    power to approve four of the five directors to the Bronzelink Board of
  6                    Directors;
  7              (h)   Bronzelink was required to appoint the four directors approved by Amore
  8                    to the GIP-Cayman Board of Directors;
  9              (i)   The Facility Agreement requires Bronzelink to provide Amore with free
 10                    access at all reasonable times to the GIP-Cayman premises, assets, books,
 11                    accounts and records;
 12              (j)   The Facility Agreement provides that Amore has the right to meet with
 13                    the GIP-Cayman senior management upon request;
 14              (k)   The Facility Agreement requires GIP-Cayman to obtain Amore’s
 15                    approval for any contracts in excess of $1,000,000;
 16              (l)   The Facility Agreement gives Amore the right to engage a financial
 17                    advisor, technical consultant, marketing consultant and tax expert for
 18                    GIP-Cayman, at GIP-Cayman’s expense;
 19              (m)   The Facility Agreement requires Bronzelink to use its control of
 20                    GIP-Cayman to prevent GIP-Cayman from entering into any joint
 21                    ventures;
 22              (n)   The Facility Agreement requires Bronzelink to use its control of
 23                    GIP-Cayman to prevent GIP-Cayman from obtaining debt financing
 24                    through any lender other than an ECA; and
 25              (o)   The Facility Agreement requires Bronzelink to use its control of
 26                    GIP-Cayman to prevent GIP-Cayman from creating a stock option pool.
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                                                     87
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 88 of 109 Page ID #:240



  1              269. All of these facts, and each of them, were important in that they would
  2   have influenced a reasonable person’s judgment or conduct, and Defendants knew that
  3   their disclosure was likely to influence Plaintiffs’ judgment and conduct.
  4              270. Plaintiffs, and each of them, would have acted differently if they had
  5   known of these undisclosed facts.
  6   C.         Resulting Damages.
  7              271. As a direct and proximate result of Defendants’ misrepresentations, false
  8   promises and concealment and withholding of important information, Plaintiffs were
  9   damaged in an amount to be determined at trial.
 10              272. In making these false and misleading representations and false promises,
 11   and in concealing, withholding and not disclosing these facts, Defendants acted
 12   fraudulently, oppressively, maliciously and with a willful and conscious disregard of
 13   Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and punitive
 14   damages pursuant to California Civil Code section 3294.
 15                                  THIRD CAUSE OF ACTION
 16                       (For Violation of California Penal Code Section 496)
 17                                (By Plaintiffs Against DONG YIN)
 18              273. Plaintiffs repeat and reallege paragraphs 1 through 272 of this FAC as if
 19   fully alleged herein.
 20              274. California Penal Code section 496(c) provides, in relevant part, that
 21   “[a]ny person who has been injured by a violation of subdivision (a) . . . may bring an
 22   action for three times the amount of the actual damages, if any, sustained by the
 23   plaintiff, cost of suit, and reasonable attorney’s fees.”
 24              275. California Penal Code section 496(a) provides, in relevant part, that
 25   “[e]very person who receives any property that has been stolen or that has been
 26   obtained in any manner constituting theft . . . knowing the property to be so stolen or
 27   obtained, or who conceals, . . . withholds, or aids in concealing . . . or withholding any
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                                                     88
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 89 of 109 Page ID #:241



  1   property from the owner, knowing the property to be so stolen or obtained, [is guilty
  2   of a criminal offense].”
  3              276. California Penal Code section 484 defines “theft” to include: (a) theft by
  4   trick, which involves obtaining possession of another’s property with his or her
  5   consent by fraud or deceit; and (b) theft by false pretenses, which involves obtaining
  6   possession and ownership of another’s property by false or fraudulent representations
  7   or promise.
  8              277. In or about June 2016, DONG YIN and its agents stole and received the
  9   following property from Plaintiffs by fraud, deceit and false pretenses, as described
 10   herein: control of the Satellite Project; the tangible and intellectual property
 11   comprising the Satellite Project; a 47.25% ownership interest in GIP-Cayman
 12   previously owned by Plaintiffs; and the confidential and proprietary information,
 13   documentation and data developed as part of the Satellite Project.
 14              278. In obtaining and receiving this stolen property, DONG YIN and its
 15   agents acted knowingly with the intent to steal Plaintiffs’ property and receive stolen
 16   property, and to conceal, withhold and aid in the concealment and withholding of the
 17   property stolen from Plaintiffs.
 18              279. As a direct and proximate result of these violations of California Penal
 19   Code section 496(a), Plaintiffs have been injured in an amount to be determined at
 20   trial.
 21                                 FOURTH CAUSE OF ACTION
 22                                  (For Civil RICO in Violation of
 23                   Title 18, United States Code, Sections 1962(b) and 1964(c))
 24                              (By Plaintiffs Against All Defendants)
 25              280. Plaintiffs repeat and reallege paragraphs 1 through 279 of this FAC as if
 26   fully alleged herein.
 27              281. Title 18, United States Code, section 1962(b) provides, in relevant part,
 28   that “[i]t shall be unlawful for any person through a pattern of racketeering activity . . .
                                                     89
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 90 of 109 Page ID #:242



  1   to acquire or maintain, directly or indirectly, any interest in or control of any
  2   enterprise . . . .”
  3              282. Title 18, United States Code, section 1961(4) defines the term
  4   “enterprise” to include “any individual, partnership, or other legal entity, and any . . .
  5   group of individuals associated in fact although not a legal entity.”
  6              283. Title 18, United States Code, section 1964(c), provides, in relevant part,
  7   that “[a]ny person injured in his business or property be reason of a violation of
  8   section 1962 of this chapter may sue thereafter . . . and shall recover threefold the
  9   damages he sustains and the cost of the suit, including a reasonable attorney’s
 10   fee . . . .”
 11              284. At all relevant times, each Plaintiff was a “person” within the meaning of
 12   Title 18, United States Code, sections 1961(3) and 1964(c).
 13              285. At all relevant times, DONG YIN, COAMI, CHANG, COSEIG, Amore,
 14   Bronzelink, GIP-Cayman, GIP-USA, Dub Dub and the Washington Law Firm were
 15   each a “person” within the meaning of Title 18, United States Code, section 1961(3).
 16   A.         The “Victim Enterprise.”
 17              286. At all relevant times, STM Atlantic, STM Group, Emil Youssefzadeh,
 18   Umar Javed, GIP-Cayman, GIP-USA and Dub Dub were a group of persons
 19   associated together for the common purpose of generating legitimate income, revenue
 20   and profits by developing and working toward completion of the Satellite Project, and
 21   constituted an association-in-fact enterprise within the meaning of Title 18,
 22   United States Code, section 1961(4) (the “Victim Enterprise”).
 23              287. At all relevant times, the Victim Enterprise was engaged in, and its
 24   activities affected, interstate and foreign commerce in that, among other things, it was
 25   involved in acts and transactions occurring in, among other places, California,
 26   Washington, D.C., the Cayman Islands and Hong Kong.
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                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 91 of 109 Page ID #:243



  1   B.         The Racketeering Acts.
  2              288. Beginning in or about July 2015 and continuing until the present,
  3   DONG YIN, together with COAMI, CHANG, COSEIG, Amore and Bronzelink,
  4   acquired and maintained, directly and indirectly, an interest in and/or control of the
  5   Victim Enterprise through a pattern of racketeering activity, as described below, in
  6   violation of Title 18, United States Code, section 1962(b).
  7              1.    Wire Fraud.
  8              289. Title 18, United States Code, section 1343 provides in relevant part that,
  9   “[w]hoever, having devised or intending to devise any scheme or artifice to defraud,
 10   or for obtaining money or property by means of false or fraudulent pretenses,
 11   representation, or promises, transmits or causes to be transmitted by means of wire,
 12   radio, or television communication in interstate or foreign commerce, any writings,
 13   signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice
 14   [is guilty of a criminal offense].”
 15              290. Beginning in or about July 2015 and continuing until the present,
 16   DONG YIN, COAMI and CHANG, together with COSEIG, Amore, Bronzelink and
 17   the Washington Law Firm and each of them, acting through their agents, including
 18   Fan, Wong, Liu and others, knowingly and with intent to defraud, devised,
 19   participated in and executed a scheme and artifice to defraud Plaintiffs and to obtain
 20   their money and property by means of materially false and fraudulent pretenses,
 21   representations and promises and the concealment of material facts, as described
 22   throughout this FAC.
 23              291. On or about the dates set forth below, for purposes of carrying out such
 24   scheme or artifice, DONG YIN, COAMI and CHANG, together with COSEIG,
 25   Amore, Bronzelink and the Washington Law Firm, and each of them, caused the
 26   following transmissions by wire or radio communication in interstate and foreign
 27   commerce, among others, in violation of Title 18, United States Code, section 1343:
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                                                     91
                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 92 of 109 Page ID #:244



  1    Racketeering
                            Date              Description of Wire Transmission
           Act
  2        One          Oct. 5, 2015  Ivan Chow sent an email to Mr. Youssefzadeh,
  3                                   stating that he was the newly appointed sole
                                      representative for Geng Zhiyuan and Yang Zeng of
  4                                   DONG YIN related to Global IP.
  5              Two    Oct. 5, 2015  Ivan Chow sent a false and misleading email to
                                      Mr. Youssefzadeh representing that neither he nor
  6                                   his company, COSEIG, had any affiliation with
  7                                   TechCap and its associates.
             Three      Oct. 14, 2015 Ivan Chow sent a false and misleading email to
  8                                   Mr. Javed, enclosing a letter from his company’s
  9                                   lawyer, certifying that COSEIG’s shareholders and
                                      management did not have any connection with
 10                                   TechCap and that COSEIG did not have any
 11                                   existing agreement or business exchanges with
                                      TechCap.
 12                     Dec. 16, 2015 Ivan Chow sent a false and misleading email to
                 Four
 13                                   Mr. Javed, representing that COSEIG’s sole
                                      shareholder and director was Pok Kit Chow.
 14
                 Five   Jan. 28, 2016 Ivan Chow sent a false and misleading email to
 15                                   Mr. Youssefzadeh, Mr. Javed and Pourmand, on
                                      behalf of Fan, representing that COSEIG’s
 16
                                      $250 million financial proposal had been formally
 17                                   approved by DONG YIN.
                 Six    Jan. – Feb.   Between late January and early February 2016,
 18
                        2016          DONG YIN’s Washington Attorney telephoned
 19                                   Mr. Javed in California, and falsely promised that
                                      DONG YIN would have no control or influence
 20
                                      over GIP-Cayman.
 21          Seven      Feb. 16, 2016 In a telephone conference, CHANG falsely
                                      represented and promised Mr. Youssefzadeh,
 22
                                      Mr. Javed and Pourmand that after the closing:
 23                                   (1) DONG YIN would have no control of
 24
                                      GIP-Cayman; (2) it had no intention of controlling
                                      or influencing GIP-Cayman; and (3) it was relying
 25                                   on Mr. Youssefzadeh, Mr. Javed, or Pourmand to
 26
                                      run the business.

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                                               92
                                   FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 93 of 109 Page ID #:245



  1    Racketeering
                            Date               Description of Wire Transmission
           Act
  2       Eight         Feb. 21, 2016 The Washington Attorney sent a false and
  3                                   misleading email to Mr. Youssefzadeh, Mr. Javed,
                                      Fan and others, noting that, as a general matter,
  4                                   parties need to be mindful of any direct or indirect
  5                                   PRC influence or control of GIP-Cayman, via
                                      board members or otherwise.
  6              Nine   Mar. 15, 2016 The Washington Attorney sent a false and
  7                                   misleading email to Mr. Youssefzadeh and
                                      Mr. Javed, stating that his law firm was
  8                                   DONG YIN’s counsel and could not act for
  9                                   Bronzelink, and confirming that the Facility
                                      Agreement had been signed.
 10              Ten    Mar. 28, 2016 The Washington Attorney sent an email responding
 11                                   to a request for written confirmation that
                                      DONG YIN was providing financing to
 12                                   Bronzelink, stating, “[g]iven our stated concerns
 13                                   regarding the role of DY as a lender, and the need
                                      to attenuate PRC interests in both BL and GIP,
 14                                   having a letter from DY or its counsel ‘on the
 15                                   record’ does not serve the interests of any of the
                                      parties to this transaction.”
 16
             Eleven     Apr. 3, 2016 Henry Fan sent an email to Mr. Youssefzadeh and
 17                                   Mr. Javed, among others, attaching drafts of the
                                      SPA and SHA.
 18
            Twelve      Apr. 5, 2016 The Washington Attorney sent a false and
 19                                   misleading email, providing his comments to the
                                      SPA, and representing that he had intended to align
 20
                                      the conditions precedent set forth in the SPA with
 21                                   the terms of the Facility Agreement between
                                      DONG YIN and Bronzelink.
 22

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                                               93
                                   FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 94 of 109 Page ID #:246



  1    Racketeering
                                 Date               Description of Wire Transmission
           Act
  2      Thirteen           May 31, 2016 In a telephone call between the Washington
  3                                      Attorney and Mr. Javed, the Washington Attorney
                                         falsely represented that: (1) four of the
  4                                      Bronzelink-appointed directors were completely
  5                                      independent of and unaffiliated with DONG YIN;
                                         (2) with four independent Bronzelink-appointed
  6                                      directors and three Common directors,
  7                                      GIP-Cayman would have solid protection from
                                         PRC influence and control; and (3) although Wong
  8                                      worked for Bronzelink, he was not affiliated with
  9                                      DONG YIN.
           Fourteen         Jun. 2, 2016 In a telephone call from Fan to Mr. Javed, Fan
 10                                      falsely represented that: (1) DONG YIN and
 11                                      Bronzelink were two completely different entities
                                         and were unrelated; (2) after the closing,
 12                                      DONG YIN would not have control of or any say
 13                                      in any GIP-Cayman matters; and (3) after the
                                         closing, Bronzelink would have an independent
 14                                      Board of Directors that would make all the
 15                                      decisions free of DONG YIN’s influence.
            Fifteen         Jun. 3, 2016 Bronzelink caused HSBC Bank to execute a wire
 16                                      transfer of $25 million from its bank in Hong Kong
 17                                      to GIP-Cayman’s HSBC account in California, as
                                         part of Bronzelink’s payment for its controlling
 18
                                         interest in GIP-Cayman.
 19              2.    International Money Laundering.
 20              292. Title 18, United States Code, section 1956(a)(2) provides in relevant part
 21   that, “[w]hoever transports, transmits, or transfers . . . funds . . . to a place in the
 22   United States from or through a place outside the United States . . . [¶] [w]ith the
 23   intent to promote the carrying on of specified unlawful activity [is guilty of a criminal
 24   offense].”
 25              293. On or about June 3, 2016, in violation of Title 18, United States Code,
 26   section 1956(a)(2)(A ), DONG YIN and Bronzelink, knowingly conducted and
 27   conspired to conduct the wire transfer of $25,000,000 from a place outside the
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                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 95 of 109 Page ID #:247



  1   United States (Bronzelink’s Hong Kong bank account) to a place in the United States
  2   (GIP-Cayman’s HSBC bank account in California) with the intent to promote the
  3   carrying on of Specified Unlawful Activity, namely, wire fraud in violation of
  4   Title 18, United States Code, section 1343.
  5   C.         Injury to Business and Property.
  6              294. By reason of the foregoing violations of Title 18, United States Code,
  7   section 1962(b), Plaintiffs have been injured in their business and property in an
  8   amount to be determined at trial.
  9                                   FIFTH CAUSE OF ACTION
 10                           (For Civil RICO Conspiracy in Violation of
 11                    Title 18, United States Code, Sections 1962(d) and 1964(c))
 12                               (By Plaintiffs Against All Defendants)
 13              295. Plaintiffs repeat and reallege paragraphs 1 through 294 of this FAC as if
 14   fully alleged herein.
 15              296. Title 18, United States Code, section 1962(d) provides, in relevant part,
 16   that “[i]t shall be unlawful for any person to conspire to violate any of the provisions
 17   of subsection[] . . . (b) . . . of this section [1962].”
 18              297. Beginning in or about July 2015 and continuing until the present,
 19   DONG YIN, COAMI and CHANG, together with COSEIG, Amore, Bronzelink and
 20   TechCap, and each of them, knowingly and willfully conspired and agreed to:
 21              (a)   Violate Title 18, United States Code, section 1962(b), by acquiring and
 22                    maintaining, directly and indirectly, an interest in or control of the
 23                    Victim Enterprise through the pattern of racketeering activity described
 24                    in the Fourth Cause of Action; and
 25              (b)   Commit two or more of the racketeering acts of wire fraud and money
 26                    laundering described in the Fourth Cause of Action, knowing of the
 27                    essential nature and scope of the Victim Enterprise and intending to
 28                    acquire or maintain an interest in or control of it.
                                                       95
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 96 of 109 Page ID #:248



  1              298. GIP-Cayman joined the conspiracy in or about June 2016, and GIP-USA
  2   joined the conspiracy in or about August 2016, when DONG YIN assumed control of
  3   them.
  4              299. By reason of the foregoing violations of Title 18, United States Code,
  5   section 1962(d), Plaintiffs have been injured in their business and property in an
  6   amount to be determined at trial.
  7                                   SIXTH CAUSE OF ACTION
  8                                  (For Civil RICO in Violation of
  9                   Title 18, United States Code, Sections 1962(c) and 1964(c))
 10                              (By Plaintiffs Against All Defendants)
 11              300. Plaintiffs repeat and reallege paragraphs 1 through 299 of this FAC as if
 12   fully alleged herein.
 13              301. Title 18, United States Code, section 1962(c) provides, in relevant part,
 14   that “[i]t shall be unlawful for any person employed by or associated with any
 15   enterprise . . . to conduct or participate, directly or indirectly, in the conduct of such
 16   enterprise’s affairs through a pattern of racketeering activity.”
 17   A.         The Criminal Enterprise.
 18              302. At all relevant times, DONG YIN, COAMI and CHANG, together with
 19   COSEIG, Amore, Bronzelink, TechCap, the Washington Law Firm and others known
 20   and unknown to Plaintiffs, were a group of persons associated for the common
 21   purpose of defrauding Plaintiffs of their ownership interests and control of the
 22   Satellite Project, and constituted an association-in-fact enterprise within the meaning
 23   of Title 18, United States Code, section 1961(4) (the “Criminal Enterprise”).
 24   GIP-Cayman joined the Criminal Enterprise in or about June 2016, and GIP-USA
 25   joined the Criminal Enterprise in or about August 2016, when DONG YIN assumed
 26   control of them.
 27

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                                      FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 97 of 109 Page ID #:249



  1              303. At all relevant times, the Criminal Enterprise was engaged in, and its
  2   activities affected, interstate and foreign commerce as alleged in the Fourth Cause of
  3   Action.
  4   B.         The Racketeering Acts.
  5              304. Beginning in or about July 2015 and continuing until the present,
  6   DONG YIN, COAMI and CHANG, together with COSEIG, Amore, Bronzelink,
  7   TechCap and the Washington Law Firm, and subsequently GIP-Cayman and
  8   GIP-USA, and each of them, being employed by or associated with the Criminal
  9   Enterprise, conducted and participated in the conduct of the affairs of the Criminal
 10   Enterprise, directly and indirectly, through a pattern of racketeering activity that
 11   included the acts of wire fraud and money laundering described in the Fourth Cause of
 12   Action, in violation of Title 18, United States Code, section 1962(c).
 13   C.         Injury to Business and Property.
 14              305. By reason of the foregoing violations of Title 18, United States Code,
 15   section 1962(c), Plaintiffs have been injured in their business and property in an
 16   amount to be determined at trial.
 17                                 SEVENTH CAUSE OF ACTION
 18                           (For Civil RICO Conspiracy in Violation of
 19                    Title 18, United States Code, Sections 1962(d) and 1964(c))
 20                              (By Plaintiffs Against All Defendants)
 21              306. Plaintiffs repeat and reallege paragraphs 1 through 305 of this FAC as if
 22   fully alleged herein.
 23              307. Beginning in or about July 2015 and continuing until the present,
 24   DONG YIN, COAMI and CHANG, together with COSEIG, Amore, Bronzelink,
 25   TechCap and the Washington Law Firm, and each of them, knowingly and willfully
 26   conspired and agreed to:
 27              (a)   Violate Title 18, United States Code, section 1962(c), by conducting the
 28                    affairs and participating in the conduct of the affairs of the Criminal
                                                      97
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 98 of 109 Page ID #:250



  1                    Enterprise, directly and indirectly, through the pattern of racketeering
  2                    activity described in the Fourth Cause of Action; and/or
  3              (b)   Commit two or more of the racketeering acts of wire fraud and money
  4                    laundering described in the Fourth Cause of Action, knowing of the
  5                    essential nature and scope of the Criminal Enterprise and intending to
  6                    participate in it.
  7              308. GIP-Cayman joined the conspiracy in or about June 2016, and GIP-USA
  8   joined the conspiracy in or about August 2016, when DONG YIN assumed control of
  9   them.
 10              309. By reason of the foregoing violations of Title 18, United States Code,
 11   section 1962(d), Plaintiffs have been injured in their business and property in an
 12   amount to be determined at trial.
 13                                   EIGHTH CAUSE OF ACTION
 14                     (For Interference with Prospective Business Advantage)
 15                                 (By Plaintiffs Against DONG YIN)
 16              310. Plaintiffs repeat and reallege paragraphs 1 through 309 of this FAC as if
 17   fully alleged herein.
 18              311. In or about February 2016, Plaintiffs entered into an economic
 19   relationship with Bronzelink, in which Bronzelink would substitute for COSEIG and
 20   enter into a transaction to provide financing for the Satellite Project in exchange for
 21   equity in GIP-Cayman and other consideration, as described above. That economic
 22   relationship was substantially likely to result in economic benefits to Plaintiffs,
 23   including a share of the projected US$1.5 billion or more in anticipated profits if the
 24   Satellite Project was brought to fruition.
 25              312. In or about March 2016, DONG YIN caused Amore to enter into the
 26   secret Facility Agreement with Bronzelink, which contained provisions that were
 27   contrary to and inconsistent with DONG YIN’s representations and promises to
 28   Plaintiffs, and which prevented Bronzelink from providing the benefits that Plaintiffs
                                                      98
                                        FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 99 of 109 Page ID #:251



  1   were substantially certain to receive under their intended transaction with Bronzelink.
  2   Specifically, the Facility Agreement:
  3              (a)   Gives DONG YIN, through Amore, access to and control over
  4                    GIP-Cayman and the Satellite Project;
  5              (b)   Undermines Plaintiffs’ ability to obtain additional financing necessary to
  6                    complete the Satellite Project by preventing GIP-Cayman from obtaining
  7                    financing through any source other than an ECA; and
  8              (c)   Places limitations and restrictions on the operations of GIP-Cayman that
  9                    were never disclosed to Plaintiffs and to which Plaintiffs would never
 10                    have agreed.
 11              313. In entering into the Facility Agreement, and at all relevant times prior to
 12   on or about June 3, 2016, DONG YIN knew of Plaintiffs’ prospective economic
 13   relationship with Bronzelink.
 14              314. In entering into the Facility Agreement, DONG YIN intended to interfere
 15   with Plaintiffs’ economic relationship with Bronzelink, or knew that its conduct was
 16   substantially certain to interfere with that relationship.
 17              315. In fact, DONG YIN did interfere with Plaintiffs’ economic relationship
 18   with Bronzelink. In particular, although Bronzelink entered into the SPA and the
 19   SHA on or about May 10, 2016, its performance under those contracts has been
 20   undermined and substantially diminished by its contrary and inconsistent obligations
 21   to Amore and DONG YIN under the Facility Agreement.
 22              316. As a direct and proximate result of DONG YIN’s knowing and
 23   intentional interference with Plaintiffs’ prospective economic relationship with
 24   Bronzelink, Plaintiffs have suffered damages in an amount to be determined at trial.
 25              317. By engaging in the conduct described in this cause of action, DONG YIN
 26   acted fraudulently, oppressively, maliciously and with a willful and conscious
 27   disregard of Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and
 28   punitive damages pursuant to California Civil Code section 3294.
                                                      99
                                       FIRST AMENDED COMPLAINT
      239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 100 of 109 Page ID
                                   #:252


 1                                    NINTH CAUSE OF ACTION
 2                      (For Violation of California Unfair Competition Law,
 3                     California Business & Professions Code Section 17200)
 4                              (By Plaintiffs Against All Defendants)
 5              318. Plaintiffs repeat and reallege paragraphs 1 through 317 of this FAC as if
 6   fully alleged herein.
 7              319. California’s Unfair Competition Law, California Business and
 8   Professions Code section 17200, et seq. (the “UCL”), creates a statutory private right
 9   of action for “unfair competition,” which is defined to include “any unlawful, unfair
10   or fraudulent business act or practice . . . .”
11              320. Beginning in or about October 2015, and continuing until the present,
12   Defendants, and each of them, engaged in unlawful, unfair and fraudulent business
13   acts and practices in violation of the UCL as described more fully above.
14              321. Defendants, and each of them, engaged in, aided and abetted and
15   conspired to commit the following unlawful business acts and practices, among others,
16   in violation of the UCL:
17              (a)   Willfully violating ITAR and EAR, in violation of Title 22,
18                    United States Code, section 2778 and Title 50, United States Code,
19                    section 4610;
20              (b)   Conspiring to violate ITAR and EAR, in violation of Title 18,
21                    United States Code, section 371;
22              (c)   Committing wire fraud, in violation of Title 18, United States Code,
23                    section 1343;
24              (d)   Engaging in international money laundering, in violation of Title 18,
25                    United States Code, section 1956(a)(2);
26              (e)   Violating and conspiring to violate RICO, in violation of Title 18,
27                    United States Code, sections 1962(b), (c) and (d);
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                                      FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 101 of 109 Page ID
                                   #:253


 1              (f)   Obtaining and receiving stolen property, in violation of California
 2                    Penal Code section 494(a); and
 3              (g)   Engaging in the tort of deceit, in violation of California Civil Code
 4                    section 1709.
 5              322. Defendants, and each of them, also engaged in, aided and abetted and
 6   conspired to commit the following unfair business practices, among others, in
 7   violation of the UCL:
 8              (a)   Causing Amore to enter into the secret Facility Agreement with
 9                    Bronzelink that gave DONG YIN, through Amore, the ability to place its
10                    agents on the Board of Directors of GIP-Cayman and GIP-USA; gave
11                    DONG YIN ownership and control of GIP-Cayman, GIP-USA and the
12                    Satellite Project; interfered with Plaintiffs’ ability to obtain the additional
13                    financing necessary to complete the Satellite Project; and placed
14                    limitations and restrictions on the operations of GIP-Cayman that were
15                    never disclosed to Plaintiffs and to which Plaintiffs never agreed;
16              (b)   Placing agents of DONG YIN on the Board of Directors of GIP-Cayman;
17              (c)   Placing agents of DONG YIN on the Board of Directors of GIP-USA;
18              (d)   Concealing from Plaintiffs that Wong, Liu and others were agents of
19                    DONG YIN acting under Fan’s control and direction;
20              (e)   Causing GIP-Cayman to enter into an employment agreement with
21                    Pourmand without Plaintiffs’ say or approval and which paid Pourmand
22                    far in excess of his value;
23              (f)   Causing GIP-Cayman to enter into contracts to compensate the
24                    Bronzelink-appointed directors on the GIP-Cayman and GIP-USA
25                    Boards of Directors without obtaining the approval of the GIP-Cayman
26                    Compensation Committee;
27

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                                                     101
                                      FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 102 of 109 Page ID
                                   #:254


 1              (g)   Overcompensating Jason Luo, the Chairman of the GIP-Cayman Board
 2                    of Directors, without the approval of the GIP-Cayman Compensation
 3                    Committee;
 4              (h)   Permitting Fan and Wong, as individual directors at GIP-Cayman, to
 5                    make business decisions and exercise authority typically reserved for the
 6                    company’s executive officers;
 7              (i)   Permitting Fan and Wong to make business decisions independent of the
 8                    GIP-Cayman Board of Directors as a whole, which Fan and Wong did
 9                    not have the authority to make as individual directors;
10              (j)   Appointing Wong Executive Director of GIP-Cayman without the
11                    authority to do so;
12              (k)   Retaliating against Mr. Youssefzadeh and Mr. Javed for questioning
13                    whether the PRC, through DONG YIN, controlled GIP-Cayman in
14                    violation of U.S. export control laws;
15              (l)   Causing the resignations of Luo and Zhao as directors of GIP-Cayman;
16              (m)   Replacing Luo and Zhao as directors of GIP-Cayman with agents of
17                    DONG YIN, who were under the control of and took their direction
18                    exclusively from Fan;
19              (n)   Causing Wong to be appointed Chairman of the GIP-Cayman Board of
20                    Directors;
21              (o)   Reappointing Pourmand as CEO, over Mr. Youssefzadeh’s and
22                    Mr. Javed’s objection and veto;
23              (p)   Refusing to convene duly noticed meetings of the GIP-Cayman Board of
24                    Directors to discuss and address the issue of whether GIP-Cayman’s
25                    corporate governance, management and operations were in compliance
26                    with U.S. export control laws;
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                                                    102
                                      FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 103 of 109 Page ID
                                   #:255


 1              (q)   Refusing to convene duly noticed meetings of the GIP-Cayman Board of
 2                    Directors to consider and resolve whether to engage Citigroup to obtain
 3                    the next tranche of debt financing;
 4              (r)   Forcing Mr. Youssefzadeh and Mr. Javed to resign as executives of
 5                    GIP-Cayman and GIP-USA;
 6              (s)   Forcing Chen’s resignation as General Counsel of GIP-Cayman;
 7              (t)   Altering and falsifying minutes of GIP-Cayman Board of Director
 8                    meetings;
 9              (u)   Preparing records of GIP-Cayman Board of Director meetings that
10                    omitted important information and made the records false and
11                    misleading;
12              (v)   Offering to pay Plaintiffs for not pursuing the issue of whether
13                    DONG YIN was in violation of U.S. export control laws;
14              (w)   Gaining and exercising control and dominance over the governance,
15                    management and operations of GIP-Cayman by the false, fraudulent and
16                    dishonest means described herein;
17              (x)   Gaining and exercising control and dominance over the governance,
18                    management and operations of GIP-USA by the false, fraudulent and
19                    dishonest means described herein;
20              (y)   Gaining and exercising control and dominance over the Satellite Project
21                    by the false, fraudulent and dishonest means described herein; and
22              (z)   Concealing and disguising DONG YIN’s ownership and control of
23                    GIP-Cayman, GIP-USA and the Satellite Project and its access to
24                    confidential and sensitive satellite and launch technology and data
25                    subject to U.S. export control laws.
26              323. Defendants, and each of them, also engaged in, aided and abetted and
27   conspired to commit the following fraudulent business acts and practices, among
28   others, in violation of the UCL:
                                                    103
                                     FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 104 of 109 Page ID
                                   #:256


 1              (a)   Falsely representing that DONG YIN’s role in the transactions at issue
 2                    was as a lender and limited to providing indirect debt financing for the
 3                    Satellite Project;
 4              (b)   Falsely representing to Plaintiffs that DONG YIN did not intend to
 5                    exercise control or exert influence over GIP-Cayman’s governance,
 6                    management and operations;
 7              (c)   Falsely representing to Plaintiffs that DONG YIN did not intend to have
 8                    any direct dealings with GIP-Cayman;
 9              (d)   Falsely representing to Plaintiffs that DONG YIN was relying on
10                    Mr. Youssefzadeh and Mr. Javed to run GIP-Cayman after the closing;
11              (e)   Falsely representing to Plaintiffs that the Bronzelink-appointed directors
12                    Wong, Liu and Zheng were completely independent of and not affiliated
13                    with DONG YIN;
14              (f)   Falsely representing to Plaintiffs that DONG YIN did not own or control
15                    COSEIG;
16              (g)   Falsely representing to Plaintiffs that COSEIG was an independent
17                    company owned by a wealthy Hong Kong investor, Pok Kit Chow;
18              (h)   Falsely denying to Plaintiffs that TechCap had an interest in the proposed
19                    transaction between COSEIG and Plaintiffs;
20              (i)   Falsely representing to Plaintiffs that Bronzelink was an independent,
21                    stand-alone company that did not have any affiliation with DONG YIN;
22                    and
23              (j)   Falsely representing to Plaintiffs in the SHA that Bronzelink had “the
24                    power to execute [and] perform its obligations under and enter into all
25                    transactions contemplated by [the SHA]”.
26              324. Plaintiffs have lost money and property as a direct and proximate result
27   of Defendant’s unfair, unlawful and fraudulent business acts and practices. As a
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                                      FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 105 of 109 Page ID
                                   #:257


 1   result, Plaintiffs are entitled to restitutionary disgorgement in an amount to be
 2   determined at trial.
 3              325. In addition, Plaintiffs are entitled to injunctive relief, enjoining
 4   Defendants, and each of them, from engaging in such further unlawful, unfair and
 5   fraudulent business acts and practices. The requested injunctive relief will benefit the
 6   general public as it will prevent Defendants from transferring confidential and
 7   sensitive satellite and launch technology and data to the PRC, in violation of ITAR,
 8   EAR and the PRC Proscription.
 9                                   TENTH CAUSE OF ACTION
10                                      (For Unjust Enrichment)
11                                 (By Plaintiffs Against DONG YIN)
12              326. Plaintiffs repeat and reallege paragraphs 1 through 325 of this FAC as if
13   fully alleged herein.
14              327. The Satellite Project was the culmination of Mr. Youssefzadeh’s and
15   Mr. Javed’s combined four decades of experience in the satellite industry. Between
16   2008 and 2016, they personally invested thousands of hours and millions of dollars in
17   developing and advancing the Satellite Project. As a direct result of Plaintiffs’ hard
18   work and multi-million-dollar investments, the Satellite Project became a viable
19   enterprise with an estimated profit potential of US$1.5 billion or more over the life of
20   the satellite, with the potential for the development, fabrication, launch and operation
21   of additional communication satellites.
22              328. As a consequence, DONG YIN has received valuable benefits from
23   Plaintiffs in the form of ownership and control of the Satellite Project, including
24   contracts, rights, titles and interests; intellectual property; confidential and proprietary
25   information, documentation and data; and a 75% interest in GIP-Cayman, of which
26   47.25% previously belonged to Plaintiffs. Furthermore, DONG YIN obtained these
27   benefits by unjust and inequitable means, including false and fraudulent pretenses,
28   representations and promises, the concealment of material facts and theft by trick and
                                                     105
                                       FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 106 of 109 Page ID
                                   #:258


 1   false pretenses. DONG YIN has been, and is being, unjustly enriched by its retention
 2   of those benefits.
 3              329. Plaintiffs are entitled to be compensated for the value of the benefits that
 4   DONG YIN has received and is retaining unjustly, in an amount to be determined at
 5   trial.
 6                                ELEVENTH CAUSE OF ACTION
 7                              (For Imposition of Constructive Trust)
 8                                (By Plaintiffs Against DONG YIN)
 9              330. Plaintiffs repeat and reallege paragraphs 1 through 329 of this FAC as if
10   fully alleged herein.
11              331. By reason of the fraudulent, wrongful and criminal manner in which
12   DONG YIN obtained ownership and control of the Satellite Project, it has no legal or
13   equitable right, claim, or interest in that Project or the property comprising it.
14              332. Plaintiffs therefore request that the Court impose a constructive trust on
15   DONG YIN’s interest in and control of the Satellite Project and any proceeds, directly
16   or indirectly, derived therefrom. Furthermore, DONG YIN should be required to hold
17   its interest in and control of the Satellite Project, and any proceeds derived therefrom,
18   in trust for Plaintiffs, to provide those proceeds to Plaintiffs, and to restore any and all
19   of its rights, title and interest in and control of the Satellite Project to Plaintiffs.
20                                      PRAYER FOR RELIEF
21              Wherefore, Plaintiffs pray for judgment against Defendants, as follows:
22   As to the First Cause of Action for Conspiracy to Defraud:
23              1.    For compensatory and special damages; and
24              2.    For punitive and exemplary damages.
25   As to the Second Cause of Action for Fraud:
26              1.    For compensatory and special damages; and
27              2.    For punitive and exemplary damages.
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                                                    106
                                      FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 107 of 109 Page ID
                                   #:259


 1   As to the Third Cause of Action for Violation of
 2   California Penal Code Section 496:
 3              1.   For compensatory and special damages;
 4              2.   For the trebling of those damages; and
 5              3.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
 6   As to the Fourth Cause of Action for Civil RICO – Victim Enterprise:
 7              1.   For compensatory and special damages;
 8              2.   For the trebling of those damages;
 9              3.   For punitive and exemplary damages; and
10              4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
11   As to the Fifth Cause of Action RICO Conspiracy –Victim Enterprise:
12              1.   For compensatory and special damages;
13              2.   For the trebling of those damages;
14              3.   For punitive and exemplary damages; and
15              4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
16   As to the Sixth Cause of Action Civil RICO – Criminal Enterprise:
17              1.   For compensatory and special damages;
18              2.   For the trebling of those damages;
19              3.   For punitive and exemplary damages; and
20              4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
21   As to the Seventh Cause of Action for RICO Conspiracy – Criminal Enterprise:
22              1.   For compensatory and special damages;
23              2.   For the trebling of those damages;
24              3.   For punitive and exemplary damages; and
25              4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
26   As to the Eighth Cause of Action for Interference with
27   Prospective Business Advantage:
28              1.   For compensatory and special damages; and
                                                   107
                                    FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 108 of 109 Page ID
                                   #:260


 1              2.   For punitive and exemplary damages.
 2   As to the Ninth Cause of Action for Violation of the UCL:
 3              1.   For restitutionary disgorgement; and
 4              2.   For injunctive relief.
 5   As to the Tenth Cause of Action for Unjust Enrichment:
 6              1.   To be compensated for the value of any and all benefits conferred by
 7                   Plaintiffs that DONG YIN has unjustly received and retained.
 8   As to the Eleventh Cause of Action for a Constructive Trust:
 9              1.   For the imposition of a constructive trust on any of DONG YIN’s rights,
10                   title and interest in and control of the Satellite Project and any proceeds
11                   derived therefrom.
12   For All Causes of Action:
13              1.   For prejudgment interest at the maximum rate permitted by law;
14              2.   For costs of suit; and
15              3.   For such other and further relief as the Court may deem just and proper.
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     Dated: February 25, 2018                  ISAACS | FRIEDBERG LLP

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                                          By: /s/ Jerome H. Friedberg
19                                            JEFFREY B. ISAACS, ESQ.
20                                            JEROME H. FRIEDBERG, ESQ.
                                              PAIGE SHEN, ESQ.
21                                            ROBERT GOOKIN, ESQ.
22                                             Attorneys for Plaintiffs STM Atlantic N.V.,
                                               STM Group, Inc., Emil Youssefzadeh and
23                                             Umar Javed
24

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                                     FIRST AMENDED COMPLAINT
     239671.4
Case 2:18-cv-01269-JLS-JCG Document 14 Filed 02/25/18 Page 109 of 109 Page ID
                                   #:261


 1                                 DEMAND FOR JURY TRIAL
 2              Plaintiffs STM Atlantic N.V, STM Group, Inc., Emil Youssefzadeh and
 3   Umar Javed hereby request a jury trial on all issues properly triable to a jury.
 4

 5   Dated: February 25, 2018                 ISAACS | FRIEDBERG LLP
 6

 7                                      By:    /s/ Jerome H. Friedberg
 8                                            JEFFREY B. ISAACS, ESQ.
                                              JEROME H. FRIEDBERG, ESQ.
 9                                            PAIGE SHEN, ESQ.
10                                            ROBERT GOOKIN, ESQ.

11                                            Attorneys for Plaintiffs STM Atlantic N.V.,
                                              STM Group, Inc., Emil Youssefzadeh and
12                                            Umar Javed

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